EXHIBIT 2
CITATION FOR PERSONAL
             PERSONAL SERVICE
                      SERVICE--
                              -- EITIIER
                                 EITHER COURT
                                         COURT ---
                                               --- Class
                                                   Class 3
                                                                          THE STATE OF TEXAS

TO:          PURDUE
             PURDUE PHARMA
                      PHARMA LPLP                                                                                       CAUSE# 18-0415CV
             CIO
             C/O PRENTICE-HALL CORPORATION SYSTEM, INC
                                                   INC
             251
             251 LITTLE
                 LITTLE FALLS DRIVE
             WILMINGTON,DE
             WILMINGTON,   DE 19808
                              19808

Defendant, Greeting:
        YOU ARE
        YOU    ARE HEREBY
                      HEREBYCOMMANDED
                                 COMMANDEDtotoappear      appearbefore
                                                                 beforethe the Honorable    3691h District
                                                                               Honorable 369th      DistrictCourt
                                                                                                              Courtof
                                                                                                                    ofLeon
                                                                                                                      Leon County,
                                                                                                                              County, Texas,
at the Courthouse of saidsaid county
                              county inin Centerville,
                                          Centerville, Texas,
                                                          Texas, by
                                                                  by~lirig
                                                                      filing aa'written   answerat
                                                                                written answer     at or
                                                                                                       or before
                                                                                                          before 10:00
                                                                                                                  10:00 o'clock
                                                                                                                        o'clock a.m. of of the
Monday    nextafter
Monday next     afterthe
                       the  expiration
                         expiration     of TWENTY
                                     of TWENTY          days
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                                                              iffer:'jthe date    'of `s.erviceof
                                                                                                of this
                                                                                                    this citation PLAINTIFF'S
                                                                                                                  PLAINTIFF'S ORIGINAL
                                                                                                                                  ORIGINAL
PETITION
PETITION ANDAND JURY
                   JURY DEMAND
                           DEMAND filedfiled on
                                             on the    3?H'day.
                                                 the 113?  'day of~~NO.VEMBE~R,      2018-Iiiimbered
                                                                                          2014~numbered      18-0415CVononthe
                                                                                                          18-0415CV         thedocket
                                                                                                                                docket of
                                                                                                                                       of said
                                                                                                                                          said
court, and styled.                                    "
                                                             ,,'      .       '- .                      __          -',`•
             COUNTY
             COUNTY OF LEON                                                                                                        -Plaintiff
                                                                                                                                    Plaintiff

             VS

             PURDUE PHARMA, ET AL                                                                                                   Defendant                        ,

The Name
    Name and
         andAddress
             Addressof
                     ofthe
                        theAttorney
                           Attorneyfor
                                    forthe
                                        thePlaintiff:
                                           Plaintiff:                                           MIKAL C.
                                                                                                MIKAL  C,:WATTS
                                                                                                          WATTS
                                                               .                  .             ATTORNEY AT LAW '
                                                                                                811 B>PARTON
                                                                                                811 BARTON SPRINGS
                                                                                                              SPRINGSRD,
                                                                                                                      RD,SUITE
                                                                                                                         SUITE 725
                                                                                                                               725
                                                                                                AUSTIN
                                                                                                AUSTINTXTX78704
                                                                                                           78704`

          The nature
                nature of
                       of the Plaintiff
                              Plaintiffss demand
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                                                                                                                        PLAINTIFF'S
ORIGINAL
ORIGINAL PETITION
               PETITIONAND ANDJURY
                                 JURYDEMAND
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          The officer executing this
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                                        writ shali
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                                                                                                    requirements of  of law,
                                                                                                                         law,and
                                                                                                                              andthe
                                                                                                                                   the mandates
                                                                                                                                       mandates'
hereof, and make due return as
hereof,                          as the
                                     the law
                                          law directs.
          NOTICE
          NOTICETO   TODEFENDENT:
                          DEFENDENT:You      You have
                                                   havebeen
                                                          beensued.
                                                                sued,You
                                                                       Youmaymayemploy
                                                                                   employan   anattorney.
                                                                                                  attorney. IfIfyou
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                                                                                                                     or your
                                                                                                                         yourattorney
                                                                                                                              attorney does
                                                                                                                                        does not
file aa written
file    written answer
                 answer with
                         with the
                              the clerk
                                  clerk who
                                          who issued this citation
                                                              citation by 10:00 a.m. on    on the
                                                                                               theMonday
                                                                                                   Monday next nextfollowing
                                                                                                                    following the
                                                                                                                                the expiration
                                                                                                                                    expiration of
                                                                                                                                               of
twenty
twenty days
         days after you
                     you were
                          were served this citation     and petition,
                                              citation and   petition, aa default
                                                                          defaultjudgment
                                                                                   judgmentmay   may be
                                                                                                      be taken
                                                                                                          taken against
                                                                                                                  against you.
                                                                                                                           you.

Issued and
       and given
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                                   theseal
                                       sealofofsaid
                                                saidcourt
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                                                               Centerville,Texas,
                                                                           Texas,this
                                                                                  this13T"
                                                                                       13TH day
                                                                                            dayof
                                                                                                ofNOVEMBER,
                                                                                                  NOVEMBER, 2018.

                                                                                                             Attest: ~~.3en~ia ~sQcan
                                                                                                                      azAi4 tAldc an -
                                                                                                                   871~ ,278th,
                                                                                                             Clerk 871h,         369th District Court'.~'
                                                                                                                         278111, 36911          Court' -'
                                                                                                             L on County, Texas
                                                                                                             L on
                                                                                                                                 c~—        :
                                                                                                By'    —~~ a~~_:_:
                                                                                                      c_                                                   , Daljuty
                                                                                                                                                             Deputy , ~
                                                                                                             Address of Clerk:
                                                                                                             Address of Cleric:           BeVerly
                                                                                                                                          Beverly Wilson
                                                                                                                                          Leon  County District,Clerk
                                                                                                                                          Leon•County   Oistrict,Cleik
                                                                                                                                          P.O. Box 39 . ~
                                                                                                                                          P.O. Box~39
                                                                                                                                                       Texas ` '75833
                                                                                                                                          Centerville, Texas    75833
                                                                    SHERIFF'S RETURN
                                                                                   RETURN
             Came to hand on the                 day ofof                   , 2018,
                                                                              2018,atat _ o'clocko'clock _. M.,        . M.,
                                                                                                                           and and   executedin
                                                                                                                                   executed     in                 County, Texas,
by
by delivering
   delivering to
               to the within named
                  the within          defendants,to--wit:
                              named defendants,       to--wit:                                               ,, at
                                                                                                                at _ o'clock  o'clock _ M.,  . M.,                 ,2018
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date of
     of delivery.                 FEES:                             For serving this
                                                                                  this citation
                                                                                        citation ............. ..:. ............ $
To certify which witness my hand
                               handofficially.
                                     officially.
Subscribed
Subscribedand  and sworn
                    sworn to     by
                             to by                             before
                                                                before me,
                                                                         me, thethe undersigned
                                                                                     undersignedauthority,    authority,      thisthis _day
                                                                                                                                          day of of                  A.D.,    2018.
                                                                                                                                                                      A.D., 2018.
Sheriff of                                            , Texas
By                                                    ,Deputy
                                                        Deputy
                                                                          CERTIFICATE OF DELIVERY
                                                                                         DELIVERY
           II do hereby
                  hereby certify
                           certify that I delivered
                                          delivered to                                                 on
                                                                                                        on the     day of
                                                                                                            the _ day   of                             , 2018,         o'clock
                                                                                                                                                         2018,atat _ o'clock
_.m.,.m.,
      copycopyof of thisinstrument.
                 this    instrument.                                                                   COUNTY
                                                                                                       COUNTY SHERIFF,
                                                                                                                SHERIFF, TEXAS
                                                        BY
                                                        BY DEPUTY:
                                                           DEPUTY:
                                           18-0415CV
                                                                                         Filed 11/13/2018 10:55 AM
                                                                                                     Beverly Wilson
                                                                                                       District Clerk
                                                                                                Leon County, Texas
                                                                                                        Karen  Ballard
                                                                                                        Karen Ballard
                                            18-0415CV
                             CAUSE NO.


COUNTY OF LEON,                                     §            IN THE DISTRICT COURT
                                                    §
                                                    §
       Plaintiff,                                   §                      OF LEON COUNTY
                                                    §
VS.                                                 §
                                                    §             369TH
                                                                  369TH   JUDICIAL
                                                                          JUDICIAL DISTRICT
PURDUE PHARMA LP; PURDUE                 §
PHARMA INC; PURDUE FREDERICK             §
COMPANY; TEVA PHARMACEUTICAL             §
INDUSTRIES, LTD;LTD; TEV
                     TEV PHARMACEUTICALS §
             JANSSEN PHARMACEUTICA,
USA, INC.; JANSSEN                       §
INC., n/k/a JANSSEN                      §
PHARMACEUTICALS, INC.; ENDO              §
HEALTH SOLUTIONS, INC.;                  §
ABBOTT LABORATORIES;                     §
KNOLL PHARIVIACEUTICAL
KNOLL    PHARMACEUTICAL                  §
COMPANY, a wholly-owned subsidiary       §
Of ABBOTT LABORATORIES;                  §
ALLERGEN PLC, f/k/a ACTAVIS PLC,         §
f/k/a ALLERGEN FINANCE LLC, f/k/a        §
ACTAVIS, INC., f/k/a WATSON              §
LABORATORIES, INC.; ACTAVIS LLC;         §
ACTAVIS PHARMA, INC., f/k/a              §
WATSON PHARMA, INC.; INSYS               §
THERAPEUTICS, INC.; INSYS                §
MANUFACTURING LLC, a wholly-owned        §
Subsidiary of INSYS THERAPEUTICS, INC.;  §
MALLINCKRODT PLC;                        §
MCKESSON CORPORATION;                    §
CARDINAL HEALTH, INC.; and               §
AMERISOURCEBERGEN                        §
CORPORATION;                             §
                                         §
                     Defendants.         §                                 JURY DEMAND

                    PLAINTIFF'S ORIGINAL
                    PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

                     County of
      Plaintiff, the County of Leon, Texas, by and through
                                                   through the
                                                            the undersigned
                                                                undersigned attorneys
                                                                            attorneys (hereinafter

                 "County") against
"Leon County" or "County") against Defendants
                                   Defendants Purdue Pharma L.P., Purdue Pharma Inc., The
Purdue Frederick
Purdue Frederick Company,
                 Company, Johnson
                          Johnson & Johnson,
                                     Johnson, Janssen
                                               Janssen Pharmaceuticals,
                                                        Pharmaceuticals, Inc.,
                                                                         Inc., Janssen
                                                                                Janssen

Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

     n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc.,
Inc. n!k/a

Abbvie Inc., Knoll Pharmaceutical Company,
                                  Company, a wholly-owned subsidiary of Abbvie Inc., Allergan

PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals;
                                                                              Pharmaceuticals,

Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson
                                                                         Watson Pharma, Inc.,

Insys Therapeutics,
Insys Therapeutics, Inc., Insys Manufacturing
                    Inc., Insys Manufacturing LLC,
                                              LLC, a wholly-owned
                                                     wholly-owned subsidiary
                                                                  subsidiary of Insys
                                                                                 Insys

Therapeutics, Inc., Mallinckrodt PLC (the "Manufacturing Defendants"), McKesson Corporation,

Cardinal Health, Inc., and AmerisourceBergen Drug Corporation (`the "Distributor Defendants").

                                    I.       DISCOVERY CONTROL PLAN

1.       Leon County intends to conduct discovery under Level
                                                        Leve133 of Texas Rule of Civil Procedure

190.4 and affirmatively pleads
                        pleads that this suit is not governed
                                                     governed by the expedited
                                                                     expedited action process in

Texas Rule of Civil Procedure 169 because Leon County seeks monetary relief
                                                                     relief over $100,000.

                                             II.      INTRODUCTION

2.       The United States is in the midst of an opioid epidemic
                                                        epidemic caused by Defendants' fraudulent

marketing, sales, and
marketing,        and distribution
                      distribution of
                                   of prescription opioids ("opioids")
                                                           ("opioids") that has resulted in addiction,

criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

    generation, but even worse."1 On
our generation,                   On October
                                     October 26,
                                             26, 2017,
                                                 2017, President
                                                       President Donald
                                                                 Donald Trump
                                                                        Trump "declared
                                                                              "declared a

nationwide public health emergency to combat the opioid crisis."2

3.       In 2016 alone, health care providers wrote more than 289 million prescriptions for




1 David
  David Wright, "Christie on Opioids:
                             Opioids: "This is the AIDS
                                                    AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
       http://www.cnn. com/2017/10/27/politics/chris-christie-opioid-commi ssion-aids-cnntv/index.html.
2017) http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
   Dan Merica,
Z Dan
2                 "What Trump's
          Merica, "What   Trump's Opioid
                                    Opioid Announcement
                                              Announcement MeansMeans ——andand Doesn't
                                                                                 Doesn't Mean,"
                                                                                           Mean," (Oct.    26, 2017)
                                                                                                     (Oct. 26,  2017)
http://www.crin.com/2017/10/26/politi cs/national-health-emergency-nati
http://w-,vw.cml.com/2017/10/26/polities/national-health-emer           on al -disaster/index.litml.
                                                               ency-national  -disaster/index.html.



                                                         2
opioids, enough
opioids, enough for
                for every
                    every adult
                          adult in            States to have
                                       United States
                                in the United           have more
                                                             more than
                                                                  than one
                                                                       one bottle
                                                                           bottle of
                                                                                  ofpills.3
                                                                                     pills.3

                       of all the opioids in the world" and are "the
Americans "consume 85% of                                       "the most medicated country in

the world ...."4

4.      Unfortunately, using opioids
        Unfortunately,       opioids too
                                     too often
                                         often leads
                                               leads to addiction
                                                        addiction and overdose from opioids. In

2014, almost
      almost 2 million Americans were addicted
                                      addicted to opioids.5
                                                  opioids.s That
                                                            That same
                                                                 same year more people died

from drug overdoses
          overdoses than in any other year, and most overdose deaths involved an opioid. The

Texas Legislature
Texas Legislature has
                  has found "that deaths resulting
                                         resulting from
                                                   from the
                                                        the use of opioids and other controlled
                                                                                     controlled

substances constitute
substances constitute aa public health crisis."6 In
                                health crisis."6 In 2015,
                                                     2015, Texas
                                                            Texas had
                                                                  had the
                                                                       the second
                                                                            second highest
                                                                                    highest total
                                                                                             total

healthcare costs from opioid abuse in the nation at $1.96 billion.

5.      In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are opioid

overdoses,
overdoses, are the leading
           are the leading cause
                           cause of death for Americans
                                              Americans under
                                                        under the
                                                              the age of 50. Accidental
                                                                             Accidental drug

overdose deaths, predominantly from opioids, exceed the number of deaths cause by cars or guns.

  6.     The economic burden caused by opioid abuse in the   the United
                                                                 United States
                                                                        States is
                                                                               is at
                                                                                  at least
                                                                                      least $78.5
                                                                                            $78.5 billion,'
                                                                                                  billion,'
_.‘
                 productivity and increased social services,
  including lost productivity                      services, health
                                                             health insurance costs, increased criminal

justice presence and strain on judicial resources, and substance abuse treatment
                                                                       treatment and rehabilitation.

7.      This
        This epidemic
             epidemic did
                      did not
                           not occur
                                occur by  chance.Defendants
                                       bychance.  Defendants manufacture,
                                                              manufacture, promote,
                                                                            promote, market,
                                                                                     market,

distribute, and/or sell prescription
distribute, and/or      prescription opioids,
                                     opioids, including
                                              including but
                                                        but not
                                                            not limited
                                                                limited to brand-name
                                                                           brand-name drugs like

                                                Ultram, Ultracet, and Subsys, and generics like
Oxycontin, Vicodin, Opana, Percocet, Duragesic, Ultram,

oxycodone, oxymorphone, hydromorphone,
oxycodone, oxymorphone, hydromorphone,hydrocodone,
                                       hydrocodone,fentanyl,
                                                    fentanyl,and
                                                              and tramadol,
                                                                   tramadol, which
                                                                             which are

powerful narcotics.


3 Prevalence of Opioid Misuse,
                       Misuse, BupPractice (Sept. 7,        https://www.buppractice.cominode/15576.
                                                     2017), https://www.buupractice.com/node/15576.
4  Substance Abuse and Mental Health Services Administration, National
                                                                National Survey on Drug Use and Health, 2014.
 5
    Id.
 5 Td.
66 Opinion of the Attorney General of
                                   of Texas, KP-0168 (Oct. 4, 2017), citing Act of
                                                                                of May
                                                                                   May 26, 2017,
                                                                                           2017, 85th
                                                                                                 85th Leg., R.S.,
                                                                                                            RS., Ch.
 534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
17 See CDC Foundation's
             Foundation's New
                           NewBusiness
                               Business Pulse   Focuses on Opioid
                                          Pulse Focuses    Opioid Overdose Epidemic, Centers for Disease Control
 and Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a-315-business-pulse-opioids.html.



                                                         3
8.                     opioids were considered too addictive and debilitating for treating non-cancer
         Historically, opioids

chronic
chronic pain
        pain —
             — non-cancer  pain that
                non-cancer pain  that lasts for three months or longer
                                                                longer —
                                                                       — such
                                                                          suchas  backpain,
                                                                               asback pain, migraines,
                                                                                            migraines,

arthritis, or standard dental procedures
arthritis,                    procedures and
                                         and were
                                             were used
                                                  used only
                                                       only to  treat short-term
                                                             to treat short-term acute
                                                                                 acute pain or for

palliative or end-of-life care.

9.       By the  late 1990s
            the late   1990s or
                              orearly
                                 early2000s,
                                       2000s,however,
                                              however, the  Manufacturing Defendants
                                                        the Manufacturing Defendants began
                                                                                     began a

marketing scheme
marketing schemeto
                 to persuade
                    persuade doctors
                             doctors and
                                      and patients
                                          patientsthat  opioids can
                                                   that opioids can and should be used
                                                                    and should    used

ubiquitously and
ubiquitously     perpetually to treat
             and perpetually    treat moderate, non-cancer chronic pain.8 The
                                      moderate, non-cancer                The Manufacturing
                                                                              Manufacturing

                 large sums
Defendants spent large sums of                      benefits of
                            of money to promote the benefits of opioids
                                                                opioids for
                                                                        for non-cancer,
                                                                            non-cancer, moderate

pain while trivializing, or even denying, their risks. The Manufacturing
                                                           Manufacturing Defendants'
                                                                         Defendants' promotional

                                         approved labeling
messages deviated substantially from any approved labeling of
                                                           of the
                                                              the drugs and caused prescribing

physicians and consuming
physicians     consuming patients    underappreciate the
                         patients to underappreciate  the health
                                                          health risks
                                                                 risks and to overestimate
                                                                              overestimate the

benefits of opioids.

10.                                                labels, Defendants'
         Contrary to the language of their drugs' labels,  Defendants' marketing
                                                                       marketing and promotional
                                                                                 and promotional

communications
communications were  false and
                werefalse   and misleadingly
                                misleadinglyinin many
                                                 many respects, including that
                                                      respects, including  that they:
                                                                                they: (1)

downplayed
downplayed the  serious risk
            the serious         addiction; (2)
                        risk of addiction;     promoted and
                                           (2) promoted     exaggerated the
                                                        and exaggerated     concept of
                                                                        the concept

"pseudoaddiction," thereby advocating
"pseudoaddiction," thereby advocating that
                                       that the
                                             the signs
                                                 signs of
                                                       of addiction should be treated with more
                                                          addiction should

opioids; (3) exaggerated the effectiveness of screening tools
                                                        tools in preventing addiction; (4) claimed

that opioid dependence and withdrawal are easily managed;
                                                 managed; (5)
                                                          (5) denied the risks of higher opioid

dosages;                     effectiveness of "abuse-deterrent"
dosages; (6) exaggerated the effectiveness    "abuse-deterrent" opioid formulations to prevent
                                                                opioid formulations

abuse
abuse and addiction; and, (7) in the case
                                     case of Insys, engaged
                                          of Insys, engaged in
                                                            in fraudulent
                                                               fraudulent or
                                                                          or negligent
                                                                             negligent off-label
                                                                                       off-label




8                          opioid market
  Insys did not enter the opioid  market unti12012,  when it manufactured
                                         until 2012, when     manufactured and marketed Subsys (sublingual fentanyl
intended solely for break-through cancer pain. In a superseding indictment     on October 24, 2017, 7 Insys employees,
                                                                   indictment on
        employees, former CEO and its founder
former employees,                         founder were
                                                  were indicted
                                                         indicted in
                                                                  in the
                                                                      the United
                                                                          United States District Court
                                                                                 States District Court for
                                                                                                       for the District of
Massachusetts relating
               relating to alleged criminal conduct in the marketing and
                        to alleged                                      and promotion of SUBSYS,
                                                                            promotion of SUBSYS, including allegations
of commercial bribery in Texas. See U.S.A. v. Michael L. Babich, et al., Cause No. No. 16-cr-10343-ADB.



                                                            4
promotion, misrepresentation of
promotion, misrepresentation of the diagnosis of
                                the diagnosis of patients
                                                 patients on
                                                          on Subsys to insurance companies
                                                                                 companies to

obtain insurance coverage for Subsys, and engaged in commercial bribery of
                                                                        of physicians.

11.    Defendants disseminated
                  disseminated these
                               these falsehoods
                                     falsehoods through
                                                through ads
                                                        ads and/or their sales representatives
                                                                               representatives

 and physicians
 and physicians who
                who supported
                     supported Defendants'
                               Defendants' message.
                                           message. Sales
                                                    Sales representatives,
                                                           representatives, working
                                                                            working at

Defendants' behest,
Defendants' behest, promoted
                    promoted highly addictive opioids through souvenirs and toys including, but
                             highly addictive

                 opioid brand-bearing
 not limited to, opioid brand-bearing stuffed
                                      stuffed plush
                                              plush toys,
                                                    toys, dolls,
                                                          dolls, coffee cups, fanny packs, water

 bottles, notepads,
 bottles, notepads, pens, refrigerator magnets,
                                       magnets, clocks,
                                                clocks, letter                  daytime planners,
                                                        letter openers, rulers, daytime planners,

                         hand-held calculators,
 bags, puzzles, posters, hand-held calculators, clipboards,
                                                clipboards, highlighters, flashlights, key chains,
                                                            highlighters, flashlights,

 clothing, reflex mallets, and mock-ups of the United States Constitution.

12.    Defendants also used third parties they controlled by: (1) funding, assisting, encouraging,

    directing doctors,
and directing doctors, known
                       known as "key opinion
                                     opinion leaders"
                                             leaders" ("KOLs"), and (2)
                                                                    (2) funding,  assisting,
                                                                         funding, assisting,

directing,     encouraging seemingly
directing, and encouraging seemingly neutral
                                     neutral and credible professional
                                             and credible professional societies     patient
                                                                       societies and patient

advocacy groups (referred to hereinafter as "Front Groups").

13.    Defendants worked with
       Defendants worked with KOLs and Front
                              KOLs and Front Groups
                                             Groups to
                                                     to taint
                                                        taint the sources
                                                                  sources that doctors
                                                                               doctors and

patients relied on for
patients relied         ostensibly "neutral"
                   for ostensibly  "neutral" guidance,
                                             guidance, such as
                                                            as treatment
                                                                treatment guidelines,
                                                                           guidelines, continuing
                                                                                       continuing

                  ("CME") programs,
medical education ("CMM") programs, medical
                                    medical conferences
                                            conferences and
                                                        and seminars,
                                                            seminars, and scientific articles.

After their individual and concerted efforts, Defendants
                                              Defendants convinced
                                                         convinced doctors
                                                                   doctors that,
                                                                           that, instead of being

addictive and
addictive     unsafe for long-term
          and unsafe     long-term use         circumstances, opioids
                                          most circumstances,
                                   use in most                opioids were
                                                                      were required
                                                                           required in
                                                                                    in the

compassionate treatment of chronic pain.

14.    The Distributor Defendants were not standing by idly
                                                       idly while
                                                            while the
                                                                  the Manufacturing
                                                                      Manufacturing Defendants

              their opioids
were peddling their opioids to
                             to physicians
                                 physicians and
                                             and consumers.
                                                  consumers. Cardinal,
                                                             Cardinal, AmerisourceBergen,
                                                                       AmerisourceBergen, and

McKesson are
McKesson are three     the largest
             three of the   largest opioid distributors in the
                                    opioid distributors    the United
                                                               United States.
                                                                      States. The
                                                                              The Distributor
                                                                                  Distributor




                                                E5
Defendants purchased
Defendants purchased opioids
                     opioids from
                             from the Manufacturing Defendants
                                  the Manufacturing Defendantsherein
                                                               hereinand
                                                                      and sold
                                                                          sold them
                                                                               them to

pharmacies servicing consumers in Leon County.

15.      Despite the rise in
         Despite          in the
                              the ordering
                                  ordering of
                                           of opioids
                                              opioids by
                                                      by retailers
                                                         retailers in
                                                                   in Leon
                                                                      Leon County,
                                                                           County, The
                                                                                   The Distributor
                                                                                       Distributor

Defendants did nothing. The Manufacturing Defendants and Distributor Defendants worked hand

and glove to flood the
                   the U.S.
                       U.S. and,
                            and, upon
                                 upon information
                                       information and belief, Leon County, with more opioids
                                                                                      opioids

              consumed for
than would be consumed for therapeutic
                           therapeutic purposes. Each Defendant disregarded
                                                                disregarded its legal duty to

report suspicious opioid prescriptions, and each Defendant financially benefitted from the other

Defendant's (both
Defendant's (both Manufacturing
                  Manufacturing and
                                and Distributor Defendants) disregarding their individual duties

to report and stop suspicious orders.

16.      Essentially each Defendant ignored
                                    ignored science
                                            science and
                                                    and consumer
                                                        consumer health
                                                                 health for
                                                                        for profits. Defendant's

efforts were so successful that opioids are now the most prescribed class of drugs generating $11

billion in revenue for drug companies in 2014 alone.
                                              alone. Even
                                                     Even after
                                                          after Defendant
                                                                DefendantPurdue
                                                                          Purdue reached
                                                                                  reached aa$600
                                                                                            $600

million federal settlement
                settlement in 2007,
                              2007, the settlement
                                        settlement failed
                                                   failed to
                                                           to impact
                                                              impact what
                                                                     what is
                                                                          is aa"$13-billion-a-year
                                                                                "$13-billion-a-year

opioid industry."9

17.      Upon information
         Upon information and belief, as aa direct
                          and belief,       direct and
                                                    and foreseeable
                                                         foreseeable consequence
                                                                     consequence of Defendants'
                                                                                    Defendants'

misrepresentations regarding
misrepresentations  regardingthe
                              thesafety
                                  safetyand
                                         and efficacy
                                             efficacy of
                                                      of using
                                                         using opioids
                                                               opioids for
                                                                       for chronic pain, Leon
                                                                                         Leon

County has spent and continues to spend large sums combatting the public health crisis created by

Defendants' negligence
Defendants' negligence and
                       and fraudulent
                           fraudulent marketing campaign.

18.      For example, scores of prescriptions were written for opioids in Leon County from 2006-

2016.1° Many overdoses, deaths, hospital admissions, and public safety offenses related to opioids
2016.10

occurred in this time period in and
occurred                        and about
                                    about Leon
                                          Leon County. Defendants' misconduct and efforts to



9 R. L. Haffajee, J.D., Ph.D., M.P.H., and M. Mello, J.D.,
                                                     J.D., Ph.D.,
                                                           Ph.D., Drug
                                                                  Drug Companies'
                                                                       Companies' Liability for the Opioid Epidemic,
N.Eng. J. Med. (Dec. 14, 2017) at 2305.
lo
10 https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html;         https://www.cdc.gov/nchs/data-visualization/drug-
                                                                   https://www.cdc.gov/nchs/data-visualization/di-ug
poisning-mortality.



                                                         6
                                      could be
ensure more prescription opioids than could be consumed
                                               consumed therapeutically
                                                        therapeutically were
                                                                        were available were

                               of these events in and about Leon County.
natural and foreseeable causes of

19.    Upon information
       Upon information and belief, as aa direct
                        and belief,       direct and
                                                 and foreseeable
                                                      foreseeable consequence
                                                                  consequence of Defendants'
                                                                                 Defendants'

conduct described
conduct described herein regarding prescription
                  herein regarding prescription opioids,
                                                opioids, Leon
                                                         Leon County
                                                              County has committed and
                                                                     has committed

                    resources to provide and pay for health
continues to commit resources                        health care,
                                                            care, law
                                                                  law enforcement,
                                                                      enforcement, social
                                                                                   social services,
                                                                                          services,

public assistance, pharmaceutical care, and other services necessary for its residents.

                      RULE
               III. RULE 47 47 STATEMENT
                            STATEMENT  OFOFMONETARY
                                            MONETARYRELIEF
                                                     RELIEF SOUGHT
                                                            SOUGHT

20.                        of the Texas Rules of Civil
       Pursuant to Rule 47 of                    Civil Procedure,
                                                       Procedure, the
                                                                  the County states
                                                                             states that,
                                                                                    that, although
                                                                                          although

the full measure of its damages is still being calculated,
                                               calculated, its
                                                            its damages
                                                                damages cause
                                                                        cause by
                                                                              byDefendants'
                                                                                 Defendants' acts and

omissions exceed $1,000,000, but are believed to be less than $100,000,000. Accordingly, at this

             litigation, the County
time in this litigation,     County states that it is seeking monetary relief for an amount greater

                              $100,000,000, their
than $1,000,000 and less than $100,000,000, their rightful
                                                  rightful and
                                                           and just
                                                               just amount to be determined by
                                                                    amount to

the Jury.

                               IV.     VENUE AND JURISDICTION

21.    Venue is proper in Leon County because all or a substantial
                                                       substantial part of the events or omissions

                    claim occurred
giving rise to this claim occurred in
                                    in Leon
                                       Leon County.
                                            County. Tex.
                                                    Tex. Civ.
                                                         Civ. Prac.
                                                              Prac. &
                                                                    & Rem.
                                                                      Rem. Code
                                                                           Code §§15.002(a)(2).
                                                                                  15.002(a)(2).

22.    This Court has subject-matter jurisdiction over
                                                  over this
                                                        this matter
                                                             matter because
                                                                    because Plaintiff's
                                                                            Plaintiff's damages are

   excess of
in excess of the
              the minimal
                  minimal jurisdictional
                           jurisdictional limits
                                          limits of
                                                 of this
                                                    this Court.
                                                         Court. Tex.
                                                                Tex. Civ. Prac. & Rem.
                                                                     Civ. Prac.   Rem. Code
                                                                                       Code

§24.007(b).

23.    This Court has general jurisdiction over Purdue
                                                Purdue Pharma
                                                       Pharma L.P.
                                                              L.P. as
                                                                   as it is a Texas citizen. This

Court has general jurisdiction over Insys Manufacturing
                                          Manufacturing LLC
                                                        LLC as
                                                            as itit is a Texas citizen. This Court

also has specific jurisdiction over all Defendants as their activities were directed toward Texas,

         injuries complained
and the injuries  complained of
                             of herein
                                herein resulted
                                       resulted from
                                                from their activities.
                                                           activities. Guardian
                                                                       Guardian Royal Exchange
                                                                                      Exchange




                                                 7
                                             815 S.W.2d 223, 227 (Tex. 1991).
                English China Clays, P.L.C., 815
Assur., Ltd. V. English                                                1991). Each Defendant

has a substantial connection with Texas and the requisite minimum contacts with Texas necessary

   constitutionally permit the
to constitutionally        the Court to exercise
                                        exercise jurisdiction. See
                                                               Seeid.id. at 226.

                                             V.      PARTIES

A. Plaintiff

24.     This action is brought for an on behalf of Leon County, which provides a wide range of

services on
services on behalf
            behalf of
                   of its residents, including services for families
                                                            families and children, public health, public

            law enforcement, and emergency care.
assistance, law

B. Defendants

25.     PURDUE PHARMA L.P. is a limited partnership
                                        partnership organized under the laws of Delaware

and may
and may be
        be served
            served through
                    through its
                             its registered
                                  registered agent
                                              agent for
                                                     for service
                                                          service of
                                                                   ofprocess,
                                                                      process, The  Prentice-Hall
                                                                                ThePrentice-Hall

Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808.
                                                                 19808. PURDUE PHARMA

                 its ownership
L.P. is, through its ownership structure, a Texas resident.
                                                  resident. PURDUE
                                                            PURDUE PHARMA
                                                                   PHARMA INC.
                                                                          INC. is
                                                                               is a New

York corporation with its principal place of business in Stamford, Connecticut and may be served

through its registered agent for service of process, Corporation Service Company, 80
                                                                                  80 State Street,

Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware
                                                    Delaware corporation with its

principal place of business in Stamford,
principal                      Stamford, Connecticut
                                         Connecticut and
                                                     and may be served through its registered
                                                                                   registered

agent for service of          The Prentice-Hall Corporation
                  of process, The               Corporation System, Inc., 251 Little Falls Drive,

Wilmington, DE 19808
               19808 (collectively "Purdue").

26.     Purdue manufactures,
        Purdue manufactures, promotes,
                             promotes,sells,
                                       sells,and
                                              and distributes
                                                  distributesopioids
                                                              opioidsinin the
                                                                           the U.S.
                                                                               U.S. and    Leon
                                                                                    and in Leon

        Purdue's opioid
County. Purdue's opioid drug,
                        drug, OxyContin,
                              OxyContin, is among
                                            among the most addictive and abused
                                                                         abused prescription

drugs in the history of America.




                                                   ,;i
                                                   8
27.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its principal

place of
      of business
         business in Titusville,
                     Titusville, New Jersey and may be served through its registered agent for

           process, CT Corporation
service of process,    Corporation System,
                                   System, 1999
                                           1999 Bryan
                                                Bryan Street,
                                                      Street, Suite 900, Dallas, TX 75201.
                                                                                    75201.

JANSSEN PHARMACEUTICALS,
JANSSEN PHARMACEUTICALS,INC.
                          INC.isisaa wholly
                                     wholly owned subsidiary of JOHNSON
                                            owned subsidiary    JOHNSON &

JOHNSON (J&J),
JOHNSON (J&J), aa New
                  New Jersey
                      Jersey corporation
                             corporation with its principal place of business in New
                                                                                 New Brunswick,

New Jersey
New Jersey and
           and may
               may be served through its registered agent for service of process, Attention: Legal

Department, One Johnson & Johnson
Department,                Johnson Plaza,
                                   Plaza, New
                                          New Brunswick,
                                              Brunswick, NJ
                                                         NJ 08933.
                                                             08933.ORTHO-MCNEIL-
                                                                    ORTHO-MCNEIL-

        PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN
                                             JANSSEN PHARMACEUTICALS,
                                                      PHARMACEUTICALS,

INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

is a Pennsylvania corporation with its principal place of business in Titusville, New jersey. J&J is

    only company
the only company that owns
                      owns more
                           more than
                                 than 10%
                                      10% of
                                          of JANSSEN
                                              JANSSEN PHARMACEUTICAL'S
                                                      PHARMACEUTICAL'S stock and

corresponds with
corresponds with the
                  the FDA
                      FDA regarding
                           regardingJANS
                                     JANSSEN PHARMACEUTICAL'S
                                         SEN PHARMACEUTICAL'   drugs, and
                                                             S drugs, andJANS SEN' S
                                                                          JANSSEN'S

                 J&J's benefit.
profits inure to J&J's benefit. (collectively "Janssen").

28.    Janssen manufactures,
       Janssen manufactures, promotes,
                             promotes,sells,
                                       sells,and
                                              and distributes
                                                  distributesopioids
                                                              opioidsinin the
                                                                           the U.S.
                                                                               U.S. and in Leon
                                                                                           Leon

County.

29.    ENDO HEALTH SOLUTIONS INC. is a Delaware
                                       Delaware corporation
                                                corporation with its principal
                                                                     principal place of

business in Malvern, Pennsylvania and may be served
                                             served through
                                                    through its registered agent for service of

process, The
process, The Corporation
             Corporation Trust
                         Trust Company,
                               Company, Corporation
                                        Corporation Trust
                                                    Trust Center,
                                                          Center, 1209
                                                                  1209 Orange
                                                                       Orange St.,
                                                                              St.,

                           PHARMACEUTICALS, INC.
Wilmington, DE 19801. ENDO PHARMACEUTICALS,  INC. is
                                                  is a wholly-owned subsidiary of

            SOLUTIONS INC.
ENDO HEALTH SOLUTIONS INC. and
                           and is a Delaware
                                    Delaware Corporation
                                             Corporation with
                                                         with its principal place
                                                                            place of

business in Malvern, Pennsylvania and may be served
                                             served through
                                                    through its registered
                                                                registered agent for service of




                                                  9
                                                  ~
process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (collectively

"Endo").

30.    Endo develops, markets, and sells opioid drugs in the U.S. and in Leon County. Endo also

manufactures and sells
manufactures and       generic opioids
                 sells generic opioids in
                                       in the
                                          the U.S.
                                              U.S. and Leon County, directly and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

31.    ABBVIE INC. ("Abbvie") is aa Delaware corporation with its principal place of business

         Chicago, Illinois and may be served through its registered agent for service of process,
in North Chicago,

CT Corporation
CT Corporation System,
               System, 208    LaSalle Street,
                       208 S. LaSalle Street, Suite 814, Chicago,
                                              Suite 814, Chicago, IL
                                                                   IL 60604.
                                                                       60604. KNOLL
                                                                              KNOLL

PHARMACEUTICAL COMPANY
PHARMACEUTICAL COMPANY("Knoll")
                       ("Knoll")has
                                has been
                                    been aa wholly-owned
                                            wholly-owned subsidiary
                                                         subsidiary of Abbvie

                            PHARMACEUTICAL COMPANY
from January 1, 2013. KNOLL PHARMACEUTICAL COMPANY is a New Jersey corporation

         principal place of business
with its principal                      Parsippany, New
                            business in Parsippany, New Jersey
                                                        Jersey and
                                                               and may be served through its

registered agent for service of
                             of process,
                                process, CT Corporation System, 208 LaSalle Street, Suite 814,
                                            Corporation System,

Chicago, IL 60604.

32.    Knoll irresponsibly
       Knoll irresponsibly marketed
                           marketed narcotics,
                                    narcotics, such
                                               such as
                                                    as Vicodin,
                                                       Vicodin, through whimsical toys and
                                                                through whimsical

souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin was

not regulated as a Schedule II controlled substance for many years and the fact that physicians and

consumers did not fully
consumers did           appreciate the highly
                  fully appreciate     highly addictive
                                              addictive nature of
                                                               of Vicodin,
                                                                  Vicodin, Knoll
                                                                           Knoll advertised
                                                                                  advertised

Vicodin with tag lines such as "The Highest Potency Pain
                                                    Pain Relief You Can Still Phone In." This

tag line came as part and parcel of souvenirs
                                    souvenirs like
                                              like aa"Vicodin"
                                                     "Vicodin" fanny pack and water bottle, both

bearing the name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a

narcotic drug caused doctors and patients
                                 patients to believe
                                             believe Vicodin
                                                     Vicodin was
                                                             was safer
                                                                 safer than
                                                                       than it really was, to the

detriment of people in Leon County.




                                                10
33.     Abbvie       manufacturing, developing,
        Abbvie began manufacturing, developing, promoting,
                                                promoting, marketing
                                                           marketing and
                                                                     and selling
                                                                         selling the opioid
                                                                                     opioid

drug, Vicodin,
      Vicodin, in the U.S. and in
                               in Leon
                                  Leon County
                                       County beginning January 1, 2013. On information and

belief, it continues to do so at the time of
                                          of filing this pleading.

34.     ALLERGAN PLC is a public limited company incorporated in Ireland with its principal
        ALLERGAN

place of business in Dublin, Ireland. ACTAVIS PLC
                                              PLC acquired
                                                  acquired Allergan
                                                           Allergan PLC
                                                                    PLC in March of 2015,

        combined company
and the combined company changed
                         changed its
                                 its name
                                     name to Allergan PLC
                                          to Allergan PLC in January
                                                             January 2013. Before that,

WATSON PHARMACEUTICALS, INC. acquired ACTAVIS,
                                      ACTAVIS, INC.
                                               INC. in October of 2012, and the

combined company
combined company changed
                 changed its
                         its name
                             name to ALLERGAN
                                     ALLERGAN FINANCE,
                                              FINANCE, LLC
                                                       LLC as
                                                           as of October
                                                                 October 2013.
                                                                         2013.

ALLERGAN FINANCE,
ALLERGAN FINANCE, LLC,
                  LLC, is
                       is a Nevada
                            Nevada Corporation
                                   Corporation with
                                               with its
                                                    its principal
                                                        principal place of business in

Parsippany, New Jersey and may be served through its registered
                                                     registered agent for service of process, The

Corporation Trust
Corporation Trust Company
                  Company of Nevada,
                             Nevada, 701
                                     701 S.
                                         S. Carson
                                            Carson St.,
                                                   St., Suite
                                                        Suite 200, Carson City, NV 89701.

WATSON LABORATORIES,
       LABORATORIES, INC.
                     INC. is a Nevada corporation
                                      corporation with
                                                  with its principal place of business

in Corona, California and is a wholly-owned subsidiary of Allergan PLC f/k/a Actavis, Inc., f/k/a

Watson Pharmaceuticals, Inc. and
       Pharmaceuticals, Inc. and may
                                 may be served through its registered
                                                           registered agent for service of process,

Corporate Creations
Corporate Creations Network,
                    Network, Inc.,
                              Inc., 8275
                                    8275 South
                                         South Eastern
                                               Eastern Ave.,
                                                       Ave., #200,
                                                             #200, Las
                                                                   Las Vegas,
                                                                       Vegas, NV 89123.
                                                                                 89123.

ACTAVIS PHARMA, INC. f/k/a Actavis, Inc. is a Delaware corporation with its principal place

of business in New Jersey and was formerly known as WATSON PHARMA,
                                                           PHARMA, INC. and may be

served through its registered agent for service of process, CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware
                                                      Delaware limited liability company with

its principal place of business in Parsippany, New Jersey and may
                                                              may be served through its registered

agent for service
agent     service of
                  of process,
                     process, Corporate
                              Corporate Creations
                                        Creations network,
                                                  network, Inc., 3411 Silverside
                                                                      Silverside Rd.,
                                                                                 Rd., Tatnall
                                                                                      Tatnall

Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by Allergan PLC,

which uses them to market and sell its drugs in the United
                                                    United States
                                                           States (collectively
                                                                  (collectively "Actavis").




                                                   11
35.    Upon information and belief, Allergan PLC exercises control over these marketing and
                                                 exercises control

sales efforts and profits from the sale of Allergan/Actavis products, which ultimately inures to its

benefit. Actavis acquired the rights to Kadian from King Pharmaceuticals, Inc. on December 30,

2008 and began marketing Kadian in 2009.

36.    Actavis manufactures,
       Actavis manufactures, promotes,
                             promotes,sells,  and distributes
                                       sells,and  distributesopioids
                                                              opioidsininthe
                                                                          the U.S.
                                                                              U.S. and in Leon
                                                                                          Leon

County.

37.    INSYS
       INSYS THERAPEUTICS, INC. is aa Delaware
             THERAPEUTICS,INC.        Delaware corporation
                                               corporation with
                                                           with its principal place
                                                                its principal place of

business in
business    Chandler, Arizona.
         in Chandler,                 THERAPEUTICS, INC.
                                INSYS THERAPEUTICS,
                      Arizona. INSYS                 INC. can
                                                          can be
                                                              be served
                                                                 served by serving its

registered agent as follows: CT
                             CTCorporation
                                Corporation System,
                                            System, 1999 Bryan Street, Suite 900, Dallas, TX

75201.       MANUFACTURINGLLC
75201. INSYS MANUFACTURING LLCisisaa duly
                                     duly formed
                                           formed Texas
                                                  Texas entity and resident
                                                        entity and resident and
                                                                            and is a

                                 THERAPEUTICS, INC.
wholly owned subsidiary of INSYS THERAPEUTICS,  INC.INSYS
                                                     INSYSMANUFACTURING
                                                          MANUFACTURING LLC's
                                                                        LLC's

                                  Round Rock,
principal place of business is in Round                    MANUFACTURING LLC can be
                                        Rock, Texas. INSYS MANUFACTURING

served by serving its registered agent as follows: CT Corporation              Bryan Street, Suite
                                                      Corporation System, 1999 Bryan

900, Dallas, TX 75201 (collectively "INSYS").

38.    INSYS manufactures,
             manufactures, promotes,
                           promotes, sells and/or distributes
                                     sells and/or distributesopioids
                                                              opioidsin
                                                                      in the
                                                                          the U.S.
                                                                              U.S. and in Leon

County.

39.    MALLINCKRODT PLC ("Mallinckrodt")
       MALLINCKRODT PLC  ("Mallinckrodt")isisan
                                              an Irish
                                                  Irish public
                                                        public limited company with its
                                                               limited company

corporate headquarters in Staines-Upon-Thames, Surrey, United Kingdom and
                                                                      and maintains a U.S.

headquarters
headquarters in St. Louis, Missouri. MALLINCKRODT may
                           Missouri. MALLINCKRODT may be
                                                      be served
                                                         served by serving it registered

agent CT Corporation System, 120 South Central Ave., Clayton, Missouri 63105.

40.    Mallinckrodt manufactures, promotes,
       Mallinckrodt manufactures, promotes, sells,
                                            sells, and/or
                                                   and/or distributes
                                                          distributes opioids nationally and
                                                                      opioids nationally and in

Texas
Texas and Leon
          Leon County,
                County, including  medications containing
                         including medications  containing codeine,
                                                            codeine, fentanyl,
                                                                      fentanyl, hydrocodone,
                                                                                 hydrocodone,




                                                12
morphine, and oxycodone. These opioid drugs are sold both directly by MALLINCKRODT and

by third party drug distributors.

41.    MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its principal

place of business in San Francisco, California and may be served through its registered agent for

                                              Service, 211 E. 71
service of process, CSC-Lawyers Incorporating Service,        7th Street, Suite 620, Austin, TX

78701. McKesson
78701. McKesson does
                does substantial
                     substantialbusiness
                                 businessinin Texas,
                                              Texas,and
                                                     and upon
                                                         upon information
                                                              information and
                                                                          and belief,
                                                                              belief, is
                                                                                      is a

pharmaceutical distributor
pharmaceutical distributor licensed
                           licensed to do business in Texas.
                                                      Texas. McKesson distributes pharmaceuticals
                                                             McKesson distributes pharmaceuticals

to retail pharmacies and institutional providers in all 50 states, including Texas and Leon County.

42.    CARDINAL HEALTH, INC. ("Cardinal") is an Ohio corporation with its principal place

of business in Dublin, Ohio and may be served through its registered agent for service of process,

CT Corporation System, 4400 Eastern Commons, Suite 125, Columbus, OH 43219. Cardinal does

substantial business
substantial business in Texas and, upon information
                     in Texas           information and belief, Cardinal is aa pharmaceutical
                                                    and belief,                 pharmaceutical

distributor licensed
distributor licensed to do business
                     to do  business in
                                      in Texas.
                                          Texas. Cardinal
                                                  Cardinal distributes  pharmaceuticals to retail
                                                            distributes pharmaceuticals    retail

pharmacies and institutional
pharmacies     institutional providers
                             providers to
                                        to customers
                                           customers in
                                                      in all
                                                         all 50
                                                             50 states, including Texas and Leon

County.

43.    AMERISOURCEBERGEN DRUG
       AMERISOURCEBERGEN DRUG CORPORATION
                              CORPORATION("Amerisource")
                                          ("Amerisource")isis a Delaware
                                                                Delaware

corporation with its principal place of business in Chesterbrook, Pennsylvania and may be served

through its registered agent for service of process, The Corporation Trust Company, Corporation

Trust Center 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial business in

Texas and, upon information and belief, Amerisource is a pharmaceutical distributor licensed to

do business
do business in
             in Texas.
                 Texas.Amerisource
                        Amerisource distributes
                                     distributes pharmaceuticals
                                                 pharmaceuticals to  retail pharmacies
                                                                  to retail  pharmacies and
                                                                                        and

              providers to
institutional providers to customers
                           customers in a1150
                                        all 50 states, including
                                                       including Texas
                                                                 Texas and
                                                                       and Leon County.

                                    VI.   FACTUAL ALLEGATIONS




                                                13
44.                of the
       As a result of the opioid
                          opioid epidemic,
                                 epidemic, oxycodone,
                                           oxycodone, hydrocodone, and fentanyl are among the

most commonly diverted opioids in the United States.
                                             States. The
                                                     The Federal Drug Enforcement
                                                                      Enforcement Agency's
                                                                                  Agency's

National Drug Threat Assessment for 2017 reported that more than 93.7 million prescriptions for

            were written
hydrocodone were written in
                         in 2016, totaling more than 6.2 billion
                                                         billion hydrocodone
                                                                 hydrocodone dosage units (pills)

dispensed or sold in the U.S. More
                              Morethan
                                   than60
                                        60million
                                          million prescriptions
                                                  prescriptions for oxycodone
                                                                    oxycodone were written in

                         synthesized in 1959
2016. Fentanyl was first synthesized    1959 by Paul Janssen,
                                                     Janssen, of
                                                              of Janssen
                                                                 Janssen Pharmaceuticals,
                                                                         Pharmaceuticals, and

entered the slow-release
            slow-release dermal
                         dermal patch pharmaceutical
                                      pharmaceuticalmarket
                                                     marketin
                                                            in the  1990s. Fentanyl's
                                                                the 1990s. Fentanyl's use and

diversion continues
diversion continues to
                     to grow
                        grow in the U.S. market,
                                         market, and
                                                 and its illicit analogues     responsible for
                                                                 analogues are responsible for a

               of opioid-related
growing number of opioid-related overdoses in the U.S.

45.    The Northern and Southern borders to the U.S. continue
                                                     continue to
                                                              to be common ports of entry for

           prescription drugs
controlled prescription drugs diverted
                              diverted to the U. S. market. Diversion across the U.S. borders is yet

        way in which prescription
another way          prescription opioids
                                  opioids are
                                          are diverted into the U.S. market and counties like Leon

County, Texas.

46.                                                         market from border countries is a loop-
                      of prescription opioids into the U.S. market
       This diversion of

                to manufacturers
hole well known to manufacturers and distributors
                                     distributors named in this petition. Unlimited distribution

                border counties
of opioids into border counties means that the opioid problem in the U.S. will continue,
                                                                               continue, despite

                curtail the
best efforts to curtail the diversion.
                            diversion. Any
                                       Any decline
                                           decline in
                                                   in U.S.
                                                      U.S. prescriptions is potentially
                                                                            potentially meaningless
                                                                                        meaningless

        curtailing over-promotion
without curtailing over-promotion and over-distribution
                                      over-distribution immediately
                                                        immediately across
                                                                    across the      borders
                                                                           the U.S. borders

                                                                                      diversion.
where countless prescription opiates enter into the U.S. undetected and available for diversion.

          units of
Countless units of the illicit analogues of fentanyl, derived from the
                                                                   the Janssen formula, also continue

          through the U.S.
to arrive through     U.S. border ports and are delivered through mail carriers.

47.         information and
       Upon information and belief, the manufacturers, distributors, mail carriers, and potentially

    DEA through
the DEA  through export
                 export reports,
                        reports, maintain
                                 maintain data
                                          data and
                                               and records
                                                   records that
                                                            that can identify the
                                                                 can identify     levels of
                                                                              the levels




                                                 14
prescription opioids
prescription opioids that
                      that are         regulated U.S. entities into border
                           are sent by regulated                    border counties
                                                                           counties or delivered
                                                                                       delivered

illicitly into
illicitly into the U.S.
                   U.S. Failure
                        Failure to eliminate
                                   eliminate the
                                             the flow
                                                 flow of opioids
                                                         opioids into border
                                                                      border cities
                                                                             cities that
                                                                                    that are then

potentially available for
potentially           for diversion
                          diversion through
                                    through re-entry
                                            re-entry is necessary to ensure that the path
                                                                                     path for
                                                                                          for diversion
                                                                                              diversion

of prescription opioids is fully closed.

48.    Currently, no U.S. federal regulatory agency has any
                                                        any responsibility
                                                            responsibility to ensure that
                                                                                     that diversion

is not occurring on the U.S. borders for the purpose of creating a market for re-entry into the U.S.

and diversion into counties like Leon County, Texas. The
                                                     The control
                                                         control of prescription
                                                                    prescription opioids that
                                                                                         that flow

from the U.S. that are diverted into the U.S. across the
                                                     the border
                                                         border adds to the diversion of prescription
                                                                                         prescription

opioids that is occurring within the U.S.

49.                      generally accepted standards
       Before the 1990s, generally                       inedical practice dictated that opioids
                                            standards of medical

       be used
should be used only
               only for
                    for short-term
                        short-termacute
                                   acutepain
                                        pain—— pain
                                                painrelating
                                                     relatingto
                                                              torecovery
                                                                 recovery from
                                                                          from major
                                                                               major surgery
                                                                                     surgery or for

cancer or palliative
cancer    palliative (end-of-life)
                     (end-of-life) care.
                                   care. Using
                                         Using opioids
                                               opioids for
                                                       for chronic
                                                           chronic pain was discouraged
                                                                            discouraged or even

prohibited because there was a lack of evidence
prohibited                             evidence that
                                                 thatopioids
                                                     opioidsimproved
                                                             improved patients'
                                                                      patients' ability to
                                                                                        to overcome
                                                                                           overcome

pain and function. Instead the evidence demonstrated that patients
                                                          patients developed tolerance to opioids

over time, which increased the risk of
                                    of addiction and other side effects.

50.    Defendants dramatically changed doctors' views regarding opioids through a well-funded

deceptive marketing
          marketing scheme. Each Defendant used direct marketing and unbranded advertising

disseminated by seemingly
disseminated    seemingly independent
                          independent third
                                      third parties
                                            parties to
                                                     to spread false and
                                                                     and deceptive
                                                                         deceptive statements
                                                                                   statements

                            of long-term opioid use.
about the risk and benefits of




A.     Defendants Used Multiple Avenues to Disseminate Their False and Deceptive Statements
       About Opioids.




                                                 15
51.         information and
       Upon information     belief, Defendants spread their false and deceptive statements by (1)
                        and belief,

marketing their branded opioids directly to doctors treating patients residing in Leon County and

the Leon County patients themselves and (2) deploying so-called unbiased and independent third

parties to Leon County.

       1. Defendants
           Defendants Spread
                       Spread and
                               and Continue
                                    Continue to   Spread Their
                                              to Spread  Their False
                                                               False and
                                                                      and Deceptive
                                                                          Deceptive Statements
                                                                                    Statements
                                     of Their Branded Opioids.
           Through Direct Marketing of

52.                                    opioids generally
       Defendants' direct marketing of opioids           proceeded on
                                               generally proceeded on two
                                                                      two tracks. First, each

                                campaigns touting the purported benefits of their branded drugs.
                    advertising campaigns
Defendant conducted advertising

For example, Defendants spent more than $14 million on medical journal advertising on opioids

in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9 million by

Janssen and $1.1. million by Endo.

53.                Defendants' branded
       A number of Defendants' branded ads deceptively portrayed the benefits of opioids for
                                       ads deceptively

chronic pain. For example, Endo distributed and made available on its website, www.opana.com,

a pamphlet promoting Opana ER with photographs depicting patients with physically demanding
                           ER with

jobs like
     like aa construction  worker and
              construction worker and chef,
                                      chef, implying
                                            implying that the drug would provide
                                                                         provide long-term pain

                      improvement. Purdue
relief and functional improvement. Purdue also
                                          also ran
                                                ran aa series of ads, called "pain vignettes," for
                                                       series of

OxyContin  in 2012
OxyContin in  2012 in
                   in medical
                      medical journals.
                               journals. These ads featured
                                         These ads  featured chronic
                                                             chronic pain
                                                                     pain patients
                                                                          patients and
                                                                                   and

recommended OxyContin for each. One ad described   "54-year-old-writer with osteoarthritis of
                                       described aa"54-year-old-writer

the hands" and implied
    hands" and implied that OxyContin would help the writer work more effectively. Pursuant to
                       that OxyContin

a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to halt these misleading

representations in
representations in New York, but they may continue    disseminate them
                                          continue to disseminate them in Texas. Insys used

pharmacy data
pharmacy      acquired from
         data acquired from third
                            third parties
                                  parties to track the success
                                          to track     success of competitor
                                                                  competitor brands
                                                                             brands in their

fentanyl spray market and ranked doctors from 1 to 10 according to the number of prescriptions




                                               16
written in the class (10 being the highest number of written prescriptions). Insys then targeted the

                                                          opioid.11I
high prescribing doctors to get them to prescribe Insys's opioid.l

54.      Second, each Defendant promoted the use
                                             use of opioids
                                                    opioids for
                                                            for chronic pain through "detailers"
                                                                                     "detailers"

— sales
—  salesrepresentatives
         representatives who
                         who visited
                             visited individual doctors
                                                doctors and
                                                        and medical
                                                            medicalstaff
                                                                    staffin
                                                                          intheir
                                                                             theiroffices
                                                                                   offices—
                                                                                          — and
                                                                                            and small-
                                                                                                small-

group
group speaker           Defendants devoted
      speaker programs. Defendants devoted massive
                                           massive resources
                                                    resources to
                                                               to direct
                                                                  direct sales contacts with

doctors.                Defendants spent $168 million on detailing branded opioids to doctors,
doctors. In 2014 alone, Defendants

including $108 million by Purdue, $34 million by Janssen,
                                                 Janssen, $10
                                                          $10 million
                                                              million by Endo, and $2 million

                                                                             2000.12
by Actavis. This amount is twice as much as Defendants spent on detailing in 2000.12

55.      Defendants also identified doctors to serve, for
                                                      for payment,
                                                          payment, on  their speakers'
                                                                   on their  speakers' bureaus and to

attend programs with
attend programs      speakers and
                with speakers     meals paid for
                              and meals      for by
                                                 by Defendants.
                                                     Defendants. These
                                                                 These speaker  programs
                                                                        speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid so they might be selected to

promote the drug; (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker
                                               speaker to his or her peers. These speakers gave

                                                       and medically
the false impression that they were providing unbiased and medically accurate presentations when

they were, in fact,
              fact, presenting
                    presenting a script prepared by Defendants. On information and belief, these
                                 script prepared

presentations conveyed misleading information, omitted material information, and failed to correct
              conveyed misleading

Defendants'
Defendants' prior misrepresentations about
            prior misrepresentations about the risks and benefits of opioids.

56.      Upon information and belief, Defendants employed the same marketing plans, strategies,

and message in and around Leon County, Texas as they
                                                they did
                                                     did nationwide.
                                                         nationwide. Across
                                                                     Across the
                                                                            the pharmaceutical
                                                                                pharmaceutical

industry, "core message" development
                         development is
                                     is funded
                                        funded and
                                               and overseen
                                                   overseen on
                                                            on a national basis by corporate
                                                                                   corporate



11 TheFederal
" The  Federalindictment
                indictmentfor
                            forInsys
                                Insyssets
                                      sets out
                                           out allegations,
                                                allegations, among
                                                             among others, relating to the use of speaker fees to bribe high
             doctors to write prescriptions
prescribing doctors             prescriptions for
                                               for Insys's Fentanyl Spray outside the usual course of of their
                                                                                                         their professional
                                                                                                                professional
practice. See supra at note 8.
IZ
   In or
12 In or about
          about 2012,
                 2012, Insys
                        Insysengaged
                              engaged inin speaker
                                            speaker programs
                                                     programs with    physicians who
                                                                with physicians   who were   referred to as "Live
                                                                                        were referred       "Live Speaker
                                                                                                                    Speaker
Targets," and it was impressed upon representatives       by the
                                         representatives by   the then
                                                                  then CEO
                                                                       CEO that
                                                                            that "[t]hey
                                                                                 "[t]hey do not need to be good speakers,
they need to write a lot of ... [prescriptions for the Fentanyl Spray]." See supra at note 8.



                                                            17
                   comprehensive approach
headquarters. This comprehensive approach ensures
                                          ensures that
                                                   that Defendants'
                                                        Defendants' messages are consistently

delivered across marketing                            territory. Defendants consider this high level
                 marketing channels and in each sales territory.

of coordination and uniformity crucial to successfully marketing their drugs.

       2. Defendants
           DefendantsUsed     DiverseGroup
                      UsedaaDiverse  GroupofofSeemingly
                                               Seemingly Independent
                                                           Independent Third
                                                                        Third Parties to Spread
           False and Deceptive Statements about the Risks and Benefits of Opioids.

57.    Upon information and belief, Defendants also deceptively marketed opioids in and around

Leon County through unbranded advertising, i.e., advertising that promotes opioid use generally
                                                 advertising that

but does not name a specific opioid. This advertising was ostensibly created and disseminated by

independent third
independent        parties. By funding,
             third parties.     funding, directing,
                                         directing, reviewing,
                                                    reviewing, editing,
                                                               editing, and distributing
                                                                            distributing this

                                                 deceptive messages
unbranded advertising, Defendants controlled the deceptive messages disseminated by these third

                     concert with them to falsely
parties and acted in concert              falsely and
                                                  and misleadingly promote opioids for treating

chronic pain. Unbranded
              Unbrandedadvertising
                        advertising also avoided regulatory scrutiny because Defendants did not
                                    also avoided

have to submit it to the FDA; therefore, it was not reviewed by the FDA.

58.    Defendants' deceptive
                   deceptive unbranded marketing often contradicted their branded
                                       marketing often                    branded materials
                                                                                  materials

                     For example,
reviewed by the FDA. For example, Endo's
                                  Endo's unbranded
                                         unbranded advertising
                                                   advertising contradicted
                                                               contradicted its concurrent,
                                                                                concurrent,

branded advertising for Opana ER:
  I   Pain:     Opioid Therapy
      Pain: Opioid       Therapy                      Opana ER Advertisement
                (Unbranded)                                (Branded)
                                                  "All patients treated with opioids
                                                  'A11
   "People who take opioids as                    require careful monitoring for signs of
                                                  abuse and addiction, since use of opioid
   prescribed usually do not                      analgesic products carries the risk of
   become addicted."                              addiction even under appropriate medical
                                                  use."

59.    Defendants spoke through a small circle of doctors who,
       Defendants                                              upon information and belief, were
                                                          who, upon

                                                       positions supported using opioids to treat
selected and funded by Defendants because their public positions

chronic pain. These doctors became known as "key
                                            "key opinion leaders" or "KOLs."
                                                 opinion leaders"    "KOLs."




                                                18
60.    Defendants paid KOLs to serve as consultants or
                                                    or on their advisory boards and to give talks
                                                       on their

or present CMEs, and their support helped these KOLs
                                                KOLs become
                                                     become respected industry experts. As they
                                                            respected industry

rose to prominence,
        prominence, these
                    these KOLs
                          KOLs touted
                               touted the benefits
                                          benefits of opioids
                                                      opioids to treat chronic
                                                                       chronic pain, repaying
                                                                                     repaying

Defendants by
Defendants by advancing
              advancing their
                        their marketing
                              marketing goals.
                                        goals. KOLs'
                                               KOLs' professional
                                                      professional reputations
                                                                    reputations became
                                                                                became

dependent on continuing to promote a pro-opioid message,
                                                message, even
                                                         even in activities that were not directly

funded by Defendants.

61.    KOLs have written, consulted
                          consulted on,
                                    on, edited,
                                        edited, and
                                                and lent
                                                    lent their
                                                          their names
                                                                names to books and articles and

given speeches and CMEs supportive of chronic opioid therapy.
                                                     therapy. Defendants
                                                              Defendants created opportunities

for KOLs to participate
            participate in research
                           research studies. Defendants
                                             Defendants suggested
                                                        suggested or chose and then cited and
                                                                  or chose

promoted favorable
         favorable studies
                   studies or articles by their KOLs.
                                                KOLs. By contrast, Defendants did not support,

acknowledge, or disseminate
acknowledge,    disseminate publications
                            publications of
                                         of doctors
                                            doctors unsupportive
                                                    unsupportive or
                                                                 or critical
                                                                    critical of chronic opioid

therapy.

62.    Defendants' KOLs also served
       Defendants'           served on
                                    on committees
                                        committees that developed
                                                        developed treatment guidelines that

strongly encourage using opioids to treat chronic pain
                                                  pain and
                                                       and on the boards of pro-opioid advocacy

groups and
       and professional societies that develop, select, and present CMEs. Defendants were able to

direct and exert control over each of these activities through their KOLs.

63.    Pro-opioid doctors are one of the most important avenues
                                                        avenues that
                                                                that Defendants used to spread

their false
their false and
            and deceptive
                 deceptive statements
                           statements about
                                      about the
                                            the risks
                                                risks and
                                                      and benefits
                                                          benefits of
                                                                   of long-term
                                                                       long-term opioid
                                                                                 opioid use.
                                                                                        use.

Defendants
Defendants know
           know that
                that doctors
                     doctors rely
                             rely heavily
                                  heavily and less critically on their peers for guidance, and KOLs

provide the false appearance of unbiased and reliable support for chronic opioid therapy.

64.    Defendants utilized
       Defendants utilized many
                           many KOLs,
                                KOLs, including
                                       includingmany
                                                manyof
                                                     ofthe
                                                        the same
                                                            same ones.
                                                                 ones. Two
                                                                       Two of the most
                                                                                  most

prominent are described below.




                                                19
                                                [Lt
                                Key Opinion Leaders
                            (a) Key

65.        Dr. Russel Portenoy, former Chairman of the Department of Pain Medicine and Palliative

Care at Beth Israel Medical Center
Care                        Center in New York,
                                          York, is one example
                                                       example of a KOL
                                                                    KOL who
                                                                        who Defendants
                                                                            Defendants

identified and
identified     promoted to further
           and promoted    further their
                                   their marketing
                                         marketing campaign.
                                                   campaign. Dr. Portenoy
                                                                 Portenoy received research
                                                                                   research

support, consulting fees, and honoraria from Endo, Janssen,
                                                   Janssen, and
                                                            and Purdue (among
                                                                       (among others), and was

a paid consultant to Purdue.

66.        Dr. Portenoy was instrnmental
                            instrumental in opening
                                            opening the
                                                     the door
                                                         door for
                                                              for the
                                                                  the regular
                                                                      regular use
                                                                              use of opioids to treat

chronic pain. He served on the American Pain Society
                                             Society ("APS")
                                                     ("APS") and American Academy of Pain

Medicine ("AAPM") Guidelines Committees,
                             Committees, which
                                         which endorsed
                                               endorsed the
                                                         the use
                                                             use of opioids
                                                                    opioids to
                                                                            to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

Foundation ("APF"), an
                    an advocacy
                       advocacy organization almost entirely funded by Defendants.

67.                                              appearances promoting
           Dr. Portenoy also made frequent media appearances promoting opioids.
                                                                       opioids. He appeared on

Good Morning America in 2010 to discuss using opioids
                                              opioids long-term
                                                      long-term to
                                                                to treat
                                                                   treat chronic pain. On this

widely-watched program,
widely-watched  program, broadcast
                         broadcastinin Texas
                                       Texas and
                                             and across
                                                 across the country, Dr. Portenoy
                                                        the country,     Portenoy claimed:
                                                                                  claimed:

"Addiction, when
"Addiction, when treating
                 treating pain,
                          pain, is distinctly
                                   distinctly uncommon.
                                              uncommon.IfIf aa person
                                                               person does
                                                                      does not
                                                                           not have
                                                                               have aa history,
                                                                                       history, a

personal history, of substance abuse, and does not have aa history
                                                           history in the family of substance abuse,

and does not have a very major psychiatric disorder,
                                           disorder, most
                                                     most doctors
                                                          doctors can feel very assured that the

person isisnot
person     notgoing
               goingtotobecome
                         becomeaddicted.1113
                                 addicted."13

68.        Dr. Portenoy later admitted that he "gave innumerable
                                                     innumerable lectures
                                                                 lectures in
                                                                          in the
                                                                             the late
                                                                                 late 1980s and 90s

about addiction
      addiction that
                 that weren't
                      weren't true."14 These lectures falsely claimed
                                                              claimed that less than 1% of patients

would become addicted to opioids. According
                                  According to
                                            to Dr.
                                               Dr. Portenoy,
                                                   Portenoy, because
                                                             because the
                                                                     the primary goal was to

"destigmatize" opioids,
"destigmatize" opioids, he
                        he and
                           and other
                               other doctors promoting them overstated their benefits and glossed


13
13 Good Morning America television broadcast,  ABC News (Aug. 30, 2010).
14   T. Catan & E. Perez, A Pain-Drug Champion Has Second Thoughts,
                                                          Thoughts, Wall
                                                                    Wall Street Journal (Dec. 17, 2012).



                                                        20
over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness
                                                                    effectiveness of opioids does

not exist."I5
    exist."15 Dr. Portenoy candidly
                           candidly stated, "Did I teach about
                                                         about pain
                                                               pain management, specifically about

opioid therapy, in a way
                     way that reflects misinformation?
                                       misinformation?Well  ... I guess I did."16
                                                       Well...                 16

69.      Another KOL,
         Another KOL, Dr. Lynn Webster,
                               Webster, was
                                        was the co-founder
                                                co-founder and       Medical Director
                                                           and Chief Medical Director of

Lifetree Clinical Research, an
                            an otherwise unknown pain clinic in Salt Lake City, Utah. Dr. Webster

    President in 2013
was President    2013 and is aa current
                                 current board
                                         board member
                                               member of AAPM, a Front
                                                                 Front Group that ardently
                                                                                  ardently

supports chronic
supports chronic opioid
                 opioid therapy.
                        therapy. He
                                 He is a Senior Editor
                                                Editor of Pain Medicine,
                                                               Medicine, the same journal that

published Endo
published      special advertising
          Endo special advertising supplements
                                   supplementstouting
                                               touting Opana
                                                       Opana ER.
                                                             ER. Dr. Webster
                                                                     Webster authored
                                                                             authored

numerous CMEs sponsored by Endo and Purdue while he was
                                                    was receiving significant funding
                                                                              fitnding from

Defendants.

70.      In 2011,
            2011, Dr.
                  Dr. Webster
                      Webster presented
                              presented a program
                                          program via webinar
                                                      webinar sponsored
                                                              sponsored by Purdue
                                                                           Purdue titled,
                                                                                   titled,

"Managing Patient's Opioid Use: Balancing the
                                          the Need
                                              Need and
                                                   and the
                                                        the Risk." Dr. Webster
                                                            Risk." Dr. Webster recommended

using risk screening
using      screening tools,
                     tools, such
                            such as urine testing
                                          testing and
                                                  and patient
                                                      patient agreements,
                                                              agreements, as
                                                                          as aa way to prevent
                                                                                       prevent

"overuse of
"overuse    prescriptions" and
         of prescriptions" and "overdose
                               "overdose deaths,"
                                         deaths,"which
                                                  whichwas
                                                       was available
                                                           availableto
                                                                     to and
                                                                        and was,
                                                                            was, upon
                                                                                 upon

information and belief, intended to reach doctors treating Leon County residents.

71.      Dr. Webster also was a leading proponent of the
                                                     the concept
                                                         concept of
                                                                 of "pseudoaddiction,"
                                                                    "pseudoaddiction," the notion

               behaviors should
that addictive behaviors should be seen not as warnings, but
                                                         but as
                                                             as indications
                                                                indications of undertreated
                                                                               undertreated pain. In

    Webster's description,
Dr. Webster's description, the
                           the only
                               only way to differentiate
                                           differentiate the
                                                         the two
                                                             two was
                                                                 was to
                                                                     to increase
                                                                        increase the
                                                                                  the patient's
                                                                                      patient's dose

of opioids. As he and his co-author wrote in a book that is still available online, when faced with

signs of aberrant
         aberrant behavior,
                  behavior, increasing
                            increasingthe
                                       thedose
                                           dose"in
                                                "inmost
                                                   mostcases
                                                        cases...
                                                              ... should
                                                                  should be
                                                                         be the clinician's first

response." Endo
response." Endo distributed
                distributed this book to doctors.
                            this book    doctors. Years later, Dr.
                                                               Dr. Webster
                                                                   Webster reversed
                                                                            reversed himself,
                                                                                     himself,




is Id.
15
16
16 Id.



                                                21
acknowledging that "[pseudoaddiction] obviously became too much of an excuse to give patients

more medication."

                   Front Groups
               (a) Front

72.                        into arrangements
        Defendants entered into arrangements with seemingly unbiased and independent patient

and professional organizations
                 organizations to promote
                                  promote opioids
                                          opioids for
                                                  for treating
                                                      treating chronic pain. Under Defendants'

direction and control, these "Front Groups" generated treatment guidelines, unbranded materials,

and programs that favored chronic opioid therapy. They also assisted Defendants by responding

to negative articles, by advocating against regulatory changes that would limit prescribing opioids

   accordance with the scientific
in accordance           scientific evidence,
                                   evidence, and by conducting
                                                    conducting outreach
                                                               outreach to vulnerable
                                                                           vulnerable patient
                                                                                      patient

populations targeted by Defendants.

73.     These Front Groups
                    Groups depended on Defendants for funding and, in some cases, for survival.

Defendants also
Defendants also exercised
                exercised control
                          control over
                                  over programs
                                       programs and
                                                and materials
                                                    materials created
                                                              created by
                                                                      by these groups by
                                                                         these groups

collaborating on, editing, and approving their content and by funding their dissemination. In doing

    Defendants made sure these
so, Defendants            these Front
                                Front Groups
                                      Groups would
                                             would generate
                                                   generate only
                                                            only the
                                                                  the messages
                                                                      messages Defendants
                                                                               Defendants

wanted to distribute. Even
                      Even so,
                           so, the Front Groups held themselves out as independent and as serving

          of their
the needs of  their members
                    members —
                            — whether
                              whether patients
                                      patients suffering
                                               suffering from
                                                          from pain
                                                               pain or doctors
                                                                       doctors treating
                                                                               treating those
                                                                                        those

patients.

74.               Endo, Janssen,
       Defendants Endo, Janssen, and Purdue utilized many Front Groups, including many of the

same ones. Several of
                   of the most prominent are described below,
                                                       below, but there
                                                                  there are
                                                                        are many
                                                                            many others,
                                                                                 others, including

the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the Federation of State

Medical Boards ("FSMB"), American Chronic Pain Association
                                               Association ("ACPA"),
                                                           ("ACPA"), American Society of

Pain Education ("ASPE"),
               ("ASPE"), National Pain Foundation ("NPF"), and Pain and Policy Studies Group

("PPSG").
("PPSG").




                                                22
                       (i)     American Pain Foundation ("APF")

       The most prominent of Defendants' Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors

       of 2012. Endo alone provided more than half that funding; Purdue was next at $1.7
in May of

million.

       In 2009
          2009 and
               and 2010,
                    2010, more
                          more than  80% of
                                than 80% of APF's
                                             APF's operating   budget came
                                                    operating budget  came from
                                                                            from

pharmaceutical industry
pharmaceutical industry sources. Including industry
                        sources. Including  industry grants
                                                     grants for                    APF
                                                            for specific projects, APF

                    million from
received about $2.3 million from industry
                                 industry sources
                                          sources out of a total income of about $2.85
                                                  out of

                                               receipts of roughly $2.9 million from drug
million in 2009; its budget for 2010 projected receipts

              of total income of about $3.5 million. By
companies out of                                     By 2011, APF was
                                                        2011, APF was entirely
                                                                      entirely dependent

on incoming grants from defendants
                        defendants Purdue,
                                   Purdue, Endo, and others
                                           Endo,and  others to
                                                             to avoid
                                                                avoid using
                                                                      using its
                                                                            its line
                                                                                line of

credit.        of its
credit. As one of  its board
                        board members,
                              members, Russell Portenoy, explained,
                                       Russell Portenoy, explained, the         funding
                                                                    the lack of funding

                  of the biggest problems at APF.
diversity was one of

       APF issued education guides for patients, reporters, and policymakers that touted

                                             trivialized their risks, particularly
                opioids for chronic pain and trivialized
the benefits of opioids                                               particularly the
                                                                                   the risk of

addiction.
addiction. APF also engaged
           APF also  engaged in
                              in aasignificant   multimedia campaign
                                     significantmultimedia   campaign —
                                                                      — through radio,

television,
television, and the internet  — toto educate
                     internet —      educate patients
                                             patientsabout
                                                      about their  "right" to pain treatment,
                                                             their "right"          treatment,

                       the programs
namely opioids. All of the programs and materials
                                        materials were available nationally and were,

upon information and belief, intended to reach patients and consumers in Leon County.




                                         23
                      (ii) American
                             American Academy
                                    Academy ofofPain
                                                 PainMedicine
                                                      Medicine ("AAPM")
                                                                ("AAPM")

       The
       The American
           American Academy
                    Academy of Pain Medicine, with
                               Pain Medicine, with the
                                                    the assistance,
                                                         assistance, prompting,
                                                                      prompting,

involvement, and funding of Defendants, issued
                                        issued treatment
                                               treatment guidelines and sponsored and

hosted medical
hosted medical education
               education programs
                         programs essential
                                  essential to              deceptive marketing
                                                Defendants' deceptive
                                             to Defendants'           marketing of

chronic opioid therapy.

       AAPM received
       AAPM received over
                     over $2.2
                          $2.2 million
                               million in  funding since
                                       in funding        2009 from
                                                   since 2009  from opioid
                                                                     opioid

manufacturers. AAPM
manufacturers.      maintained a corporate relations council, whose members were paid
               AAPM maintained

                         of other
$25,000 per year, on top of other funding,
                                  funding, to participate. The benefits included allowing

members to present educational programs at off-site dinner symposia in connection with

AAPM's marquee
AAPM's marquee event
               event —
                     — its
                        its annual
                            annual meeting
                                   meetingheld
                                           held in  Palm Springs,
                                                 in Palm Springs, California
                                                                  California or other

resort locations. AAPM describes
                       describes the
                                 the annual
                                     annual event
                                            event as    "exclusive venue" for offering
                                                  as an "exclusive

education programs to doctors. Membership in the corporate relations council also allowed
                                             the corporate

                            marketing staff to meet with AAPM executive
             executives and marketing
drug company executives                                       executive committee

                           Defendants Endo,
members in small settings. Defendants Endo, Purdue,
                                            Purdue, and Actavis were members of the
                                                    and Actavis

council and presented deceptive programs to doctors who attended this annual event.

                                            "industry friendly" with Endo advisors and
       AAPM is viewed internally by Endo as "industry

speakers among its active members. Endo attended AAPM conferences, funded its CMEs,

and distributed its publications. The conferences sponsored by AAPM heavily emphasized

                    — 37
sessions on opioids —  37out
                          outof
                              ofroughly
                                 roughly40
                                         40atat one
                                                one conference
                                                    conference alone.
                                                               alone. AAPM's
                                                                      AAPM's presidents

have
have included      industry-supported KOLs
     included top industry-supported       Perry Fine,
                                      KOLs Perry       Russel Portenoy,
                                                 Fine, Russel Portenoy, and Lynn
                                                                            Lynn

Webster.
Webster. Dr. Webster was
         Dr. Webster     even elected
                     was even elected president of AAPM
                                      president of AAPM while
                                                        while under
                                                              under a DEA
                                                                      DEA

               Another past AAPM president, Dr. Scott Fishman, stated that he would place
investigation. Another




                                       24
         the organization "at the forefront" of teaching
                                                teaching that
                                                          that"the
                                                               "the risks
                                                                     risks of
                                                                           of addiction
                                                                              addiction are
                                                                                        are ...
                                                                                            ... small and

         can be managed."17

                              understood they
                 AAPM's staff understood they and
                                              and their industry funders
                                                  their industry funders were
                                                                         were engaged
                                                                              engaged in
                                                                                       in a

         common task. Defendants were able to influence AAPM through
                                                             through both their significant and

        regular funding and the leadership of pro-opioid KOLs within
                                                              within the organization.

                    1997, AAPM
                 In 1997, AAPM and
                               and the
                                    the American
                                        American Pain
                                                 Pain Society
                                                      Society jointly
                                                               jointly issued
                                                                        issued aa consensus
                                                                                   consensus

        statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids

        to treat chronic pain and claimed there was a low risk that
                                                               that patients
                                                                    patients would become addicted

        to opioids. The co-author of the statement, Dr. Haddox,
                                                        Haddox, was
                                                                was at
                                                                    at the time a paid speaker for

         Purdue. Dr. Portenoy
         Purdue.     Portenoy was the
                                  the sole
                                      sole consultant.
                                            consultant. The consensus
                                                            consensus statement
                                                                      statement remained
                                                                                remained on

        AAPM'swebsite
        AAPM's website unti12011
                       until 2011 and
                                  and was taken down from AAPM's         only after a doctor
                                                          AAPM's website only

         complained, though it still lingers on the internet elsewhere.

                 AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

        and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel

        members who drafted the Guidelines (including KOLs
                                                      KOLs Dr.
                                                           Dr. Portenoy and Dr. Perry Fine of

            University of Utah)
        the University    Utah) received
                                received support
                                         support from Janssen, Endo,
                                                 from Janssen, Endo, and Purdue.
                                                                         Purdue. The 2009
                                                                                     2009

        Guidelines promote
        Guidelines promote opioids
                           opioids as
                                   as "safe     effective" for treating
                                      "safe and effective"     treating chronic
                                                                        chronic pain,
                                                                                pain, despite
                                                                                      despite

        acknowledging limited evidence, and conclude that the risk of addiction is manageable for

        patients regardless
        patients regardless of past abuse
                                    abuse histories.
                                          histories. One
                                                     One panel
                                                         panel member,
                                                               member, Dr. Joel Saper,
                                                                                Saper, Clinical
                                                                                       Clinical

        Professor of
        Professor    Neurology at
                  of Neurology    Michigan State
                               at Michigan       University and
                                           State University     founder of the
                                                            and founder     the Michigan
                                                                                Michigan

        Headache & Neurological Institute, resigned from the panel because he was concerned the

        2009
        2009 Guidelines       influenced by contributions
             Guidelines were influenced      contributions that drug
                                                                drug companies,
                                                                      companies, including
                                                                                  including


17Interview by Paula Moyer with Scott M. Fishman, M.D.,
                                                     M.D., Professor
                                                            Professor of
                                                                      of Anesthesiology
                                                                         Anesthesiology and
                                                                                        and Pain Medicine, Chief of
    Division of
the Division of Pain Medicine, Univ. of
                                     of Cal., Davis (2005), http://wvvw.mescape.org/viewarticle/500829.
                                                            http://www.mescape.org/viewarticle/500829.



                                                       25
       Defendants, made
       Defendants,          the sponsoring
                   made to the   sponsoring organizations
                                             organizations and  committee members.
                                                           and committee  members. These
                                                                                   These

       Guidelines have been a particularly effective channel of deception and have
                                                                              have influenced not

       only treating             but also the body of scientific
                     physicians, but
            treating physicians,                      scientific evidence
                                                                 evidence on opioids.
                                                                             opioids. The
                                                                                      The Guidelines
                                                                                          Guidelines

       have
       have been cited
                 cited 732  times in
                       732 times   in academic
                                       academic literature,
                                                 literature, were,
                                                             were, upon
                                                                   upon information
                                                                         information and belief,
                                                                                         belief,

       disseminated in and around Leon County during the
                                                     the relevant
                                                         relevant time period, are still
                                                                                   still available

                   were reprinted
       online, and were reprinted in the Journal of Pain.

B. Defendants Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

75.    Upon information and belief, to convince doctors treating residents in Leon County

and Leon County patients that opioids can and should be used to treat chronic pain, Defendants

had to convince them that long-term opioid use is both safe and effective. Knowing they could do

        by deceiving
so only by                 doctors and patients about
           deceiving those doctors              about the risks and benefits of long-term opioid

use, Defendants
use, Defendants made
                made claims
                     claims that
                            that were not supported
                                 were not supported by,
                                                    by, or      contrary to, the
                                                        or were contrary     the scientific
                                                                                  scientific

evidence.             pronouncements by
evidence. Even though pronouncements by and
                                        and guidance
                                            guidance from
                                                      from the
                                                            the FDA
                                                                FDA and
                                                                    and the CDC based on
                                                                        the CDC

that evidence confirm that their claims were false and deceptive, Defendants have not corrected

them or instructed their KOLs or Front Groups to correct them
                                                         them and continue to spread them today.

C.     Defendants Falsely
       Defendants  Falsely Trivialized
                           Trivialized or
                                       or Failed
                                          Failed to Disclose the Known Risks of
                                                 to Disclose                 of Long-Term
                                                                                Long-Term
       Opioid Use.

76.    To convince doctors and patients that opioids are safe, Defendants deceptively trivialized

and failed to disclose the risks of long-term opioid use, particularly the risk of addiction, through

         of misrepresentations that have been conclusively debunked by the FDA and CDC. These
a series of

misrepresentations——which
misrepresentations   whichare
                           are described
                               describedbelow     reinforcedeach
                                         below ——reinforced  eachother
                                                                  other and
                                                                        and created
                                                                            created the

dangerously misleading impression
dangerously misleading            that: (1) starting patients on opioids was low-risk because most
                       impression that:

patients would            addicted and because those who were
                   become addicted
         would not become                                were at greatest risk
                                                                          risk of addiction
                                                                                  addiction could

                                                    displayed signs of addiction probably were
           identified and managed; (2) patients who displayed
be readily identified




                                                 26
not addicted and, in any
                     any event, could easily be weaned from the drugs; (3) the use of higher opioid

doses, which many patients need to sustain pain relief as they develop tolerance to the drugs, do

not pose special risks; and (4)
                            (4) abuse-deterrant
                                abuse-deterrant opioids both prevent overdose and are inherently

less addictive. Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

77.    First, Defendants
              Defendants falsely
                         falsely claimed the risk of addiction is low and unlikely to develop when

opioids are prescribed, as opposed to obtained illicitly,
                                               illicitly, and
                                                          and failed
                                                              failed to
                                                                     to disclose
                                                                        disclose the greater
                                                                                     greater risk of

addiction with prolonged use of
                             of opioids. For example:

               (1) Actavis's
                   Actavis's predecessor
                             predecessor caused a patient education brochure to be distributed in

                   2007 claiming opioid addiction
                                        addiction is possible,
                                                     possible, but
                                                               but "less
                                                                   "less likely if you have never

                   had an addiction problem." Upon information
                                                   information and
                                                               and belief,
                                                                   belief, based
                                                                           based on Actavis's

                   acquisition of its predecessor's marketing
                   acquisition                      marketing materials
                                                              materials along
                                                                        along with
                                                                              with the rights to

                   Kadian, Actavis continued to use this brochure in 2009
                                                                     2009 and beyond;

               (2) Purdue sponsored APF's Treatment Options: A Guide for People Living with

                   Pain (2007), which instructed that addiction is rare and limited to extreme cases

                   of unauthorized
                      unauthorized dose
                                   dose escalations,
                                        escalations, obtaining
                                                     obtaining duplicative
                                                               duplicative opioid
                                                                           opioid prescriptions
                                                                                  prescriptions

                   from multiple sources, or theft. This publication is still available online.;

               (3) Endo sponsored
                        sponsored aa website,
                                     website, Painknowldge.com,
                                              Painknowldge.com, which
                                                                which claimed
                                                                      claimed in 2009
                                                                                 2009 that

                   "[p]eople who take opioids as prescribed
                   "[p]eople                     prescribed usually
                                                            usually do not become
                                                                           become addicted."
                                                                                  addicted."

                   Another Endo website, PainAction.com, stated "Did you know? Most chronic

                   pain patients
                   pain patients do not
                                    not become
                                        become addicted
                                               addicted to the
                                                           the opioid
                                                                opioid medications
                                                                       medications that
                                                                                   that are
                                                                                        are

                   prescribed for them;"




                                                 27
(4) Endo distributed a pamphlet with the Endo logo entitled Living with Someone

   with Chronic Pain, which stated
                            stated that:
                                   that: "Most             providers who treat
                                         "Most health care providers

   people with pain agree that most people
                                    people do
                                           do not
                                              not develop
                                                  develop an addiction problem."

   A similar statement appeared on the Endo website, www.opana.com;

                              approved, and distributed a patient education guide,
(5) Janssen reviewed, edited, approved,

   entitled Finding
   entitled Finding Relief Pain Management
                    Relief Pain Management for Older Adults
                                           for Older Adults (2009),
                                                            (2009), which
                                                                    which

   described as "myth" the claim that opioids
   described                          opioids are addictive and asserted as fact

        "[m]any studies show that opioids are rarely
   that "[m]any                               rarely addictive, when used properly

   for the management of chronic pain;"

(6) Janssen currently runs a website, Prescriberesponsibly.com (last updated July

   2, 2015),
   2,  2015), which
              which claims
                     claims that
                             that concerns
                                   concerns about
                                             about opioid
                                                    opioid addiction
                                                            addiction are
                                                                      are

   "overestimated;"

    Purdue sponsored
(7) Purdue sponsored APF's Policymaker's Guide
                     APF's Policymaker's Guide to Understanding
                                                  Understanding Pain
                                                                Pain &
                                                                     & Its

               which claims that less than
   Management, which                       1% of
                                      than 1% of children
                                                 children prescribed opioids will

          addicted and that pain is undertreated due to
   become addicted                                   to "misconceptions
                                                        "misconceptions about

   opioid addiction." This publication is still available online;

         information and belief,
(8) Upon information     belief, detailers
                                 detailers for
                                           for Purdue,
                                               Purdue, Endo,
                                                       Endo, and Janssen
                                                                 Janssen in and

   around Leon County minimized or omitted
                                   omitted any
                                           any discussion with doctors of the

   risk of addiction, misrepresented the potential for opioid abuse with
                                                                    with purportedly
                                                                         purportedly

   abuse-deterrent formulations,
   abuse-deterrent               andand
                     formulations,    routinely diddidnot
                                        routinely          correct the
                                                       not correct  the

   misrepresentations noted above;

    Insys's opioid,
(9) Insys's opioid, Subsys,
                    Subsys, was only
                                only indicated
                                     indicated for breakthrough cancer pain. Yet

   Insys systematically misrepresented
                        misrepresented or
                                       or omitted
                                          omitted material information to agents




                                 28
                                                       managers in order
                      of insurers and pharmacy benefit managers    order to get prior authorization

                      for Subsys in patients off-label.

78.     These claims
        These claims contradict
                     contradict longstanding
                                longstandingscientific
                                             scientificevidence
                                                        evidenceasasthe
                                                                     the FDA
                                                                         FDA and
                                                                             and CDC
                                                                                 CDC have
                                 I




conclusively declared.
conclusively declared.As
                       As noted
                          noted in
                                 in the
                                    the 2016
                                        2016 CDC
                                             CDC Guideline
                                                 Guideline endorsed
                                                           endorsedby
                                                                    by the
                                                                        the FDA,
                                                                            FDA, there
                                                                                 there is

"extensive evidence" of
"extensive evidence" of the "possible
                            "possible harms
                                      harms of opioids
                                               opioids (including
                                                       (including opioid
                                                                  opioid use disorder [an
                                                                         use disorder

alternative term for opioid addiction]).1/18
                            addiction])."18

79.                                            Defendants' claims about the low risk of addiction
        The FDA further exposed the falsity of Defendants'

when it announced changes to the labels for ER/LA opioids in
                                                          in 2013
                                                             2013 and for opioids in 2016.
                                                                                     2016. In its

announcements, the FDA discussed
                       discussed the
                                 the risks
                                     risks related
                                           related to
                                                    to opioid use and
                                                       opioid use and that
                                                                      that instant
                                                                           instant release
                                                                                   release ("IR")
                                                                                           ("IR")

opioids are associated with "persistent abuse, addiction,
                                               addiction, overdose
                                                          overdose mortality,
                                                                   mortality, and
                                                                              and risk
                                                                                  risk of NOWS

[neonatal opioid
[neonatal opioid withdrawal
                 withdrawal syndrome,
                            syndrome,now
                                      now also
                                          also referred
                                               referred to as NAS,
                                                        to as NAS, neonatal
                                                                    neonatal abstinence
                                                                              abstinence

          ."19
syndrome]."19
syndrome]

80.     According to the FDA, because of the risks associated
                                                   associated with
                                                              with long-term
                                                                   long-term opioid
                                                                             opioid use,
                                                                                    use, including
                                                                                          including

             risk of
"the serious risk of addiction, abuse, misuse, overdose, and death,"2°
                                               overdose, and death,"20 opioids should be "reserved
                                                                                         "reserved

for pain severe
         severe enough    require opioid
                enough to require opioid treatment
                                         treatment and for which alternative
                                                                 alternative treatment options

(e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate or not

           21
tolerated."21
tolerated."




18 CDC Guidelines
       Guidelines for Prescribing Opioids for
                      Prescribing Opioids for Chronic
                                              Chronic Pain
                                                      Pain —United
                                                           — United States
                                                                    States 2016,
                                                                           2016, Centers for Disease Control and
                                                                                         for Disease
Prevention (Mar. 18, 2016).
'9 FDA Announcement of Enhanced Warnings for Immediate-Release
19                                              Immediate-Release Opioid
                                                                  Opioid Pain
                                                                          Pain Medications Related
                                                                                           Related to  Risks of
                                                                                                    to Risks
Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
20 Id.
zo Id.
21 Id.
zi Id.



                                                       29
81.      The warnings on Defendants' own
                                     own FDA-approved drug labels caution that opioids "expose

users to risks of
               of addiction,
                  addiction, abuse and misuse, which
                                               which can
                                                     can lead to overdose
                                                                 overdose and death"22 and that

addiction "can occur in patients appropriately prescribed"23 opioids.

82.      Second, Defendants
         Second, Defendants falsely
                            falsely instructed
                                     instructeddoctors
                                                doctorsand  patients that
                                                        and patients  that signs
                                                                           signs of addiction
                                                                                    addiction are

actually signs of undertreated pain and should be treated by prescribing more opioids. Defendants

called this phenomenon
            phenomenon "pseudoaddiction" —
                                         — aaterm
                                              termcoined
                                                   coinedby
                                                          byDr.
                                                            Dr. David
                                                                David Haddox,
                                                                      Haddox, who
                                                                              who went to

work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and Purdue

— and
—  andclaimed
       claimedthat
               thatpseudoaddiction
                    pseudoaddictionisissubstantiated
                                        substantiatedby
                                                     byscientific
                                                        scientific evidence.
                                                                   evidence. For
                                                                             For example:

                  (1) Purdue sponsored Responsible
                                       Responsible Opioid
                                                   Opioid Prescribing
                                                          Prescribing (2007),
                                                                      (2007), which
                                                                              which taught that

                                                                                  manipulative
                      behaviors such as "requesting drugs by name," "demanding or manipulative

                      behavior," seeking more than one doctor to obtain opioids, and hoarding, are

                      all signs
                          signs of
                                of pseudoaddiction,
                                    pseudoaddiction, rather
                                                     rather than true
                                                                 true addiction.
                                                                      addiction. Responsible
                                                                                 Responsible Opioid

                      Prescribing remains
                                  remains for
                                          for sale
                                              sale online.
                                                   online. The
                                                           The 2012
                                                               2012 edition
                                                                    edition continues
                                                                            continues to teach that

                      pseudoaddiction is real;

                  (2) Janssen
                      Janssen sponsored,
                              sponsored, funded,
                                         funded, and
                                                 and edited
                                                     editedthe
                                                            the Let's
                                                                Let's Talk Pain website,
                                                                                website, which in

                      2009 stated: "pseudoaddiction
                                   "pseudoaddiction...
                                                    ... refers to patient behaviors
                                                                          behaviors that may occur
                                                                                             occur

                      when pain is under-treated ... Pseudoaddiction is different from true addiction
                                                 ... Pseudoaddiction

                      because such behaviors can be resolved
                                                    resolved with
                                                             with effective
                                                                  effective pain
                                                                            pain management;"
                                                                                 management;"

                  (3) Endo sponsored a National Initiative
                                                Initiative on
                                                           on Pain
                                                              Pain Control
                                                                   Control ("NIPC")
                                                                           ("NIPC") CME program

                                                     Therapy: Understanding
                      in 2009, titled Chronic Opioid Therapy: Understanding Risk While
                                                                                 While Maximizing
                                                                                       Maximizing

                      Analgesia, which
                      Analgesia, which promoted
                                       promoted pseudoaddiction byteaching
                                                pseudoaddictionby  teachingthat
                                                                            that aa patient's
                                                                                    patient's

                      aberrant behavior was the result of
                                                       of untreated
                                                          untreated pain.
                                                                    pain. Endo
                                                                          Endo substantially
                                                                               substantially controlled
                                                                                             controlled


    See, e.g.,
22 See,
zz       e.g., OxyContin
               OxyContin label and insert at OxyContin.com.
zs Id.
23 Id.




                                                         30
                      NIPC
                      NIPC by
                           by funding
                               funding NIPC
                                       NIPC projects;
                                             projects; developing,
                                                        developing, specifying,
                                                                     specifying, and
                                                                                 and reviewing
                                                                                      reviewing

                      content; and distributing NIPC materials;

                 (4) Purdue
                     Purdue published
                            published a pamphlet
                                        pamphlet in 2011
                                                    2011 entitled
                                                         entitled Providing
                                                                  Providing Relief,
                                                                            Relief, Preventing
                                                                                    Preventing

                      Abuse, which
                      Abuse, which described
                                   described pseudoaddiction
                                             pseudoaddictionas
                                                             as aa concept
                                                                   concept that
                                                                           that "emerged
                                                                                "emerged in the

                      literature" to describe the inaccurate interpretation of [drug-seeking behaviors]
                      literature"

                      in patients who have pain that has not been
                                                             been effectively treated;"
                                                                              treated;" and

                 (5) Purdue
                     Purdue sponsored
                            sponsored aa CME
                                         CME program,
                                             program, entitled
                                                      entitled Path
                                                               Path of the
                                                                       the Patient,
                                                                           Patient, Managing
                                                                                    Managing

                      Chronic Pain
                      Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a chronic pain

                      patient with a history of drug abuse tells his doctor
                                                     abuse tells     doctor that he is taking twice as

                      many hydrocodone
                      many hydrocodone pills
                                        pills as
                                              as directed.
                                                 directed. The
                                                           The narrator
                                                               narrator notes
                                                                        notes that
                                                                              that because
                                                                                   because of

                      pseudoaddiction, the doctor should not assume the patient is addicted even if he

                      persistently asks
                      persistently asks for
                                        for a specific
                                              specific drug,
                                                       drug, seems
                                                             seems desperate,
                                                                   desperate, hoards
                                                                              hoards medicine,
                                                                                     medicine, or

                      "overindulges in unapproved
                                       unapproved escalating
                                                  escalating doses." The doctor treats this patient
                                                             doses." The

                      by prescribing a high-dose, long-acting opioid.

83.     The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

To the
To  the contrary,
         contrary, the
                    the Guideline
                         Guideline explains
                                    explains that
                                             that "[p]atients
                                                   "[p]atients who do
                                                                   do not
                                                                       notexperience
                                                                           experience clinically
                                                                                       clinically

meaningful pain relief
                relief early in treatment ...
                                          ... are
                                              are unlikely to experience pain relief with longer-term

use"24 and
       andthat
           thatphysicians
                physiciansshould
                           should"reassess
                                 "reassess pain
                                           pain and
                                                and function
                                                    function within 1 month" in order to decide

whether to "minimize
           "minimize risks of
                           of long-term opioid use by discontinuing opioids" because the patient

                          benefit."25
is "not receiving a clear benefit."25




24
24 CDC Guidelines for Prescribing
                      Prescribing Opioids
                                  Opioids for Chronic Pain, supra.
zs
25 Id.
   Id.



                                                       31
84.            Defendants falsely
        Third, Defendants falsely instructed
                                  instructed doctors
                                             doctors and patients that addiction risk screening tools,

patient contracts, urine drug screens, and similar strategies
                                                   strategies allow
                                                              allow them to reliably
                                                                            reliably identify and

                 opioids to
safely prescribe opioids to patients
                             patients predisposed
                                       predisposed to
                                                    to addiction.
                                                        addiction. These
                                                                   These misrepresentations
                                                                         misrepresentations were

especially insidious because Defendants
                             Defendants aimed
                                        aimed them
                                              them at
                                                   at general practitioners and family doctors

who lack
who  lack the
           the time
                 timeand
                       andexpertise
                            expertisetotoclosely
                                            closelymanage
                                                    managehigher-risk
                                                            higher-riskpatients.
                                                                        patients. Defendants'
                                                                                   Defendants'

misrepresentations made these doctors feel more comfortable prescribing opioids to their patients

and patients more comfortable starting opioid therapy for chronic pain. For example:

               (1) Endo paid for a 2007 supplement
                                        supplement in
                                                   in the
                                                      the Journal
                                                          Journal of Family Prac written
                                                                                 written by a

                   doctor     became aa member
                          who became
                   doctor who           member of
                                               of Endo's speaker's bureau
                                                  Endo's speaker's bureau in 2010.
                                                                             2010. The
                                                                                   The

                   supplement, entitled
                   supplement, entitled Pain
                                        Pain Management
                                             ManagementDilemmas
                                                        Dilemmasin
                                                                 in Primary Care: Use
                                                                    Primary Care: Use of

                                                            screening tools, claiming that patients
                   Opioids, emphasized the effectiveness of screening

                                of addiction
                   at high risk of addiction could
                                             could safely
                                                   safely receive chronic opioid therapy using a

                   "maximally structure approach" involving toxicology screens and pill control;

               (2) Purdue sponsored a 2011 webinar, Managing
                                                    Managing Patient's
                                                             Patient's Opioid Use: Balancing

                   the Need and Risk, which claimed that screening tools, urine tests, and patient

                   agreements prevent "overuse of prescriptions" and "overdose
                                                                     "overdose deaths;" and

                                                               in scientific conferences that "bad
               (3) As recently as 2015, Purdue has represented in                             "bad

                   apple" patients
                   apple" patients—— and
                                      andnot
                                         not opioids
                                             opioids ——are
                                                        arethe
                                                             thesource
                                                                 sourceofofthe
                                                                            theaddiction
                                                                                addiction crisis
                                                                                          crisis and
                                                                                                 and that
                                                                                                     that

                        those "bad apples" are
                   once those              are identified,
                                                identified, doctors can safely
                                                                        safely prescribe
                                                                               prescribe opioids
                                                                                         opioids

                   without causing addiction.

85.    Once again,
       Once again, the
                   the 2016
                       2016 CDC
                            CDC Guideline
                                Guideline confirms        representations are
                                           confirms these representations     false. The
                                                                          are false. The

Guideline notes
Guideline notes that
                that there
                      there are
                            arenot
                                notstudies
                                    studiesassessing
                                           assessingthe
                                                     theeffectiveness
                                                         effectivenessof
                                                                       ofrisk
                                                                          riskmitigation
                                                                              mitigationstrategies
                                                                                         strategies—
                                                                                                   —

        screening tools,
such as screening  tools, patient
                          patient contracts,
                                   contracts, urine
                                              urine drug
                                                    drug testing,
                                                          testing, or
                                                                   or pill
                                                                       pillcounts
                                                                            counts—
                                                                                  — widely believed by




                                                  32
doctors to detect and deter outcomes related to addiction and overdose.26 As
                                                                          Asaa result,
                                                                               result, the Guideline

recognizes that doctors should not overestimate the risk screening tools for classifying patients as

high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

opioid therapy.27

86.        Fourth, to underplay
           Fourth,    underplay the risk and
                                the risk and impact
                                              impact of addiction
                                                        addiction and make
                                                                      make doctors
                                                                           doctors feel
                                                                                   feel more
                                                                                        more

comfortable starting patients on opioids, Defendants
                                          Defendants falsely claimed that opioid dependence can

easily be addressed
easily    addressed by tapering
                       tapering and that opioid
                                         opioid withdrawal
                                                withdrawal is
                                                           is not
                                                              not a problem thereby failing to

disclose the increased difficulty of stopping opioids after long-term use.

87.            example, a CME
           For example,   CME sponsored
                              sponsored by Endo, entitled
                                                 entitled Persistent
                                                          Persistent Pain in the Older
                                                                                 Older Adults,
                                                                                       Adults,

claimed that withdrawal
claimed      withdrawal symptoms
                        symptoms can
                                 can be
                                     be avoided
                                        avoided by
                                                by tapering
                                                    tapering aa patient's
                                                                patient's opioid dose by 10%-

20%
20% for 10
        10 days.
           days. Purdue
                 Purdue sponsored
                        sponsored APF's A
                                        A Policymaker's
                                          Policymaker's Guide
                                                        Guide to
                                                              to Understanding
                                                                 Understanding Pain &

Management, which claiined
                  claimed that "[s]ymptoms of physical
                                              physical dependence can often be ameliorated

by gradually decreasing the dose of medication
                                    inedication during discontinuation."

88.                   deceptively minimized the significant symptoms of opioid withdrawal, which,
           Defendants deceptively

                    2016 CDC
as explained in the 2016 CDC Guideline,
                             Guideline, include
                                         include drug
                                                 drug cravings,
                                                      cravings, anxiety,
                                                                anxiety, insonmia,
                                                                          insomnia, abdominal
                                                                                    abdominal

                          sweating, tremor, tachycardia (rapid heartbeat), spontaneous
pain, vomiting, diarrhea, sweating,                                        spontaneous abortion,

and premature labor in pregnant women and the unmasking of anxiety, depression, and addiction

—
—and
  andgrossly
      grosslyunderstated
              understatedthe
                          thedifficulty
                              difficultyof
                                        oftapering,
                                           tapering,particularly
                                                    particularly after
                                                                 after long-term
                                                                        long-term opioid use.

89.        Yet the 2016 CDC Guideline recognizes that the
                                                      the duration
                                                          duration of opioid use and the dosage of

opioids prescribed should be limited to "minimize the need to taper opioids to prevent distressing

                         symptoms" because
or unpleasant withdrawal symptoms" because "physical
                                           "physical dependence
                                                     dependence on
                                                                on opioids
                                                                   opioids is an expected
                                                                                 expected

physiologic response
physiologic response in
                      in patients
                         patients exposed
                                  exposed to
                                           to opioids
                                              opioids for
                                                       for more
                                                           more than
                                                                than a few days."
                                                                           days." The
                                                                                  The Guideline
                                                                                      Guideline


ze
26
       Guidelines for Prescribing
   CDC Guidelines     Prescribing Opioids
                                  Opioids for
                                          for Chronic Pain, supra.
Z'
27   Id.



                                                       33
further states that "tapering opioids can be especially
further                                      especially challenging
                                                        challenging after years on high dosages
                                                                                        dosages

because of physical and psychological dependence" and highlights the difficulties, including the

need to carefully
need    carefully identify "a taper
                               taper slow
                                     slow enough
                                           enough to
                                                  to minimize
                                                     minimize symptoms
                                                              symptoms and
                                                                       and signs
                                                                           signs of opioid
                                                                                    opioid

withdrawal" and pausing and restarting tapers depending on the
withdrawal"                                                the patient's response.

90.        The CDC
           The CDC also
                   also acknowledges
                         acknowledges the
                                      the lack
                                          lack of
                                               of any
                                                   any"high-quality
                                                       "high-quality studies
                                                                      studies comparing
                                                                               comparing the

effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

discontinued."28

91.        Fifth, Defendants falsely claimed that doctors and patients could increase opioid dosages

indefinitely without
indefinitely without added
                     added risk
                           risk and
                                and failed
                                    failed to disclose the greater risks to patients at higher dosages.

The ability to escalate dosages was critical to Defendants' efforts to market opioids for long-term

use to treat
       treat chronic
             chronic pain
                     pain because,
                          because, absent
                                   absent this
                                           this misrepresentation,
                                                misrepresentation, doctors would have abandoned

treatment when patients built up
treatment                     up tolerance
                                 tolerance and
                                           and lower
                                               lower dosages
                                                     dosages did
                                                             did not provide
                                                                     provide pain relief.
                                                                                  relief. For

example:

                  (1) Actavis's
                      Actavis's predecessor
                                predecessor created
                                            created aa patient
                                                       patient brochure
                                                               brochure for Kadian in 2007 that stated,

                      "Over time, your body
                                       body may become tolerant of your current dose. You may

                      require dose
                      require dose adjustment
                                   adjustmentto
                                              to get
                                                 get the
                                                     the right
                                                         right amount
                                                               amount of
                                                                      of pain
                                                                         pain relief.
                                                                              relief. This
                                                                                      This is not

                                       information and
                      addiction." Upon information and belief,
                                                       belief, based
                                                               based on Actavis's acquisition
                                                                                  acquisition of its

                      predecessor's market
                      predecessor's market materials
                                           materialsalong
                                                     along with
                                                           with the
                                                                the rights
                                                                    rights to
                                                                           to Kadian,
                                                                              Kadian, Actavis
                                                                                      Actavis

                      continued to use these materials in 2009 and beyond;

                  (2) Purdue sponsored APF's Treatment
                                             Treatment Options: A Guide for People Living with

                      Pain (2007), which claims that some patients "need"
                                                                   "need" a larger dose of an opioid

                      regardless of the dose currently prescribed. The guide stated that opioids have



28
28   Id.



                                                   34
       ceiling dose"
   "no ceiling dose" and
                     and are
                         are therefore
                             therefore the most appropriate treatment for severe

   pain. This guide is still available for sale online;

         sponsored aa website,
(3) Endo sponsored    website, painknowledge.com,
                               painknowledge.com, which claimed
                                                        claimed in 2009 that

                                   until "you
   opioid dosages may be increased until "you are on the
                                                     the right dose of medication
                                                                       inedication

   for your pain;"

         distributed a pamphlet
(4) Endo distributed   pamphlet edited
                                edited by a KOL
                                            KOL entitled
                                                entitled Understanding
                                                         Understanding Your
                                                                       Your

                            Analgesics, which
   Pain: Taking Oral Opioid Analgesics, which was available during
                                              was available during the time

   period of this Compliant
                  Compliant on
                            on Endo's
                               Endo's website.
                                      website. In
                                               In Q
                                                  Q&& A format, it asked "If
                                                                         "If I take

   the opioid now, will it work later when II really
                                              really need
                                                     need it?"
                                                          it?" The response is, "The

   dose can be
            be increased
               increased....
                         .... You won't
                                  won't 'run
                                        `run out'
                                             out' of pain relief;"

    Janssen sponsored
(5) Janssen sponsored aa patient
                         patient education
                                 education guide entitled Finding
                                           guide entitled Finding Relief:
                                                                  Relief: Pain

   Management for Older Adults (2009), which was distributed by its sales forces.

   This guide listed dosage limitations as
                                        as "disadvantages"
                                           "disadvantages" of other pain medicines,

   but omitted any discussions of risks of increased opioid dosages;

                            Pain website
(6) Purdue's In the Face of Pain website promotes
                                         promotes the
                                                   the notion
                                                       notion that
                                                              that if a patient's

   doctor does not prescribe
                   prescribe what,
                             what, in
                                    in the
                                        the patient's
                                            patient's view,
                                                      view, is a sufficient dosage of

   opioids, he or she should find another doctor who will;

(7) Purdue sponsored
           sponsored APF's
                     APF's A Policymaker's Guide to Understanding Pain & Its

   Management, which taught that
                            that dosage
                                 dosage escalations
                                        escalations are
                                                    are "sometimes
                                                        "sometimes necessary,"
                                                                   necessary,"

   even unlimited
        unlimited ones,
                  ones, but
                        but did not disclose
                                    disclose the risks from high opioid
                                                                 opioid dosages.
                                                                        dosages.

   This publication is still available online;




                                 35
               (8) Purdue sponsored a CME, entitled Overview of Management Options, that is

                   still available for CME credit. The CME was edited by a KOL and taught that

                   NSAIDs and other drugs, but not opioids, are unsafe at high dosages; and

               (9) Purdue
                   Purdue presented
                          presentedaa 2015
                                      2015 paper
                                           paper at
                                                 at the College on
                                                    the College    the Problems
                                                                on the Problems of Drug
                                                                                   Drug

                   Dependence,  the "oldest
                   Dependence, the  "oldest and
                                            and largest
                                                largest organization
                                                        organizationin
                                                                     in the
                                                                        the US dedicated
                                                                               dedicated to

                   advancing
                   advancing a scientific
                               scientific approach
                                          approach to
                                                   to substance
                                                      substance use and addictive disorders,"
                                                                        addictive disorders,"

                   challenging the correlation between opioid dosage and overdose.

92.    These claims conflict with the scientific evidence, as confirmed by the FDA and CDC. As

                                            "[b]enefits of high-dose opioids for chronic pain are
the CDC explains in its 2016 Guideline, the "[Nenefits

not established" while the "risks for serious
                                      serious harms related
                                                    related to opioid therapy increase at higher

opioid dosage."

93.    More specifically, the CDC explains
                                  explains that "there is now an established body of scientific
                                           that "there

evidence showing that overdose risk is increased at higher opioid dosages." Similarly, there is an

"increased risk for opioid
                    opioid use disorder, respiratory depression, and death at higher doses." That is
                           use disorder,

why
why the CDC
        CDC advises
             advises doctors
                      doctors to
                               to avoid
                                   avoidincreasing
                                         increasing dosages
                                                     dosages above
                                                             above 90   morphine milligram
                                                                    90 morphine  milligram

equivalents per day.

94.    The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In 2013, the
                                                 findings announced

FDA acknowledged
    acknowledged that
                 that available
                      available data
                                data suggested
                                     suggested that increasing the opioid
                                               that increasing     opioid dosage
                                                                          dosage likewise
                                                                                  likewise

increased with certain advertisements. For example, the FDA noted that studies suggest a positive

association between high-dose opioid use and overdoses.

95.    Finally, Defendants' deceptive
                            deceptive marketing                  abuse-deterrent properties
                                      marketing of the so-called abuse-deterrent properties of

     of their opioids created false impressions that these opioids can curb addiction and abuse.
some of




                                                36
96.        More specifically, Defendants made misleading claims about the ability of their so-called

abuse-deterrent
abuse-deterrent opioid formulationstoto deter
                opioid formulations     deter addiction
                                              addiction and
                                                        and overdose.
                                                            overdose. For example, Endo's
                                                                      For example,

                                                              that it was designed to be crush
advertisements for the 2012 reformulation of Opana ER claimed that

resistant in a way that suggested it was more difficult to misuse the product. This claim was false.

97.        The FDA warned in a 2013 letter that there
                                                there was
                                                      was no
                                                          no evidence Endo's design would provide
                                                             evidence Endo's

a reduction in oral, intranasal or intravenous use.29 Moreover, Endo's
                                               use29 Moreover,  Endo'sown studies, which it failed
                                                                       ownstudies,

to disclose, showed that Opana ER could still be ground and chewed.

98.        In a 2016 settlement with the State of New York, Endo agreed not to make statements in

New                 ER was designed to be or is
    York that Opana ER
New York                                     is crush
                                                crush resistant.
                                                       resistant. The             those statements
                                                                  The State found those statements

false and deceptive because there was no difference in the ability
                                                           ability to
                                                                   to extract
                                                                      extract the
                                                                              the narcotic
                                                                                  narcotic from Opana

ER.

99.        Similarly, the 2016 CDC Guideline states that no
                                             states that no studies support the notion that "abuse-

deterrent technologies
          technologies [are]
                       [are] a risk mitigation strategy for deterring or preventing abuse," noting
                                               strategy for

that the
     the technologies
         technologies —  evenwhen
                      — even       they work
                             when they  work ——"do
                                               "do not
                                                    notprevent
                                                        preventopioid
                                                               opioid abuse  through oral intake,
                                                                      abuse through

the most common route of opioid abuse, and can still
                                               still be
                                                     be abused
                                                        abused by
                                                               by non-oral routes."
                                                                           routes."

100.       These
           These numerous, long-standing misrepresentations
                 numerous, long-standing misrepresentationsof
                                                            ofthe
                                                               the risks    long-term opioid use
                                                                   risks of long-term

spread by Defendants successfully convinced doctors and patients to discount these risks.

D.         Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

101.          convince doctors
           To convince doctors and
                               and patients
                                   patients that
                                            that opioids
                                                 opioids should
                                                         should be
                                                                be used          chronic pain,
                                                                           treat chronic
                                                                   used to treat         pain,

Defendants had to persuade them that there was a significant benefit to long-term opioid use. But,

                                                "insufficient evidence
as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-term

benefits of opioid therapy for chronic pain."



19
29 See   FDA Statement: Original Opana ER Relisting Determination
                                                    Deterinination (May 10, 2013).



                                                        37
102.    In fact, the CDC found no evidence
                                  evidence showing "a
                                                   "a long-term
                                                      long-term benefit
                                                                benefit of opioids
                                                                           opioids in pain and

function versus no opioids for chronic pain with outcomes
function                                         outcomes examined
                                                          examined at
                                                                   at least
                                                                      least 11 year later (with

most placebo-controlled randomized trials ...
                                          ... 66 weeks in duration)"
                                                          duration)" and that other treatments were

more
more or equally
        equally beneficial
                beneficial and less harmful
                                    harmful than
                                            than long-term
                                                 long-term opioid
                                                           opioid use.
                                                                  use. The
                                                                       The FDA,
                                                                           FDA, too,
                                                                                too, has
                                                                                     has

recognized the lack of
                    of evidence to support long-term opioid use.

103.    In 2013, the FDA stated that it was unaware of any studies demonstrating the safety and

efficacy of opioids
efficacy    opioids for long-term
                         long-term use.30
                                   use.30 Despite this
                                                  this lack
                                                        lack of
                                                             of studies,
                                                                 studies, Defendants
                                                                          Defendants falsely and

misleadingly touted the benefits
                        benefits of
                                 of long-term use and suggested that these benefits
                                                                           benefits were
                                                                                    were supported
                                                                                         supported

by scientific evidence. Not only
                            only have Defendants failed to correct these false and
                                                                               and deceptive
                                                                                   deceptive claims,

they continue to make them today. For example:

                 (1) Actavis distributed
                             distributed an
                                         an advertisement
                                            advertisementthat
                                                          that claimed
                                                               claimedthe
                                                                       the use
                                                                           use of
                                                                               of Kadian
                                                                                  Kadian to treat

                     chronic pain
                             pain would allow patients to return
                                                          return to
                                                                 to work,
                                                                    work, relieve
                                                                          relieve "stress
                                                                                  "stress on
                                                                                          on your
                                                                                             your body

                     and your mental health," and help patients enjoy their lives;

                 (2) Endo distributed
                          distributed advertisements
                                      advertisementsthat
                                                     thatclaimed
                                                          claimedthat
                                                                  thatthe
                                                                       theuse
                                                                          use of
                                                                              of Opana
                                                                                 Opana ER for

                     chronic pain would allow patients to
                                                       to perform
                                                          perform demanding
                                                                  demanding tasks
                                                                             tasks like
                                                                                    like construction
                                                                                         construction

                     work or work as a chef and portrayed seemingly healthy, unimpaired subjects;

                 (3) Janssen sponsored and edited a patient
                                                    patient education
                                                            education guide entitled Finding
                                                                                     Finding Relief:

                     Pain Management for Older Adults (2009),
                                                      (2009), which states as
                                                                           as "a
                                                                              "a fact"
                                                                                 fact" that opioids

                     may make itit easier
                                   easier for
                                          for people
                                              people to
                                                     to live
                                                         live "normally."
                                                              "normally." The
                                                                          The guide
                                                                              guide lists
                                                                                     lists expected
                                                                                           expected

                     functional improvements from opioid use, including sleeping through
                     functional                                                  through the night,

                     returning to work, recreation, sex, walking, and climbing stairs;




30Letter from Janet Woodcock, M.D, Dir., Ctr. For Drug Eval. & Res.,
                                                               Res., to Andrew Kolodny, M.D.,
                                                                                        M.D., President,
Physicians for Responsible Opioid
                           Opioid Prescribing, Re: Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



                                                      38
(4) Purdue
    Purdue ran
           ran a series of advertisements for OxyContin in 2012 in medical journals
                                                                           journals

   entitled "pain vignettes," which were case studies featuring patients with pain

   conditions persisting
              persisting over several months and recommending OxyContin for

   them. The ads implied that OxyContin
                              OxyContin improves
                                         improves patients'
                                                  patients' function;

(5) Responsible Opioid Prescribing (2007), sponsored and distributed by Endo and

   Purdue, taught
   Purdue, taught that
                  that relief
                       relief of pain by opioids,
                                         opioids, by
                                                  by itself,
                                                      itself, improved
                                                               improved patients'
                                                                        patients'

   function. The book remains for sale online;

(6) Purdue sponsored APF's Treatment Options: A Guide for People Living with

   Pain (2007),
        (2007), which
                which counseled
                      counseled patients
                                patients that
                                         that opioids
                                              opioids "give
                                                      "give [pain patients]
                                                                  patients] a

   quality of life we deserve." The guide was available
                                              available online until APF shut its

   doors in 2012.;

(7) Endo's
    Endo's NIPC
           NIPC website,
                website, painknowledge.com, claimed in 2009 that, with opioids,

   "your level of function
                  function should
                           should improve;
                                  improve; you
                                           you may
                                               may fmd
                                                   fmd you
                                                       you are
                                                           are now able to

   participate in activities of daily living, such as work
                                                      work and hobbies, that you were

   not able to enjoy
               enjoy when your pain was worse."
                                        worse." Elsewhere,
                                                Elsewhere, the website
                                                               website touted

   improved quality
            quality of life as well as "improved function" as benefits of opioid
                                                                          opioid

   therapy. The grant
   therapy.     grant request
                      request that Endo
                                   Endo approved
                                        approved for this
                                                     this project
                                                          project specifically
                                                                   specifically

   indicated NIPC's intent
                    intent to make
                              make misleading
                                   misleading claims about function, and Endo

   closely tracked visits to the site;

(8) Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

   Pain in the Older Patient, which claimed that chronic opioid therapy has been

   "shown to reduce
   "shown     reduce pain
                     pain and
                           and improve
                                improve depressive
                                         depressive symptoms
                                                     symptoms and
                                                              and cognitive
                                                                   cognitive

   functioning." The CME was disseminated via webcast;
   functioning."
               (9) Janssen sponsored,
                           sponsored, funded,
                                      funded, and
                                              and edited
                                                  edited aa website,
                                                            website, Let's
                                                                     Let's Talk Pain in the Older

                   Patient, which claimed that chronic
                                               chronic opioid therapy
                                                              therapy has
                                                                      has been "shown to reduce

                   pain and improve depressive symptoms and cognitive functioning." This video

                   is still available today on YouTube;

               (10)    Purdue sponsored
                       Purdue sponsoredthe
                                        the development and distribution
                                            developmentand  distributionofof APF's A
                                                                             APF's A

                   Policymaker's Guide
                   Policymaker's       to Understanding Pain & its Management, which claimed
                                 Guide to

                   that "multiple
                   that "multiple clinical
                                  clinical studies"
                                           studies" have shown that
                                                    have shown      opioids are
                                                               that opioids are effective
                                                                                effective in

                                   function, psychological
                   improving daily function, psychological health, and health-related
                                                           health, and health-related quality
                                                                                      quality of

                   life for
                   life  for chronic
                              chronic pain
                                       pain patients."
                                             patients." The
                                                        The Policymaker's
                                                             Policymaker's Guide
                                                                           Guide was
                                                                                 was originally
                                                                                      originally

                   published in 2011 and is still available online today; and

               (11)    Purdue's, Endo's,
                                 Endo's, and
                                         and Janssen's  sales representatives
                                             Janssen's sales   representatives have conveyed and

                   continue to convey the message that opioids will
                                                               will improve patient function.

104. These
104.  Theseclaims
             claimsfind
                     findnonosupport
                               supportininthe
                                            thescientific
                                                 scientificliterature.
                                                             literature. Most
                                                                         Most recently,
                                                                               recently, the
                                                                                         the 2016
                                                                                             2016 CDC
                                                                                                  CDC

Guideline, approved
Guideline, approved by
                    by the FDA, concluded,
                                concluded, "There
                                           "There is
                                                  is no good evidence that opioids improve

                                         "complete relief of pain
pain or function with long-term use" and "complete           pain is
                                                                  is unlikely."
                                                                     unlikely." The CDC
                                                                                    CDC reinforced
                                                                                        reinforced

this conclusion throughout its 2016 Guideline by
                                              by stating that: (a) no evidence shows a long-term
                                                 stating that:

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes at least 1

year later; (b) although opioids can reduce pain during short-term
                                                        short-term use,
                                                                   use, the
                                                                        the clinical
                                                                            clinical evidence review

found insufficient evidence to determine whether pain
                                                 pain relief
                                                      relief is sustained
                                                                sustained and whether function or

quality of life improves with long-term opioid therapy;
                                               therapy; and
                                                        and (c) evidence is limited or insufficient

for improved pain or function with long-term use of opioids for severe
                                                                severe chronic
                                                                       chronic pain conditions for

which opioids are commonly prescribed, such as low back pain, headache, and fibromyalgia.




                                                 40
105.    The CDC also noted that the risks of addiction and
                                                       and death
                                                           death "can
                                                                 "can cause distress and inability

                 role obligations."
to fulfill major role obligations." As
                                    As aa matter
                                          matter of
                                                 of common
                                                    common sense and, medical
                                                           sense and, medical evidence, drugs that

                                           of addiction or recovery do not improve their function
can kill patients or commit them to a life of

and quality of life.

106.    The 2016 CDC Guideline was not the first time a federal agency repudiated Defendants'

claims that opioids improved function and quality of life.
                                                     life. In
                                                           In 2010, the FDA warned Actavis that

      are not
"[w]e are not aware
              aware of
                    ofsubstantial
                       substantial evidence
                                   evidence or
                                            or substantial
                                               substantial clinical experience demonstrating that

the magnitude of            of the drug
              of the effect of     drug [Kadian]
                                        [Kadian] has in alleviating pain, taken together with any

drug-related side
drug-related side effects
                  effects patients
                          patients may
                                   may experience
                                       experience...  results in any overall positive impact
                                                  ... results                         impact on a

patient'swork,
patient's work,physical
                physicaland
                         andmental
                             mentalfunctioning,
                                    functioning,daily
                                                 dailyactivities,
                                                       activities,ororenjoyment
                                                                       enjoymentofof  life."31
                                                                                   life.1131

107.    Defendants also falsely emphasized
                                emphasized or exaggerated
                                              exaggerated the
                                                           the risks of competing products like

               doctors and patients would look to opioids first for treating chronic pain. Once
NSAIDs so that doctors

again, Defendants' misrepresentations contravene
       Defendants' misrepresentations contravene pronouncements by and guidance from the FDA
                                                 pronouncements by

and CDC based on the scientific evidence.

108.    Consequently, the FDA changed
        Consequently,         changed the
                                      the labels
                                          labels for
                                                 for ER/LA
                                                     ER/LA opioids
                                                           opioids in
                                                                   in 2013 and IR opioids in

2016 to state that opioids should be used only as a last resort
                                                         resort when
                                                                when alternative
                                                                     alternative treatments like non-

       drugs are
opioid drugs are inadequate. And
                             And the 2016 CDC Guideline states
                                                        states that
                                                               that NSAIDs,
                                                                    NSAIDs, not opioids, should

be the first-line treatment for chronic pain, particularly arthritis and lower back pain.

109.    In addition, Purdue misleadingly
           addition, Purdue misleadingly promoted
                                         promoted OxyContin
                                                  OxyContinas
                                                            as unique among opioids
                                                               unique among opioids in

providing 12
providing 12 continuous
             continuous hours
                        hours of
                              of pain
                                 pain relief
                                      relief with one dose. In fact, OxyContin does not last for 12

hours —
hours — aafact
           factthat
                thatPurdue
                     Purduehas
                           hasknown
                               known at
                                     at all
                                        all times
                                             times relevant
                                                   relevant to
                                                             to this
                                                                this action.



31 Warning letter from Thomas Abrams, Dir., FDA Div. of Mktg.,
                                                        Mktg., Adver.,
                                                                Adver., &
                                                                        & Comm's,
                                                                           Comm's, to Doug Boothe, CEO,
Actavis LLC (Feb. 18, 2010),
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryinformation/EnforcementActivitiesbyFDA/WarningLett
http://www.fda. gov/Drugs/GuidanceComplianceRegulatoryinformation/EnforcementActivitiesbyFDA/WarningLett
                                                               9240. html.
erandNoticeofviolationLetterstoPharmaceuticalCompanies/ucm259240.
erandNoticeofviolationLetterstoPharmaceuticalCompanies!ucrn25



                                                   41
110.     According to Purdue's
         According    Purdue'sown
                               ownresearch,
                                   research, OxyContin
                                             OxyContin wears
                                                       wears off
                                                             off in
                                                                 in under six hours in one quarter

of patients and in under 10
                         10 hours
                            hours in
                                  in more than half. The reason is that OxyContin tablets release

                  of their active medicine immediately, after which release tapers. Although the
approximately 40% of

        experiences aa powerful
patient experiences    powerful initial
                                initial response,
                                        response,there
                                                  thereisislittle
                                                            littleor
                                                                  or no
                                                                     no pain
                                                                        pain relief
                                                                             relief at
                                                                                    at the
                                                                                       the end of the

dosing period because less medicine is released.

111.     This phenomenon
              phenomenon is known
                            known as
                                  as "end
                                     "end of dose" failure,
                                                   failure, and
                                                            and the FDA found
                                                                        found in 2008 that a

                   of chronic
substantial number of chronic pain
                              pain patients taking OxyContin experience it.

112.     This "end of dose" failure not only renders Purdue's promise of
                                                                      of 12 hours of relief false and

deceptive, it also makes OxyContin
deceptive,               OxyContin more dangerous
                                        dangerous because
                                                  because the declining
                                                              declining pain relief patients

experience toward the end of each dosing period drives them
                                                       them to take more OxyContin before the

next dosing period begins, quickly increasing
                                   increasing the
                                              the amount
                                                  amount of
                                                         of drug they are taking and spurring

growing dependence.

113.     Purdue's competitors
         Purdue's competitors were
                              were aware
                                   aware of
                                         of this
                                            this problem. For example, Endo ran advertisements

for Opana
    Opana ER
          ER referring
              referring to
                         to"real"
                            "real"12-hour
                                   12-hourdosing.
                                           dosing.Nevertheless,
                                                   Nevertheless, Purdue
                                                                  Purdue falsely
                                                                          falsely promoted
                                                                                   promoted

OxyContin as if it were effective for a full 12 hours. Upon
                                                       Upon information
                                                            information and
                                                                        and belief,
                                                                            belief, Purdue's
                                                                                    Purdue's sales

representatives continue to tell doctors in and around Leon County that OxyContin lasts a full 12

hours.

E. Defendants also Engaged
                   Engaged in
                           in Other Unlawful, Unfair, and Fraudulent Misconduct.

114.     Defendants herein participated in illicit and unlawful prescribing of opioids. For example,

Purdue did
       did not report illegal prescribing of
                                          of OxyContin until years
                                                             years after law enforcement shut down

a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets. In doing so, Purdue

protected its own profits at the expense of
                                         of public health and safety.




                                                 42
115.                 New York
        The State of New York found
                              found that
                                    that Endo
                                         Endo failed
                                              failed to require
                                                        require sales
                                                                sales representatives
                                                                      representatives to report

signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales representatives

for detailing prescribers who were subsequently arrested
                                                arrested or convicted for illegal prescribing; and

failed to prevent
failed    prevent sales
                  sales representative
                         representative from
                                        from visiting
                                             visiting prescribers
                                                      prescribers whose suspicious
                                                                        suspicious conduct
                                                                                   conduct had

caused them to be place on a no-call list.

F. Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

116.    As part
        As part ofoftheir
                      theirdeceptive
                             deceptivemarketing
                                       marketing scheme,
                                                  scheme, Defendants
                                                           Defendants identified
                                                                       identified and
                                                                                  and targeted
                                                                                       targeted

susceptible prescribers and vulnerable patient populations
                                               populations in
                                                           in the
                                                              the U.S. and, upon information and

belief, in and around Leon County. For example, Defendants focused their deceptive marketing on

primary care doctors, who were more likely to treat chronic pain patients and prescribe opioids,

but were less likely to be educated about treating pain and the risks and benefits of opioids.

117.   Defendants also targeted vulnerable patient populations like the elderly and veterans who

tend to suffer from chronic pain. Defendants targeted these vulnerable patients even though their

                          use were significantly greater.
risks of long-term opioid use

118.   For example, the 2016 CDC Guideline observes that existing evidence shows that elderly

patients taking opioids suffer from elevated fall and fracture risks, greater risk of hospitalization,

    increased vulnerability
and increased vulnerability to adverse
                               adverse drug
                                       drug effects
                                            effects and
                                                    and interactions.
                                                         interactions. The
                                                                       The Guideline
                                                                           Guideline therefore
                                                                                      therefore

concludes that
concludes  that there
                there are "special risks
                      are "special           long-term opioid
                                   risks of long-tenn  opioid use
                                                              use for
                                                                   for elderly
                                                                        elderly patients"
                                                                                patients" and
                                                                                          and

recommends that doctors use "additional caution and increased monitoring" to minimize the risks

of opioid use in elderly patient."

119.   The same
       The same is
                is true
                    true for
                          forveterans,
                              veterans, who
                                        who are
                                             are more
                                                  more likely
                                                         likely totouse
                                                                     useanti-anxiety
                                                                          anti-anxiety drugs
                                                                                        drugs

(benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.




                                                 43
G.      Although Defendants Knew
                             Knew that their Marketing of Opioids was False and Deceptive,
                                                                                Deceptive, and
        they Fraudulently
             Fraudulently Concealed
                          Concealed their
                                    their Misconduct.

120.    Defendants, both individually and collectively,
        Defendants,                       collectively, made,
                                                        made, promoted,
                                                              promoted, and profited
                                                                            profited from their

misrepresentations about the risks and benefits of opioids for
                                                           for chronic pain even though they
                                                                                        they knew

their misrepresentations were false and deceptive. The
                                                   The history of opioids, as well as research and

clinical experience
clinical experience over
                    over the last 20
                                  20 years,
                                     years, established
                                             established that opioids were highly
                                                                           highly addictive
                                                                                  addictive and

responsible for a long
                  long list
                       list of
                            of very
                               very serious
                                    serious adverse
                                            adverse outcomes.

121.    Not only did the FDA and other regulators warn Defendants, but Defendants had access to

scientific studies, detailed prescription
                             prescription data,
                                          data, and
                                                and reports
                                                    reports of
                                                            of adverse
                                                               adverse events,
                                                                       events, including
                                                                               including reports
                                                                                         reports of

addiction, hospitalization,
           hospitalization, and
                            and deaths
                                deaths —
                                       — all
                                          allof
                                              ofwhich
                                                whichmade
                                                      madeclear
                                                           clearthe
                                                                 the harms
                                                                     harms from
                                                                           from long-term
                                                                                long-term opioid

use, including the suffering from addiction, overdoses, and death in alarming numbers in patients

using opioids.

122.    More recently,
        More recently, the FDA
                           FDA and
                               and CDC
                                   CDC have
                                       have issued
                                             issued pronouncements
                                                    pronouncements based
                                                                   based on the medical
                                                                                medical

evidence that conclusively expose the known falsity of
                                                    of Defendants'
                                                       Defendants' misrepresentations, and Endo

and Purdue have recently entered
                         entered agreements prohibiting
                                            prohibiting them
                                                         them from
                                                              from making
                                                                   making some
                                                                          some of the same

misrepresentations described herein in New York.

123.    Specifically, three
        Specifically, three current
                            current and
                                    and former
                                        former executives
                                               executives from
                                                           from Purdue
                                                                Purdue plead
                                                                       plead guilty
                                                                             guilty in
                                                                                     in 2007 to

criminal charges
criminal charges that
                 that they misled regulators,
                                  regulators, doctors,
                                              doctors, and
                                                       and patients
                                                           patients about
                                                                    about OxyContin's
                                                                          OxyContin's risk
                                                                                      risk of

addiction.32 In
              Inpleading
                   pleading
                          guilty
                            guilty
                                 to to
                                     misbranding
                                       misbrandingcharges,
                                                   charges,Purdue
                                                            Purdueadmitted
                                                                   admitted itit had
                                                                                  had fraudulently
                                                                                       fraudulently

marketed OxyContin as a drug less-prone to addiction and as having fewer side effects than other

opioids.33 In reality, unlike other opioids, OxyContin contained pure oxycodone without any other




32
32 See Barry Meier, "In Guilty
                        Guilty Plea, OxyContin
                                     OxyContin Maker to Pay $600 Million," (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html.
http://www.nytimes.coin/2007/05/10/business/ 11 druQ-web.litml.
33
33 See Id.




                                                      44
ingredients, which made it a powerful narcotic despite
                                               despite its
                                                       its time-release design that
                                                                               that Purdue touted

   ameliorating its
as ameliorating its addictive
                    addictive potentia1.34
                              potentia1.34

124.       Moreover, Defendants
           Moreover, Defendants took
                                took steps
                                     steps to avoid
                                              avoid detection
                                                    detection of
                                                              of and to fraudulently
                                                                        fraudulently conceal their

deceptive marketing
deceptive marketing and unlawful, unfair,
                    and unlawful, unfair, and fraudulent
                                              fraudulent conduct. For
                                                                  For example,
                                                                       example, Defendants
                                                                                Defendants

disguised their
disguised their own
                own role in the
                            the deceptive
                                deceptive marketing
                                          marketing of chronic opioid therapy by funding and

        through third
working through third parties
                      parties like
                              like Front
                                   Front Groups and KOLs.

125.       Finally, Defendants manipulated their promotional materials
                                                             materials and the scientific literature to

make it appear that these items were accurate, truthful, and supported
                                                             supported by objective evidence when

they were not.

126.       Thus, Defendants successfully concealed
                                         concealed from
                                                   from the
                                                        the medical community and patients facts

sufficient to arouse suspicion of the claims Leon County
                                                  County now
                                                         now asserts. Leon County did not know

       existence or scope of
of the existence          of Defendants'
                             Defendants' industry-wide
                                          industry-wide fraud and could not have acquired such

                                       of reasonable diligence.
knowledge earlier through the exercise of

H.         By Increasing Opioid Prescriptions and Use
                                                  Use Defendants'
                                                      Defendants' Deceptive Marketing Scheme has
           fueled the Opioid Epidemic and Devastated Leon County Communities.

127.       Defendants' misrepresentations deceived doctors and patients about the risks and benefits

of long-term opioid use. Studies reveal that many doctors
                                                  doctors and
                                                          and patients
                                                              patients are unaware
                                                                           unaware of or do not

understand the risks or benefits of opioids. Indeed, patients often
                                                              often report that they were not warned

                                      prescribed to them.
they might become addicted to opioids prescribed    them. As
                                                          As reported in January 2016, a 2015

survey of more than 1,000
survey              1,000 opioid
                          opioid patients
                                 patients found
                                          found that
                                                 that 44 out
                                                         out of 10 were
                                                                   were not
                                                                        not told
                                                                            told opioids
                                                                                 opioids were

potentially addictive.35



34
34   See Id.
   Hazelden Betty
35 Hazelden
31          Betty Ford
                  Ford Foundation, Missed
                                   Missed Questions, Missed Opportunities. (Jan. 27, 2016), available at
http://www.hazeldenbettyford.org/about-us/news-and-mediainressrelease/doctors-missing-questions-that-could-
http://vvvm,.hazeldenbettyLord.org/about-us/news-and-media/pressrelease/doctors-missing-guestions-that-could-
prevent-opioid-addiction.
prevent-opi  oid-addiction.



                                                       45
128.     Upon information
         Upon information and belief,
                              belief, Defendants'
                                      Defendants' deceptive
                                                  deceptive marketing scheme caused
                                                            marketing scheme caused and
                                                                                    and

continues to
continues    cause doctors
          to cause doctors in and
                              and around
                                  around Leon
                                         Leon County
                                              County to prescribe
                                                        prescribe opioids
                                                                  opioids for chronic pain

conditions such as back
                   back pain,
                        pain, headaches,
                              headaches, arthritis,
                                         arthritis, and
                                                    andfibromyalgia.
                                                        fibromyalgia. Absent
                                                                      AbsentDefendants'
                                                                             Defendants' deceptive

marketing scheme,
          scheme, these doctors would not have been
                                               been able to over prescribe
                                                                 prescribe opioids or become

embroiled in pill mills that negatively
                             negatively impacted residents of Leon County.

129.     For example,
         For example, upon information
                            information and belief,
                                            belief, Defendants'
                                                    Defendants' deceptive
                                                                deceptive marketing
                                                                          marketing scheme
                                                                                    scheme

allowed doctors located in or near Leon County, Texas
                                                Texas to
                                                      to promote,
                                                         promote, overprescribe,
                                                                  overprescribe, and
                                                                                 and financially

benefit from prescribing opioids. Indeed, some doctors "knowingly
                                                       "knowingly or intentionally manufactured,
                                                                                   manufactured,

distributed, dispensed,
distributed, dispensed, or
                        or possessed
                           possessed with
                                     with the
                                           the intent
                                               intent to manufacture,
                                                         manufacture, distribute,
                                                                      distribute, or
                                                                                  or dispense
                                                                                     dispense a

controlled substance, including
                      including opioids such as OxyContin, Hydrocodone, Vicodin,
                                                                        Vicodin, or Fentanyl in

violation of the Texas Controlled Substances Act in Tex. Health & Safety Code § 481.001 et seq.

130.     If the manufacturing
                manufacturing and distributing
                                  distributing Defendants
                                               Defendants were not over-supplying
                                                                   over-supplying opioids, then

physicians could not devise schemes to prescribe opioids without a legitimate purpose as a means

to flood the open market with opioids, such as OxyContin, Hydrocodone, Vicodin, and Fentanyl.

131.     While Defendants
         While Defendants may claim the federal government
                                                government authorized
                                                           authorized the
                                                                       the amount
                                                                           amount of annual

prescription opioids sold, they know in truth that several Defendants have successfully used their

organized money and influence to render the federal
                                            federal government's
                                                    government's enforcement agency, the Drug

Enforcement
Enforcement Administration,
            Administration, virtually
                            virtually powerless
                                      powerlessto
                                                to interrupt
                                                   interrupt the
                                                             the over-supply
                                                                 over-supply of prescription
                                                                                prescription

opioid
opioid    drugs.
       drugs.

132.     Defendants' deceptive marketing scheme
                                         scheme also
                                                also caused
                                                     caused and continues
                                                                continues to
                                                                          to cause patients to

purchase and
purchase and use opioids for their
                             their chronic
                                   chronic pain believing
                                                believing they are safe
                                                                   safe and
                                                                        and effective.
                                                                            effective. Absent
                                                                                       Absent

Defendants' deceptive
Defendants' deceptive marketing
                      marketingscheme,
                                scheme, fewer
                                        fewer patients would
                                                       would be using opioids long-term to treat

chronic pain, and those patients using opioids would be using less of them.




                                               46
                                               L~9
133.                 deceptive marketing
         Defendants' deceptive marketing has caused
                                             caused and continues
                                                        continues to cause the prescribing and

use of
use of opioids
        opioids to
                 to explode.
                     explode. Indeed,
                               Indeed, this
                                        this dramatic
                                              dramatic increase
                                                        increase in opioid
                                                                     opioid prescriptions
                                                                             prescriptions and use
                                                                                               use

corresponds with
corresponds with the dramatic increase
                              increase in Defendants'
                                          Defendants' spending
                                                      spending on their deceptive
                                                                        deceptive marketing
                                                                                  marketing

scheme. Defendants' spending on
        Defendants' spending on opioid marketing totaled approximately $91 million in 2000. By
                                opioid marketing

2011, that spending had tripled to $288 million.

134.     The escalating number of opioid prescriptions
                                         prescriptions written
                                                       written by
                                                               by doctors
                                                                  doctors who
                                                                          who were deceived by

                                scheme is the cause of a correspondingly
Defendants' deceptive marketing scheme                   correspondingly dramatic increase in

opioid addiction, overdoses, or death through the U.S. and Leon County.

135.     Scientific          demonstrates aa strong correlation
         Scientific evidence demonstrates           correlation between
                                                                between opioid prescriptions and

becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids has

quadrupled since 1999, which                                        opioid overdose.36 Indeed, there
                       which has resulted in a parallel increase in opioid

            two-third increase
has been a two-third   increase in
                                in overdose
                                   overdose deaths from using opioids       2000.37 For these
                                                              opioids since 2000.37      these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are
reasons,

critical "to reverse the cycle
critical                 cycle of
                               of opioid
                                  opioid pain
                                         pain medication
                                              medication misuse
                                                         misuse that contributes to the opioid
                                                                that contributes        opioid

overdose epidemic."38

136.     Due to the increase in opioid overdoses, first responders such as police officers have been

and will continue to be in the position to assist people experiencing opioid-related overdoses."
                                                                                     overdoses.39 In

2016,
2016, "over 1,200
            1,200 law   enforcement departments
                   law enforcement  departments nationwide
                                                nationwide carried
                                                           carriednaloxone
                                                                   naloxonein
                                                                            in an effort to
                                                                               an effort

prevent opioid-related deaths." 40




36
36 CDC,
   CDC, national   Vital Statistics
          national Vital  Statistics System,
                                     System, Mortality, CDCWONDER, (2016),(2016), https://wonder.cdc.gov/;
                                                                                  https://wonder.cdc.gov/; Rudd, RA, Seth
P, David F, Scholl
              Scholl L,
                      L, Increases
                          Increases In
                                     In Drug
                                        Drug and
                                              and Opioid-Involved   Overdose Deaths-United States 2010-2015, MMWR
                                                   Opioid-Involved Overdose
Rep. (16 Dec. 2016).
37
                             Increases in
37 MMWR (1 Jan., 2016), Increases        in Drug and Opioid Deaths - United States 2000-2014.
                                        Opioids for Chronic Pain, supra; see also supra at note 34.
38 CDC Guidelines for Prescribing Opioids
39
39 Opinion of the Attorney    General of
                   Attorney General     of Texas, KP-0168 (Oct. 4, 2017).
40
aoId.  (citinghttp://www.nchrc.orpllaw-enforcement/us-law-enforeement-who-carry-naloxone/)
   Id.(citing  http://www.nchrc.orJlaw-enforcement/us-law-enforcenient-who-carry-naloxonen



                                                          47
137.   Upon information
       Upon  information and
                         and belief,
                             belief, Defendants'
                                     Defendants' deceptive
                                                 deceptive marketing
                                                           marketing scheme
                                                                     scheme has
                                                                            has also
                                                                                also

detrimentally impacted
detrimentally impacted children
                       children in Leon County. Overprescribing
                                                Overprescribing opioids
                                                                opioids for
                                                                        for chronic pain has

made the drugs more accessible to school-aged children, who come into contact with opioids after

they have been prescribed
               prescribed to
                          to friends or relatives in the same household.

138.   Upon information and belief, Defendants' conduct has adversely
                                                            adversely affected Leon
                                                                               Leon County's
                                                                                    County's

child protection
      protection agencies
                 agencies in
                          in the
                             the number of children in foster care driven
                                                                   driven by
                                                                          by parental
                                                                             parental drug addiction.

Children with parents addicted to drugs tend to stay in foster care longer, and they often enter the

system having experienced
system        experienced significant
                          significant trauma,
                                       trauma, which
                                               which makes
                                                     makes these
                                                           these cases
                                                                 cases more expensive
                                                                            expensive for

counties like Leon County.

139.   Upon information and belief, opioid
                                    opioid addiction
                                           addiction is
                                                     is a significant
                                                          significant reason that Leon County

residents seek treatment for substance dependence. A significant
                                                     significant number of admissions for drug

addiction were associated with a primary diagnosis of opiate addiction or dependence.

140.   Upon information and belief, Defendants' creation, through false and deceptive advertising

and other unlawful and unfair
                       unfair conduct,
                              conduct, of aa virtually
                                             virtually limitless
                                                       limitless opioid market has
                                                                               has significantly
                                                                                   significantly

harmed communities in Leon County. Defendants' success in extending the market for opioids to

new patients and chronic
                 chronic pain conditions
                              conditions has created
                                             created an abundance
                                                        abundance of drugs available for non-

medical and
        and criminal
            criminal use and
                         and fueled
                             fueled a new wave of addiction and injury. It has been estimated that

60%-80% of
60%-80% of the opioids to which people are
                                       are addicted
                                           addicted come,
                                                    come, directly
                                                          directly or
                                                                   orindirectly,
                                                                      indirectly, through
                                                                                   through doctors'
                                                                                           doctors'

prescriptions.

141.   Law enforcement agencies have increasingly associated
                                                  associated prescription drug addiction with

violent and property
violent     property crimes.
                     crimes. Despite
                             Despite strict
                                     strict federal
                                            federal regulation
                                                    regulation of prescription
                                                                  prescription drugs,
                                                                               drugs, local
                                                                                      local law

enforcement agencies
enforcement agencies are
                     are faced
                         faced with increasing
                                    increasing diversion
                                               diversion from
                                                         from legitimate
                                                              legitimate sources
                                                                         sources for
                                                                                 for illicit
                                                                                     illicit

purposes, including
purposes, including doctor
                    doctor shopping,
                           shopping, forged
                                     forged prescriptions,
                                            prescriptions, falsified
                                                           falsified pharmacy
                                                                     pharmacy records,
                                                                              records, and




                                                 48
employees who
employees who steal                     employment. The
              steal from their place of employment. The opioid
                                                        opioid epidemic has prompted
                                                               epidemic has prompted a

growing trend
growing           crimes against
        trend of crimes   against pharmacies
                                  pharmacies including
                                             including robbery     burglary. This ongoing
                                                       robbery and burglary.      ongoing

diversion of prescription narcotics creates a lucrative marketplace.

142.     The rise in opioid addiction caused by Defendants' deceptive marketing schemes has also

resulted in an explosion in heroin use. For example, heroin use has more than doubled in the past

decade among
decade among adults
             adults aged
                    aged 18 to 25 years.41
                                  years.41 Moreover, heroin-related overdoses
                                                                    overdoses in the United

           more than
States has more  than quadrupled
                      quadrupledsince
                                 since2010 42
                                       2010.42

143.     The costs and consequences of opioid addiction are
                                                        are staggering. For example, in 2007, the

cost of healthcare due to opioid addiction and dependence
                                               dependence was
                                                          was estimated
                                                              estimated at $25 billion, the cost of

criminal justice
criminal justice was estimated at
                 was estimated         billion, and the cost of
                               at $5.1 billion,              of lost
                                                                 lost workplace
                                                                      workplace productivity
                                                                                productivity was

estimated at $25.6 billion.

144.     Consequently, prescription opioid addiction and overdose have an enormous impact on the

                  of individuals, as well as communities at large, because the consequences of this
health and safety of

epidemic reach far beyond the addicted individual.

145.          information and
         Upon information and belief,
                              belief, some
                                      some of the repercussions
                                                  repercussions for
                                                                for residents
                                                                    residents of Leon
                                                                                 Leon County
                                                                                      County

include job loss, loss of
                       of custody of
                                  of children, physical and mental health problems, homelessness,

and incarceration, which results in instability in communities often already in economic crisis and

contributes to increased demand on community services
                                             services such
                                                      such as hospitals, courts, child services,

treatment centers, and law enforcement.

146.                knew and should have known about these
         Defendants knew                             these harms
                                                           harms that
                                                                 that their
                                                                      their deceptive marketing

has caused and continues to cause and will cause in the
                                                    the future.
                                                        future. Defendants
                                                                Defendants closely monitored their



     CDC, Vital
a41' CDC, Vital Signs:
                Signs:Today's
                       Today'sHeroin
                               HeroinEpidemic
                                      Epidemic—
                                              — More
                                                More People
                                                     People at
                                                            at Risk,
                                                               Risk, Multiple
                                                                     Multiple Drugs
                                                                              Drugs Abused;
https://www.cdc.govivitalsigns/heroin/index.html.
https://www.edc.gov/vitalsigns/heroiii/index.htn-il.
42 Id.
az Id.



                                                       49
              habits of
sales and the habits ofprescribing
                        prescribing doctors.
                                    doctors. Their
                                             Their sales
                                                   sales representatives, who visited doctors and

attended CMEs,
attended CMEs, knew
               knew which
                    which doctors
                          doctors were
                                  were receiving their messages and how they were
                                                                             were responding.

147.    Defendants also
        Defendants          access to and
                   also had access    and carefully
                                           carefully watched
                                                     watched government
                                                             government and other data that
                                                                        and other

tracked the explosive rise in opioid
                              opioid use, addiction, injury, and death. Defendants not only knew,

              that their
but intended, that  their misrepresentations
                          misrepresentations would persuade
                                                   persuade doctors to prescribe and encourage
                                                                                     encourage

patients to use their opioids for chronic pain.

148.    Defendants' actions
        Defendants'  actionsare
                             areneither
                                neither permitted
                                        permittednor
                                                  nor excused
                                                      excused by
                                                              by the fact that their drug labels may

                 did not
have allowed, or did not exclude,
                         exclude, the use of
                                          of opioids for chronic pain. FDA approval of opioids for

certain uses did not
                 not give
                     give Defendants
                          Defendants license to misrepresent
                                                misrepresent the           benefits of opioids.
                                                             the risks and benefits    opioids.

Indeed, Defendants'
Indeed, Defendants' misrepresentations
                    misrepresentations were
                                       were directly
                                            directly contrary
                                                     contrary to
                                                              to pronouncements by, and
                                                                 pronouncements by, and

                   FDA based on the medical evidence and their own labels.
guidance from, the FDA

149.        is Defendants'
        Nor is Defendants' causal
                            causal role
                                    role broken
                                          broken by
                                                  by the
                                                      theinvolvement
                                                          involvement of
                                                                       ofdoctors.
                                                                          doctors. Defendants'
                                                                                    Defendants'

marketing efforts
marketing efforts were ubiquitous
                       ubiquitous and highly
                                      highly persuasive.
                                              persuasive. Their
                                                          Their deceptive
                                                                 deceptive messages
                                                                           messages tainted
                                                                                     tainted

                                          on for
virtually every source doctors could rely on for information
                                                  information and prevented them from
                                                                                 from making

informed treatment
informed treatment decisions.
                   decisions.Defendants
                              Defendantsalso
                                         alsohijacked
                                              hijackedwhat
                                                      whatdoctors
                                                           doctorswanted
                                                                  wantedtotobelieve
                                                                             believe—
                                                                                    — namely,

that opioids represented a means of relieving their patients' suffering and of
                                                                            of practicing
                                                                               practicing medicine

more compassionately. Moreover, opioids are among
                                            among the
                                                  the drugs that require a Medication Guide

be provided directly
            directly to
                     to the
                        the patient that sets out in plain English the risks. It is the obligation of the

                                     of distribution to ensure that the Medication Guide sets out
manufacturers and those in the chain of

          of the
the risks of the opioid
                 opioid use
                        use in
                            in aa way
                                  way that
                                      that the
                                            the patient
                                                patient understands,
                                                        understands, regardless of what warnings the

        provider may
medical provider may or
                     or may
                        may not give. This obligation is non-delegable.

150.         information and belief, Defendants'
        Upon information             Defendants' actions
                                                 actions and omissions were each a cause-in-fact

        County's past
of Leon County's past and
                      and future
                           future damages.
                                  damages. Upon
                                           Upon information
                                                 information and belief, Defendants' wrongful
                                                                                     wrongful




                                                   50
conduct caused injuries to Leon County in the past, continues to cause injuries to Leon County,

and will continue to cause injuries to Leon County in the future. Such future damages include, but

are not limited to, additional resources for getting people into
                                                            into appropriate
                                                                 appropriate treatment
                                                                             treatment detoxification,
                                                                                       detoxification,

counseling and medication assisted treatment of addicts, and continuing care in recovery
                                                                                recovery programs
                                                                                         programs

related to substance
related    substance use disorder,
                         disorder, medical
                                   medical treatment
                                           treatment for overdoses, life
                                                     for overdoses, life skills
                                                                         skills training
                                                                                training for
                                                                                         for

adolescents, increased law enforcement, and additional resources to treat the psychological effects

of opioids and the underlying conditions that make people susceptible to opioid addiction.

               Fraudulent Marketing
I. Defendants' Fraudulent Marketing Has
                                    Has Led to Record Profits.

151.   While using opioids has taken a toll on Leon
                                               Leon County and its residents,
                                                                   residents, Defendants have

realized blockbuster
realized blockbuster profits.
                     profits. In
                              In 2014
                                 2014 alone,
                                      alone, opioids
                                             opioids generated
                                                     generated $11
                                                               $11 billion
                                                                   billion in
                                                                           in revenue
                                                                              revenue for drug

companies like
companies      Defendants. Indeed,
          like Defendants. Indeed, financial
                                   financial information
                                             information indicates
                                                         indicates that each Defendant
                                                                   that each  Defendant

experienced aa material
experienced    material increase
                        increase in
                                  in sales,
                                     sales, revenue,
                                            revenue, and
                                                     and profits from the false
                                                         profits from     false and
                                                                                and deceptive
                                                                                     deceptive

advertising and other unlawful and unfair conduct described above.

                      FIRST
               VII. FIRST   CAUSE
                          CAUSE OFOFACTION
                                     ACTIONAGAINST
                                            AGAINSTALL
                                                    ALLDEFENDANTS:
                                                       DEFENDANTS:
                                      PUBLIC NUISANCE

152.   Leon County re-alleges and incorporates by reference each of the allegations contained in

                         of this Petition as though fully set forth herein.
the preceding paragraphs of

153.                        belief, Defendants
       Upon information and belief, Defendants knowingly
                                               knowingly encouraged
                                                         encouraged doctors
                                                                    doctors in
                                                                            in and around

Leon County
     County to prescribe, and residents
                              residents to use, highly addictive opioids
                                                                 opioids for chronic pain, even

though Defendants knew using opioids had a high risk of addiction and reduced quality of life.

154.   Upon information and belief, by doing so, Defendants purposefully interfered with Leon

County's public
County's public health,
                health, public
                        public safety,
                               safety, public
                                       public peace, public comfort, and public convenience.

155.   Upon information and belief,
            information and belief, Defendants, individually
                                                individually and in concert with each other, have

contributed to and/or assisted in creating and maintaining a condition that is harmful to the health




                                                 51
and safety of Leon County residents and/or unreasonably interferes with the peace and comfortable

enjoyment of life in violation of
                               of Texas law.

       The
156. The   public
         public   nuisance
                nuisance   created
                         created byby
                                    Defendants'
                                      Defendants'
                                                actions
                                                  actions
                                                        is is
                                                            substantial
                                                              substantialand
                                                                          andunreasonable
                                                                              unreasonable—— it has

caused and continues
caused     continues to cause
                         cause significant
                                significant harm
                                            harm to
                                                  to the
                                                      the community
                                                           community —
                                                                     — and
                                                                       and the harm
                                                                               harm inflicted
                                                                                     inflicted

outweighs offsetting
outweighs  offsettingbenefit.
                      benefit.The
                               Thestaggering
                                   staggeringfact
                                               factofof opioid
                                                        opioid use
                                                               use resulting
                                                                   resulting from
                                                                             from Defendants'
                                                                                  Defendants'

marketing efforts have caused, and continues to cause, harm to the community including, but not

limited to:

               (a) Upwards of 30% of all adults use opioids. These high rates of use have led to

                  unnecessary opioid addiction, overdose, injuries, and deaths;

               (b) Children have been exposed to opioids prescribed to family members or others

                  resulting in injury,
                  resulting    injury, addiction,
                                       addiction, and death.
                                                      death. Upon information
                                                                  information and belief, easy

                            prescription opioids has made opioids a recreational drug of choice
                  access to prescription

                  among teenagers; opioid use among teenagers
                                                    teenagers is only outpaced by marijuana

                  use. Even infants have been born addicted to opioids due to prenatal exposure

                  causing severe withdrawal symptoms and lasting developmental impacts;

               (c) Upon information and belief, residents of Leon County who have never taken

                               endured both the emotional and financial costs of caring for loved
                  opioids have endured

                  ones addicted to or injured by opioids and the
                                                             the loss of companionship, wages, or

                  other support
                  other support from family
                                     family members
                                            members who
                                                    who have used, become
                                                                   become addicted
                                                                          addicted to,

                  overdose on, or been killed by opioids;

              (d) Upon information
                       information and
                                   and belief, more broadly, opioid use and addiction has driven

                  Leon County residents' health
                                         health care costs higher;




                                                52
(e) Employers have lost the value of productive and healthy employees who have

   suffered from adverse consequences from opioid use;

                           extending the
(f) Defendants' success in extending the market
                                         market for opioids
                                                    opioids to new patients and

    chronic conditions has created an abundance of drugs available for criminal use

                     wave of
    and fueled a new wave of addiction                         scheme created
                             addiction and injury. Defendants' scheme created

   both the supply of narcotics to sell and the demand of addicts to buy them;

         demand has created
(g) This demand     created additional         markets in
                            additional illicit markets  in prescription
                                                            prescription opiates,
                                                                         opiates,

   including those that return to the U.S. and communities like Leon County, and

   other opiates, particularly heroin.
                               heroin. The
                                       The low
                                           low cost
                                               cost of these
                                                       these drugs
                                                             drugs has
                                                                   has led some of

   those      initially become
   those who initially  become addicted
                               addicted to prescription opioids
                                        to prescription opioids to migrate to
                                                                to migrate

   cheaper opiates, fueling a new epidemic in the process;

(h) Upon
    Upon information  and belief,
          information and         diverting opioids
                          belief, diverting opioids into
                                                     into secondary,
                                                           secondary, criminal
                                                                       criminal

   markets and increasing the number
                              number of individuals who are addicted to opioids

   has increased the demands on emergency services and law enforcement in Leon

   County;

        of Defendants'
(i) All of Defendants' actions
                        actionshave
                               havecaused
                                    causedsignificant  harmtotothe
                                           significantharm      thecommunity
                                                                    community—
                                                                             — in

   lives lost; addictions endured; the
                                   the creation
                                       creation of
                                                of an illicit drug market; and all its

   concomitant crime
   concomitant crime and costs; unrealized economic productivity;
                                                    productivity; and broken

   families and homes;

         information and
(j) Upon information and belief,
                         belief, these
                                 these harms
                                       harms have           human, medical,
                                             have taxed the human, medical,

   public health, law enforcement, and financial resources of Leon County; and

    Defendants' interference
(k) Defendants'  interference with
                              with the
                                   the comfortable
                                       comfortable enjoyment
                                                   enjoyment of
                                                             of life of a substantial

          of people is entirely unreasonable because
   number of                                 because there is limited social utility




                                 53
                      opioid use, and
                   to opioid      and any
                                      any potential
                                          potential value is outweighed
                                                             outweighed by the gravity of harm
                                                                                          harm

                   inflicted by Defendants' actions.

      Defendants
158. Defendants   knew,
                knew, oror shouldhave
                         should   haveknown,
                                       known,that
                                              thatpromoting
                                                   promotingopioid
                                                            opioiduse
                                                                   use would
                                                                       would create
                                                                             create a public

nuisance in the following ways:

               (a) Upon information and belief, Defendants have engaged in massive production,

                   promotion, and distribution of opioids for use by the
                                                                     the citizen of Leon County;

                   Defendants' actions
               (b) Defendants' actions created
                                       created and expanded the market for opioids, promoting its

                   wide use for pain management;

                   Defendants knew
               (c) Defendants knew or
                                   or should
                                      should have
                                             have known
                                                  known that
                                                        that their promotion would lead to
                                                             their promotion

                   addiction and other adverse
                   addiction           adverse consequences
                                               consequences that
                                                             that the larger community
                                                                             community would

                   suffer as a result.

      Upon
159. Upon   information
          information   andbelief,
                      and   belief,Defendants'
                                    Defendants'actions
                                                actionswere,
                                                       were,atatthe
                                                                 theleast,
                                                                     least, aasubstantial
                                                                               substantial factor
                                                                                           factor in

doctors and patients not accurately assessing
                                    assessing and
                                              and weighing
                                                  weighing the
                                                            the risks
                                                                risks and benefits of opioids for

chronic pain therapy causing opioids to become widely available and used in Leon County.

160. Without
160.  WithoutDefendants'
              Defendants'actions,
                           actions,opioid
                                    opioiduse
                                           usewould
                                               wouldnot
                                                     nothave
                                                         havebecome
                                                              become so
                                                                      so widespread,
                                                                         widespread, and the

enormous public health hazard of opioid addiction
                                        addiction would
                                                  would not
                                                        not have
                                                            have existed and could have been

averted.

161. Upon
161.  Uponinformation
            information and
                         and belief,
                              belief, the
                                       the health
                                            health and
                                                    and safety
                                                         safety of
                                                                of the
                                                                    the citizens
                                                                         citizens of
                                                                                   of Leon
                                                                                       Leon County,
                                                                                             County,

including those who use, have used, or will use opioids, as well as those affected by opioid users,

is a matter of great public interest and legitimate concern
                                                    concern to
                                                             to Leon
                                                                Leon County's
                                                                     County's citizens and residents.

       The
162. The   public
         public   nuisance
                nuisance   created,perpetuated,
                         created,   perpetuated,and
                                                 andmaintained
                                                     maintainedby
                                                                byDefendants
                                                                  Defendantscan
                                                                             can be
                                                                                 be abated
                                                                                    abated and

                     of such harm and inconvenience can be prevented.
further reoccurrence of




                                                 54
163.    Upon information and belief,
                             belief, Defendants' conduct has
                                     Defendants' conduct has affected and continues
                                                                          continues to
                                                                                    to affect a

considerable number of people within Leon County and
                                                 and is likely to continue to cause significant

harm to patients who take opioids, their families, and the community at large.

164.    Each Defendant created or assisted in creating the opioid
                                                           opioid epidemic, and each Defendant is

                                  its abatement.
jointly and severally liable for its  abatement. Furthermore,
                                                 Furthermore, each Defendant should
                                                                             should be enjoined

from continuing to create, perpetuate, or maintain said public nuisance in Leon County.

                    SECONDCAUSE
             VIII. SECOND  CAUSEOF
                                 OFACTION
                                    ACTIONAGAINST
                                          AGAINST ALL
                                                  ALL DEFENDANTS:
                                                      DEFENDANTS:
                             COMMON LAW FRAUD

165.    Leon County re-alleges and incorporates by reference
                                                   reference each of the allegations in contained

                            of this Petition as if fully set forth herein.
in the preceding paragraphs of

166.                                times, Defendants expressly and/or impliedly warranted that
       At all relevant and material times,

                   of inerchantable
opioids were safe, of merchantable quality, and fit for use.

167.                                      expertise, their
       Defendants' superior knowledge and expertise, their relationship of trust and confidence

with doctors and the public, their specific knowledge regarding the risks and dangers of opioids,

their intentional dissemination of promotional and marketing
                                                   marketing information about
                                                                         about opioids,
                                                                               opioids, and the

purpose of maximizing sales each gave rise to the affirmative duty to meaningfully disclose and

provide all material information about the risks and harms associated with opioids.

168.   At all times herein mentioned, Defendants, individually and
                                                               and acting through
                                                                          through their
                                                                                  their employees
                                                                                        employees

and agents and in concert with each other, fraudulently represented
                                                        represented to physicians, who Defendants
                                                                                       Defendants

knew would justifiably rely on Defendants' representations,
                                           representations, that opioids were safe and effective

for treating chronic pain.

169.   Upon information and belief, Defendants' false
                                                false representations
                                                      representations were fraudulently made

                of purpose that healthcare providers and patients would justifiably rely upon them
with the intent of




                                                  55
           the prescription,
leading to the prescription, administration,
                             administration, filling,
                                             filling, purchasing,
                                                      purchasing, and
                                                                  and consumptions
                                                                      consumptions of
                                                                                   of opioids in

Leon County.

      Defendants'
170. Defendants'   deliberate
                 deliberate   misrepresentationsand/or
                            misrepresentations   and/orconcealment,
                                                        concealment,suppression,
                                                                     suppression, and
                                                                                  and omission

of material facts as alleged herein include, but are not limited to:

               (a) Making false and misleading claims regarding
                                                      regarding the known risks of the addictive

                          of opioids and suppressing, failing to
                   nature of                                  to disclose,
                                                                 disclose, and mischaracterizing
                                                                               mischaracterizing the

                                    of opioids and in concomitant
                   addictive nature of                concomitant costs, such as overdoses, deaths,

                   and heroin addictions;

               (b) Making false and misleading written and
                                                       and oral statements that opioids are more

                   effective than traditional pain killers
                                                   killers for
                                                           for chronic
                                                               chronic pain or effective at all and/or

                   omitting material information showing
                                                 showing that
                                                         that opioids
                                                              opioids are not more effective than

                   other non-addictive drugs for chronic pain;

               (c) Issuing false and misleading warnings and/or
                                                         andlor failure to issue adequate warnings
                                                                                          warnings

                   concerning the risks and dangers of using opioids;

               (d) Making false and misleading
                                    misleading claims
                                               claims downplaying
                                                      downplaying the
                                                                  the risk of addiction when

                                 and/or setting forth guidelines that would purportedly
                   using opioids andlor                                     purportedly identify

                   addictive behavior; and

               (e) Making false and
                   Making false  and misleading
                                      misleading misrepresentations
                                                 misrepresentations concerning
                                                                    concerning the
                                                                               the safety,
                                                                                    safety,

                   efficacy, and benefits
                   efficacy,     benefits of opioids
                                             opioids without
                                                     without full
                                                             full and adequate disclosure of the
                                                                      adequate disclosure

                   underlying facts that rendered such statements false and misleading.

      Defendantswillfully,
171. Defendants  willfully,wantonly,
                            wantonly,and
                                      andrecklessly
                                          recklessly disregarded
                                                      disregarded their
                                                                   their duty
                                                                         duty to
                                                                              to provide
                                                                                 provide truthful
                                                                                         truthful

                          the safety
representations regarding the safety and
                                     and risks
                                         risks of
                                               of opioids.




                                                 56
172.    Defendants made these misrepresentations
                              misrepresentations with
                                                 with the
                                                       the intent
                                                           intent that the healthcare community

and patients located wherever these opioid drugs were sold or consumed would rely upon them.

173.    Defendants' misrepresentations
        Defendants' misrepresentations were
                                       were made
                                            made with the intent of defrauding and deceiving the

medical community to
                  to prescribe and consumers to take opioids.

174.    Upon information
        Upon  information and belief,
                              belief, Defendants'
                                      Defendants' fraudulent
                                                   fraudulent representations
                                                               representations evidence
                                                                               evidence their
                                                                                        their

                   willful, and
callous, reckless, willful, and depraved indifference to the health,
                                                             health, safety, and welfare of consumers

living in Leon County.

175.    Defendants omitted, misrepresented, suppressed,
                                            suppressed, and
                                                        and concealed material facts concerning

    dangers and
the dangers and risk of
                     of injuries
                        injuries associated
                                 associated with
                                            with the use of opioids as well as the fact that
                                                                                        that the
                                                                                             the product
                                                                                                 product

was unreasonably dangerous.

176.    Upon information and
        Upon information     belief, Defendants'
                         and belief, Defendants' purpose
                                                 purpose was willfully blind
                                                         was willfully blind to, ignored,
                                                                                  ignored,

downplayed, avoided, and/or otherwise understated the serious nature of the risks associated with

        of opioids.
the use of

177.        information and belief, the treating
       Upon information                 treating medical
                                                 medical community
                                                         community and consumers
                                                                       consumers in Leon

County did not know that Defendants' representations were false and/or misleading and justifiably
                                                                                      justifiably

relied on them.

178.   Defendants had sole access to material facts concerning the dangers and unreasonable risks

of opioids, which they intentionally concealed.

179.        information and belief,
       Upon information     belief, as a direct and proximate
                                                    proximate result
                                                              result of Defendants' fraudulent
                                                                                    fraudulent

misrepresentations and intentional concealment
                                   concealment of facts
                                                  facts upon
                                                        upon which the medical community and

consumers in Leon County reasonably relied, Leon County suffered actual and punitive damages.

               IX.     THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS:
                                        NEGLIGENCE




                                                  57
180.    Leon County re-alleges and incorporates by reference each of the allegations contained in

              paragraphs of
the preceding paragraphs of this
                            this Petition
                                 Petition as
                                          as if
                                             if sully
                                                sully set forth herein.

181.    Manufacturing Defendants
        Manufacturing Defendantshave
                                 have aa duty    exercise reasonable
                                         duty to exercise reasonable care    marketing their
                                                                     care in marketing their

opioids to physicians treating
                      treating residents of Leon County and Leon
                               residents of                 Leon County
                                                                 County residents.
                                                                        residents. Manufacturing
                                                                                   Manufacturing

                               duty by
Defendants have breached their duty    knowingly and fraudulently misrepresenting the benefits
                                    by knowingly

                    the risks
of, and downplaying the risks of,
                              of, opioids
                                  opioids for chronic pain.

182.                  Defendants have used deceitful marketing ploys, KOLs, Front Groups, and
        Manufacturing Defendants

other schemes to
other schemes    increase profits
              to increase profits at the
                                     the cost
                                         cost of
                                               ofpublic
                                                  public health   causing an
                                                          health causing   an opioid
                                                                               opioid epidemic.
                                                                                       epidemic.

Manufacturing Defendants have acted willfully, wantonly, and maliciously.
              Defendants have

183.    Likewise, Distributor
        Likewise, Distributor Defendants have aa duty
                              Defendants have    duty to exercise
                                                         exercise ordinary
                                                                  ordinary care in
                                                                                in distributing
                                                                                   distributing

opioids. Distributor
opioids. Distributor Defendants
                     Defendants have
                                have breached theirduty
                                     breachedtheir  dutyby
                                                         by failing
                                                             failing to
                                                                      to prevent
                                                                         prevent or reduce the

             of opioids
distribution of opioids or to report the increase in the distribution and/or sale of opioids.
                        or to

184.    Distributor Defendants intentionally failed to prevent or reduce the distribution of opioids

or to report any increases
      report any  increases in
                            in the
                                the sale
                                    sale of
                                         of opioids
                                            opioids so
                                                    so that
                                                        that they
                                                              they could
                                                                   could increase  profits and
                                                                          increase profits and receive
                                                                                               receive

rebates or kick-backs
rebates or  kick-backs from
                        from Manufacturing
                              Manufacturing Defendants. Distributor Defendants
                                            Defendants. Distributor Defendants have
                                                                               have acted
                                                                                    acted

willfully, wantonly, and maliciously.

185.    Upon
        Upon information
             information and
                         and belief,
                             belief, as
                                     as aaproximate   result, Manufacturing
                                           proximate result,  Manufacturing and
                                                                            and Distributor
                                                                                 Distributor

Defendants and their agents have caused Leon County to incur excessive costs to treat the opioid

epidemic in its County, including,
epidemic                                                                  social services,
                        including, but not limited to, increased costs of social services, health

systems, law enforcement, judicial system, and treatment and recovery facilities.

186.    Leon County and its residents are therefore entitled to actual and punitive damages.

             X.      FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS:
                                   GROSS NEGLIGENCE




                                                  58
187.   Leon County re-alleges and incorporates by reference each of the allegations contained in

                         of this Petition as though fully set forth herein.
the preceding paragraphs of

188.               marketing scheme
       Defendants' marketing scheme to
                                    to optimize
                                       optimize profits
                                                profits by misrepresenting and falsely touting

                          chronic pain was done intentionally.
opioids as the panacea to chronic

189.               hiring of
       Defendants' hiring ofKOLs,
                             KOLs, Front
                                   Front Groups,
                                         Groups, and
                                                 and others to spread their fraudulent message

                             beneficial for chronic
that opioids were useful and beneficial                              negligent and done with
                                            chronic pain was grossly negligent

conscious indifference toward or reckless disregard for the safety of others.

190.   Each Defendant's actions and
            Defendant's actions     omissions as described herein, singularly or in combination
                                and omissions

                     malicious resulting in damages and injuries to Leon County and its residents.
with each other, was malicious

191.   Upon information and belief, at every stage, Defendants knew or should have known that

                                                ofphysical harm to others, including Leon County
their conduct would create an unreasonable risk ofphysical

and its residents, and should be held liable in punitive and exemplary damages to Leon County.

    XI.     FIFTH CAUSE OF ACTION AGAINST DISTRIBUTOR DEFENDANTS: TEXAS
                         CONTROLLED  SUBSTANCES ACT
                         CONTROLLED SUBSTANCES   ACT ("TSCA')
                                                      ("TSCA')

192.   Leon County re-alleges and incorporates by reference each of the allegations contained in

                         of this Petition as if fully set forth herein.
the preceding paragraphs of

193.   Distributor Defendants have knowingly distributed, delivered, administered, or dispensed

a controlled
  controlled substance in violation
                          violation of  the Texas
                                    of the  Texas Controlled
                                                  Controlled Substances Act §§ 481.128(a)(1)
                                                             Substances Act     481.128(a)(1) by

deceiving
deceiving practitioners      prescribing, dispensing,
          practitioners into prescribing,             delivering, or
                                          dispensing, delivering,    administering a controlled
                                                                  or administering   controlled

substance
substance or causing a controlled
                       controlled substance       administered when
                                            to be administered
                                  substance to                 when there
                                                                    there is no valid
                                                                                valid medical
                                                                                      medical

purpose. Tex. Health & Safety Code § 481.071.

194.   As alleged herein, each                               times relevant
                          each Distributor Defendant, at all times relevant to this
                                                                               this Petition,
                                                                                    Petition, violated

the Texas Controlled Substances Act by making deceptive representations about using opioids to

treat chronic pain. Each Distributor Defendant also omitted or concealed material facts and failed




                                                  59
           prior misrepresentations
to correct prior misrepresentations and omissions
                                        omissions about
                                                  about the
                                                        the risks
                                                            risks and benefits of opioids.
                                                                                  opioids. Each

            Defendant'somissions
Distributor Defendant's omissionsrendered
                                 rendered even
                                          even their seemingly truthful statements about opioids

deceptive.

195.     Upon information
         Upon  information and
                           and belief,
                               belief, Distributor
                                       Distributor Defendants'
                                                   Defendants' deceptive
                                                               deceptive representations
                                                                          representations and
                                                                                          and

concealments were reasonably calculated to deceive practitioners treating Leon County residents

into prescribing opioids without any valid medical purpose, and Distributor Defendants continue

to do so to this day.

196.     As aa direct
                direct and
                        andproximate
                            proximate cause
                                       cause of
                                              ofDistributor
                                                 Distributor Defendants'
                                                             Defendants' deceptive
                                                                          deceptive conduct,
                                                                                    conduct, Leon
                                                                                             Leon

County should be awarded civil penalties pursuant to the Texas Controlled Substances Act.



                      SIXTH
               XII. SIXTH   CAUSE
                          CAUSE OFOFACTION
                                     ACTIONAGAINST
                                            AGAINSTALL
                                                   ALL DEFENDANTS:
                                                       DEFENDANTS:
                                    UNJUST ENRICHMENT

197.     Leon County re-alleges and incorporates by reference
                                                    reference each of the allegations contained in

              paragraphs of
the preceding paragraphs of this Petition as if
                                             if set forth fully herein.

198.     Upon information
         Upon information and
                          and belief,
                              belief, as    expected and intended
                                      as an expected     intended result of
                                                                         of their
                                                                             their conscious
                                                                                    conscious

wrongdoing as
wrongdoing               in this
           as set forth in   this Petition,
                                   Petition, Defendants
                                             Defendants have profited and benefited
                                                                          benefited from
                                                                                    from opioid
                                                                                         opioid

purchases made by Leon County and its residents.

199.     Upon information and belief, when Leon County and its residents purchased opioids, they

expected that Defendants had provided necessary and accurate information regarding the material

facts regarding the risks and benefits of opioids.
                                          opioids. Instead,
                                                    Instead, Defendants
                                                             Defendants had
                                                                        had misrepresented
                                                                            misrepresented those

risks.

200.     Upon information and belief, Defendants
                                      Defendants have
                                                 have been
                                                      been unjustly
                                                           unjustly enriched
                                                                    enriched at
                                                                             at the expense
                                                                                    expense of

Leon County and Leon County is therefore entitled to damages to
                                                             to be determined by the jury.

                    SEVENTHCAUSE
             XIII. SEVENTH  CAUSEOF
                                  OFACTION
                                     ACTIONAGAINST
                                           AGAINST ALL
                                                   ALL DEFENDANTS:
                                                       DEFENDANTS:




                                                  60
                                                  :117
                                       CIVIL CONSPIRACY
201.   Leon County re-alleges and incorporates by reference
                                                  reference each of the allegations contained in

                         of this Petition as if
the preceding paragraphs of                  if set forth fully herein.

202.    The conduct of all Defendants as described above
                                                   above was
                                                         was done
                                                             done in furtherance of aa conspiracy.
                                                                                       conspiracy.

The joined Defendants had knowledge of, agreed to, and intended a common objective or course

of action to be accomplished by unlawful means or for
                                                  for an
                                                      an unlawful
                                                         unlawful purpose and committed one or

more unlawful, overt acts in furtherance of the same that
                                                     that resulted
                                                          resulted in the damages that
                                                                                  that Plaintiff has

sustained and
sustained and continues
              continues to
                         to sustain
                            sustain on
                                    on aa regular
                                          regular basis.     of the
                                                  basis. All of  the Defendants
                                                                     Defendants performed acts to

further the conspiracy
            conspiracy and are jointly and severally
                                           severally liable
                                                     liable for the damages,
                                                                    damages, costs and expenses
                                                                                       expenses

associated with their conduct.

203.          specifically, the Defendants
         More specifically,     Defendants coordinated
                                           coordinatedtheir
                                                       their efforts
                                                             efforts to
                                                                      to create
                                                                         create aa market
                                                                                   market for their

opioid medications based on an industry-created misperception by the medical
                                                                     medical community and the

public of the benefits and risks of these drugs.
                                          drugs. The specific actions taken by the Defendants have

been described elsewhere in this pleading, but include
                                               include the support and dissemination of medical
                                                                                        inedical

and promotional information
                information calculated
                            calculated to
                                        to assure
                                           assure prescribers
                                                  prescribers and
                                                              and patients
                                                                  patients of
                                                                           of the
                                                                               the safety
                                                                                   safety of these

       Thiscommon
drugs. This commonbehavior
                  behavior was
                           was illegal
                                illegal and
                                        and tortious in many respects and was a direct cause of

                of both
the propagation of both legal
                        legal and
                              and illegal
                                  illegal opioid
                                          opioid drug use.

204.   The conduct of the Defendants demonstrates the
                                                  the manner
                                                      manner in
                                                             in which
                                                                which the objective of the civil

conspiracy was
conspiracy was accomplished. The healthcare
               accomplished. The healthcare providers
                                            providers and clinics
                                                          clinics prescribed
                                                                  prescribed and dispensed
                                                                                 dispensed

millions of doses of opioids
millions             opioids under the auspices
                                       auspices of a distribution
                                                     distribution system that purported
                                                                  system that purported to be

"closed" and
"closed"     carefully monitored.
         and carefully             Thefact
                       monitored. The  factthat
                                            thatthe
                                                 thehealthcare
                                                     healthcare providers
                                                                 providers and
                                                                           and clinics
                                                                               clinics were
                                                                                       were

empowered to make available to the public inconceivable
                                          inconceivable quantities
                                                        quantities of these dangerous drugs can

be explained only by concluding that the opioid drug makers and
                                                            and distributors knew and supported

    behavior of
the behavior of these
                these healthcare
                      healthcareproviders
                                 providersand
                                           andclinics.
                                               clinics.With
                                                        Withawareness
                                                             awareness——actual
                                                                         actualor
                                                                                orconstructive
                                                                                   constructive—
                                                                                               —



                                                  61
   the conduct
of the conduct of
               of the
                   the healthcare
                        healthcare providers
                                   providers and clinics
                                                 clinics and their
                                                             their ilk,
                                                                    ilk, reasonable
                                                                          reasonable minds would

necessarily conclude
necessarily conclude that
                     that the corporate
                              corporate Defendants
                                        Defendants were
                                                   were aware
                                                        aware of and supported the wrongful

conduct and accompanying harm attributable to the
                                              the prescribing and dispensing by the healthcare

providers and clinics.

205.          medical community
          The medical community and
                                and the
                                    the public
                                        public rely
                                               rely upon     integrity of prescription
                                                    upon the integrity    prescription drug

companies to advertise, promote, and market their products
                                                  products in
                                                           in conformity with
                                                                         with both
                                                                              both common law

and statutory obligations. There is
              obligations. There  is an
                                     an overriding
                                         overriding responsibility
                                                    responsibility to promote
                                                                      promote these
                                                                              these products
                                                                                    products in a

manner that
manner                      that disclose
       that is truthful and that disclose important
                                          important safety
                                                    safety information. Similarly, when drug
                                                           information. Similarly,      drug

companies engage
companies engage in indirect forms of communication,
                 in indirect          communication, they
                                                      they have
                                                           have a concomitant
                                                                  concomitant obligation to

disseminate only
disseminate only accurate
                 accurate and
                          and honest
                              honest product
                                     product information.       responsibility applies
                                              information. This responsibility applies to the

myriad vehicles by which
                   which drug makers influence
                                     influence product
                                               productuse:
                                                       use: marketing brochures for physicians

and patients, TV commercials, FAQ'
                              FAQ' S, continuing medical
                                                 medical education
                                                         education programs,
                                                                   programs, web sites, and on

and on. In
         Inall
            allof
               ofthese
                  these instances,
                         instances, the
                                    the members
                                        members of
                                                of the opioid drug industry have both common law

and regulatory restraints
               restraints that
                          that govern
                               govern their
                                       their behavior.       alleged that the
                                             behavior. It is alleged      the corporate
                                                                              corporate Defendants
                                                                                        Defendants

violated these rules and disseminated untrue,
                                      untrue, misleading,
                                              misleading, and
                                                          and erroneous
                                                              erroneous information about opioids.

206.    The joined Defendants are also guilty of acting
                                                 acting in
                                                        in concert to profit from the opioid crisis.

The drug manufacturers and distributors, as alleged
                                            alleged herein,
                                                    herein, were
                                                            were responsible
                                                                 responsible for maintaining and

environment in
environment  in which
                which opioid
                      opioid drugs
                             drugs were
                                   were available
                                        available in
                                                   in massive
                                                      massive quantities
                                                              quantities and
                                                                         and were
                                                                             were subject
                                                                                  subject to

significant rates of diversion to
                               to illicit
                                  illicit uses.
                                          uses. Plaintiff contends that the vast majority of healthcare

providers who prescribed opioids, and clinics or pharmacies
                                                 pharmacies that
                                                            that dispenses them, were legitimate

businesses.

207.          alleged that one
        It is alleged      one or
                               or more
                                  more of
                                       of the
                                           the corporate
                                               corporate Defendants had actual knowledge
                                                                               knowledge of the

business operations
business operations of
                    of clinics
                       clinics and passively
                                   passively supported
                                             supported the
                                                        the clinics
                                                            clinics by failing to monitor, detect,




                                                  62
investigate, and
investigate,            suspicious orders
             and report suspicious orders of prescription
                                             prescription opiates,
                                                          opiates, in
                                                                   in which case the
                                                                                 the corporate
                                                                                     corporate

Defendants remain liable
                  liable for
                         for the
                             the conduct
                                 conduct of
                                         of the clinics and their operators.

                                    XIV. RULE
                                    XIV.  RULE193.7
                                               193.7 NOTICE
                                                     NOTICE

208. Pursuant
       Pursuant
              to to Rule
                  Rule   193.7
                       193.7 ofof
                                the
                                  theTexas
                                      TexasRule
                                            RuleofofCivil
                                                     CivilProcedure,
                                                           Procedure,Plaintiff
                                                                      Plaintiffhereby
                                                                               hereby gives
                                                                                      gives actual

notice to Defendants that any and all documents produced by any Defendants may be used at any

pretrial proceeding
pretrial proceeding and/or
                    and/or at trial of
                           at trial of this
                                        this matter
                                             matter without
                                                    without the
                                                             the necessity
                                                                  necessity of
                                                                            of authenticating
                                                                                authenticating the

documents.

                                       PRAYER FOR RELIEF

              Plaintiff, Leon County, respectfully prays:
   WHEREFORE, Plaintiff,

               (a) That the acts alleged herein be adjudged
                                                   adjudged and decreed
                                                                decreed to be unlawful and that

                   the Court enter a judgment declaring them to be so;

               (b) That the Defendants
                            Defendants be enjoined from, directly or indirectly,
                                                                     indirectly, through KOLs,

                   Front Groups, or other third parties, continuing
                                                         continuing to misrepresent the risk and
                                                                       misrepresent the

                   benefits of the use of
                   benefits            of opioids
                                          opioids for
                                                  for chronic
                                                      chronic pain or off-label
                                                                      off-label uses and from
                                                                                         from

                   continuing to violate Texas law;

               (c) That
                   That Plaintiff
                        Plaintiff recover
                                  recover all measure
                                              measure of
                                                      of damages,
                                                          damages, including
                                                                    including punitive
                                                                              punitive and
                                                                                       and

                   exemplary damages,
                   exemplary damages, allowable
                                      allowableunder
                                                underthe
                                                      the law
                                                           law and
                                                               and that judgment be entered
                                                                                    entered

                  against Defendants in favor of Plaintiff;

               (d) That Plaintiff
                        Plaintiff recover restitution on behalf of Leon County
                                                                        County consumers who paid

                  for opioids for chronic pain;

               (e) That Plaintiffs recover the costs and expenses of suit, pre-and post judgment
                                                                                   post-judgment

                  interest, and reasonable attorneys' fees as provided by law; and




                                                  63
                 That Defendants
             (f) That Defendants be order to abate
                                             abate the public
                                                       public nuisance that they created
                                                              nuisance that      created in

                          of Texas common law.
                violation of

Dated: November 13, 2018




                                           64
                                           m
      Respectfully submitted,
      Respectfully  submitted,

By:   /s/ James Caleb
      /s/James   Caleb Henson
                       Henson
      James Caleb
      James  CalebHenson
                     Henson
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      Texas  Bar.No.
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      Mikal C.
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                          20981820
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        65
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COUNSEL FOR
COUNSEL FORPLAINTIFF
             PLAINTIFF
LEON COUNTY,
LEON COUNTY,TEXAS
              TEXAS




  66
                                           18-0415CV
                                                                                        Filed 12/7/2018 9:16 PM
                                                                                                  Beverly Wilson
                                                                                                    District Clerk
                                                                                             Leon County, Texas
                                                                                                     Karen Ballard
                              TRIAL CAUSE
                              TRIAL CAUSE NO.
                                          NO. 18-0415CV
                                              18-0415CV

COUNTY OF
COUNTY OF LEON
          LEON                                 §        IN THE DISTRICT
                                                        IN THE DISTRICT COURT
                                                                        COURT
                                               §
       Plaintiff,
       Plaintiff,                              §
                                               §
vs.
vs.                                            §        369TH JUDICIAL
                                                        369TH JUDICIAL DISTRICT
                                                                       DISTRICT
                                               §
PURDUE PHARMA
PURDUE        LP, et
       PHARMA LP, et al.
                     al.                       §
                                               §
       Defendants.
       Defendants.                             §        LEON COUNTY,
                                                        LEON         TEXAS
                                                             COUNTY, TEXAS


          *************************************************************
          *************************************************************



                        MDL PRETRIAL
                        MDL PRETRIAL CAUSE NO. ___________
                                     CAUSE NO.
                        (MDL MASTER CAUSE
                        (MDL MASTER        NO. 2018-63587)
                                     CAUSE NO. 2018-63587)

                                               §        IN THE DISTRICT
                                                        IN THE DISTRICT COURT
                                                                        COURT
                                               §
                                               §
                                               §
IN RE TEXAS
IN RE TEXAS OPIOID
            OPIOID LITIGATION
                   LITIGATION                  §        152ND JUDICIAL
                                                        152ND          DISTRICT
                                                              JUDICIAL DISTRICT
                                               §
                                               §
                                               §
                                               §        HARRIS COUNTY,
                                                        HARRIS COUNTY, TEXAS
                                                                       TEXAS


          *************************************************************
          *************************************************************



                     NOTICE OF
                     NOTICE OF TRANSFER
                               TRANSFER OF
                                        OF TAG-ALONG
                                           TAG-ALONG CASE
                                                     CASE

       To the Honorable
       To the Honorable Court:
                        Court:

       As required
       As required by
                   by Rule
                      Rule 13.5(e)
                           13.5(e) and
                                   and Rule
                                       Rule 13.5(a),
                                            13.5(a), Rules
                                                     Rules of
                                                           of Judicial Administration, this
                                                              Judicial Administration, this

notice is
notice    to inform
       is to        the Court
             inform the Court that
                              that this
                                   this case
                                        case is transferred as
                                             is transferred as aa tag-along
                                                                  tag-along action
                                                                            action to
                                                                                   to the
                                                                                      the 152nd
                                                                                          152nd

District Court
District Court of
               of Harris
                  Harris County,
                         County, Texas before Judge
                                 Texas before Judge Schaffer.
                                                    Schaffer.
         On April
         On April 20,
                  20, 2018,
                      2018, Manufacturer Defendants1 filed
                            Manufacturer Defendants)  filed aa Motion
                                                               Motion to
                                                                      to Transfer six opioid-
                                                                         Transfer six opioid-

related Texas
related       cases and
        Texas cases and all
                        all future
                            future related
                                   related Texas
                                           Texas cases to aa pretrial
                                                 cases to    pretrial court
                                                                      court under
                                                                            under Rule
                                                                                  Rule 13
                                                                                       13 of
                                                                                          of the
                                                                                             the

Texas Rules of
Texas Rules of Judicial Administration. On
               Judicial Administration. On May
                                           May 1,
                                               1, 2018,
                                                  2018, Distributor Defendants2 joined
                                                        Distributor Defendants2  joined the
                                                                                        the

Rule 13
Rule 13 Motion
        Motion with
               with respect
                    respect to
                            to these
                               these cases
                                     cases and
                                           and identified
                                               identified two
                                                          two additional,
                                                              additional, related
                                                                          related Texas cases for
                                                                                  Texas cases for

transfer. On
transfer. On May
             May 10,
                 10, 2018, Manufacturer Defendants
                     2018, Manufacturer Defendants and
                                                   and Distributor
                                                       Distributor Defendants
                                                                   Defendants filed
                                                                              filed aa joint
                                                                                       joint

supplement to
supplement to the
              the Motion
                  Motion to
                         to Transfer, identifying ten
                            Transfer, identifying ten additional,
                                                      additional, related
                                                                  related cases
                                                                          cases for transfer.
                                                                                for transfer.

         On June
         On      13, 2018,
            June 13, 2018, the
                           the Texas MDL Panel
                               Texas MDL Panel granted the Motions
                                               granted the Motions to
                                                                   to Transfer in Docket
                                                                      Transfer in Docket No.
                                                                                         No.

18-0358, styled
18-0358, styled In
                In re
                   re Texas
                      Texas Opioid Litigation. (Order
                            Opioid Litigation. (Order Granting
                                                      Granting Motions
                                                               Motions to
                                                                       to Transfer,
                                                                          Transfer, attached
                                                                                    attached at
                                                                                             at

Appendix C.)
Appendix C.) On
             On June 18, 2018,
                June 18, 2018, the
                               the Texas
                                   Texas MDL
                                         MDL Panel
                                             Panel appointed
                                                   appointed the
                                                             the Honorable
                                                                 Honorable David
                                                                           David Peeples,
                                                                                 Peeples,

senior judge
senior judge of
             of the
                the 224th
                    224th District
                          District Court
                                   Court of Bexar County,
                                         of Bexar County, as
                                                          as the
                                                             the pretrial
                                                                 pretrial judge
                                                                          judge for
                                                                                for the
                                                                                    the Texas
                                                                                        Texas

Opioid Litigation MDL
Opioid Litigation MDL and
                      and transferred
                          transferred "all
                                      “all pending
                                           pending cases, together with
                                                   cases, together with any
                                                                        any tagalong
                                                                            tagalong cases,
                                                                                     cases, to
                                                                                            to

him.” (Appointment
him."              of Pretrial
      (Appointment of Pretrial Judge, attached at
                               Judge, attached at Appendix
                                                  Appendix D.)
                                                           D.)

         On August
         On August 25,
                   25, 2018,
                       2018, Judge Peeples recused
                             Judge Peeples recused himself. (Order of
                                                   himself. (Order of Voluntary
                                                                      Voluntary Recusal,
                                                                                Recusal,

attached at
attached at Appendix
            Appendix E.)
                     E.)              On September
                                      On September 5, 2018, the
                                                   5, 2018, the MDL
                                                                MDL Panel
                                                                    Panel reassigned
                                                                          reassigned the
                                                                                     the MDL
                                                                                         MDL

proceeding to
proceeding to Judge
              Judge Schaffer, ordering that
                    Schaffer, ordering that "the
                                            "the cases
                                                 cases listed
                                                       listed in
                                                              in the
                                                                 the Appendices
                                                                     Appendices of
                                                                                of the
                                                                                   the Motions
                                                                                       Motions
                                                                                        nd
for
for Transfer and all
    Transfer and all tag-along
                     tag-along cases
                               cases are
                                     are transferred
                                         transferred to
                                                     to Judge Robert Schaffer
                                                        Judge Robert          of the
                                                                     Schaffer of the 152
                                                                                     152nd District
                                                                                           District

Court of
Court of Harris
         Harris County."
                County." (Order
                         (Order Appointing
                                Appointing Pretrial
                                           Pretrial Court,
                                                    Court, attached
                                                           attached at
                                                                    at Appendix
                                                                       Appendix F.)
                                                                                F.) This case is
                                                                                    This case is

aa tag-along
   tag-along action
             action within
                    within the
                           the meaning
                               meaning of
                                       of the
                                          the Texas Rule of
                                              Texas Rule of Judicial Administration 13.2(g).
                                                            Judicial Administration 13.2(g).


11   The   Manufacturer Defendants
     The Manufacturer    Defendants that
                                      that filed
                                           filed the
                                                 the April
                                                      April 20
                                                            20 motion
                                                                motion were
                                                                         were Purdue
                                                                               Purdue Pharma
                                                                                       Pharma L.P.;
                                                                                                L.P.; Purdue
                                                                                                      Purdue Pharma
                                                                                                              Pharma Inc.;
                                                                                                                       Inc.;
     The   Purdue Frederick
     The Purdue    Frederick Company
                             Company Inc.;
                                        Inc.; Allergan
                                              Allergan Finance,
                                                       Finance, LLCLLC f/k/a
                                                                        f/k/a Actavis,
                                                                              Actavis, Inc.
                                                                                       Inc. f/k/a Watson Pharmaceuticals,
                                                                                            f/k/a Watson  Pharmaceuticals,
     Inc.;
     Inc.; Johnson
            Johnson & & Johnson;
                        Johnson; Janssen    Pharmaceuticals, Inc.;
                                  Janssen Pharmaceuticals,     Inc.; Ortho-McNeil-Janssen      Pharmaceuticals, Inc.
                                                                      Ortho-McNeil-Janssen Pharmaceuticals,            n/k/a
                                                                                                                  Inc. n/k/a
     Janssen Pharmaceuticals,
     Janssen   Pharmaceuticals, Inc.;
                                Inc.; Janssen   Pharmaceutica, Inc.
                                       Janssen Pharmaceutica,          n/k/a Janssen
                                                                  Inc. n/k/a Janssen Pharmaceuticals,
                                                                                      Pharmaceuticals, Inc.;   Endo Health
                                                                                                        Inc.; Endo   Health
     Solutions   Inc.; Endo
     Solutions Inc.;         Pharmaceuticals Inc.;
                       Endo Pharmaceuticals           Knoll Pharmaceutical
                                                Inc.; Knoll  Pharmaceutical Company,
                                                                               Company, aa wholly-owned
                                                                                              wholly-owned subsidiary
                                                                                                              subsidiary of
                                                                                                                          of
     AbbVie Inc.;
     AbbVie    Inc.; AbbVie
                     AbbVie Inc.;  Watson Laboratories,
                             Inc.; Watson   Laboratories, Inc.;   Actavis LLC;
                                                            Inc.; Actavis  LLC; and
                                                                                 and Actavis
                                                                                       Actavis Pharma,
                                                                                                Pharma, Inc.
                                                                                                         Inc. f/k/a
                                                                                                              f/k/a Watson
                                                                                                                    Watson
     Pharma, Inc.
     Pharma,   Inc.
2
2
     The Distributor Defendants
     The Distributor Defendants that
                                that filed the May
                                     filed the May 11 motion
                                                      motion were
                                                             were AmerisourceBergen
                                                                  AmerisourceBergen Drug
                                                                                    Drug Corporation,
                                                                                         Corporation, McKesson
                                                                                                      McKesson
     Corporation, and
     Corporation, and Cardinal
                      Cardinal Health,
                               Health, Inc.
                                        Inc.




                                                             22
       Upon filing
       Upon        this notice
            filing this notice of transfer with
                               of transfer with the
                                                the Transfer Order, this
                                                    Transfer Order, this case is deemed
                                                                         case is        transferred
                                                                                 deemed transferred

from the trial
from the trial court to the
               court to the MDL
                            MDL Pretrial
                                Pretrial Court
                                         Court pursuant
                                               pursuant to
                                                        to Rule
                                                           Rule of
                                                                of Judicial Administration
                                                                   Judicial Administration

13.5(e). The
13.5(e).     effect on
         The effect on aa trial
                          trial court
                                court of
                                      of filing this Notice
                                         filing this Notice of
                                                            of Transfer
                                                               Transfer is
                                                                        is further discussed in
                                                                           further discussed    Rule
                                                                                             in Rule

13.5(b).
13.5(b).

       As required
       As required by
                   by Rule
                      Rule 13.5(a),
                           13.5(a), attached
                                    attached at
                                             at Appendix
                                                Appendix A
                                                         A to
                                                           to this
                                                              this notice
                                                                   notice is
                                                                          is aa list of all
                                                                                list of all parties
                                                                                            parties

who have
who have appeared
         appeared and
                  and remain
                      remain in
                             in the
                                the case,
                                    case, and
                                          and the
                                              the names, addresses, phone
                                                  names, addresses, phone numbers,
                                                                          numbers, and
                                                                                   and bar
                                                                                       bar

numbers of
numbers of their
           their attorneys.
                 attorneys.

       Attached at
       Attached at Appendix
                   Appendix B
                            B to
                              to this
                                 this notice
                                      notice is
                                             is aa list
                                                   list of
                                                        of all
                                                           all parties
                                                               parties who
                                                                       who have
                                                                           have not
                                                                                not yet
                                                                                    yet appeared
                                                                                        appeared in
                                                                                                 in

the case.
the case.




                                                 33
Dated: December
Dated: December 7,
                7, 2018
                   2018   Respectfully submitted,
                          Respectfully  submitted,
                          /s/ Hannah
                          /s/ Hannah Sibiski
                                      Sibiski
                          Hannah Sibiski
                          Hannah   Sibiski
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                          Counsel  for Defendants
                          Counsel for  Defendants Endo
                                                  Endo Health
                                                       Health Solutions
                                                              Solutions
                          Inc. and
                          Inc.     Endo Pharmaceuticals
                               and Endo Pharmaceuticals Inc.
                                                        Inc.




                          4
                          4
                                 CERTIFICATE OF
                                 CERTIFICATE OF SERVICE
                                                SERVICE

        II certify
           certify that
                   that aa true
                           true and
                                and correct
                                    correct copy
                                            copy of
                                                  of the
                                                     the foregoing
                                                         foregoing instrument
                                                                   instrument was
                                                                              was served
                                                                                  served via
                                                                                         via email
                                                                                             email on
                                                                                                   on
the following
the following counsel
                 counsel onon December
                              December 7,   2018:
                                         7, 2018:

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                                                12
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                      APPENDIX A
                      APPENDIX A

LIST OF PARTIES WHO HAVE APPEARED AND REMAIN IN THE CASE




                           13
                           13
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                   Parties Who Have Appeared and
                               Have Appeared     Remain in
                                             and Remain in the
                                                           the Case
                                                               Case

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                                             15
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                       APPENDIX B
                       APPENDIX B

LIST OF ALL PARTIES WHO HAVE NOT YET APPEARED IN THE CASE




                           16
                           16
                                   Parties Who
                                   Parties Who Have Not Yet
                                               Have Not Yet Appeared
                                                            Appeared

      AbbVie Inc.
      AbbVie   Inc.
      Abbott Laboratories
      Abbott  Laboratories
      Actavis LLC
      Actavis LLC
      Actavis Pharma, Inc.,
      Actavis Pharma,         f/k/a Watson
                        Inc., f/k/a  Watson Pharma,
                                             Pharma, Inc.Inc.
      Allergan Finance
      Allergan  Finance LLC,
                         LLC, f/k/a
                                f/k/a Actavis,
                                      Actavis, Inc.,
                                                 Inc., f/k/a Watson Pharmaceuticals,
                                                       f/k/a Watson  Pharmaceuticals, Inc.
                                                                                      Inc.
      Allergan PLC, f/k/a Actavis PLC,
      AmerisourceBergen Corporation
      AmerisourceBergen     Corporation
      AmerisourceBergen Drug
      AmerisourceBergen     Drug Corporation
                                    Corporation
      Cardinal Health,
      Cardinal  Health, Inc.
                        Inc.
      Insys Therapeutics, Inc.
      Insys Therapeutics,  Inc.
      Insys Manufacturing LLC
      Insys Manufacturing    LLC
      Janssen Pharmaceutica, Inc.
      Janssen Pharmaceutica,          n/k/a Janssen
                                 Inc. n/k/a           Pharmaceuticals, Inc.
                                            Janssen Pharmaceuticals,     Inc.
      Janssen Pharmaceuticals, Inc.
      Janssen Pharmaceuticals,     Inc.
      Johnson
      Johnson && Johnson
                  Johnson
      Knoll Pharmaceutical
      Knoll  Pharmaceutical Company
                              Company
                    PLC
      Mallinckrodt PLC
      McKesson Corporation
      McKesson    Corporation
      Ortho-McNeil-Janssen Pharmaceuticals,
      Ortho-McNeil-Janssen      Pharmaceuticals, Inc.     n/k/a Janssen
                                                    Inc. n/k/a          Pharmaceuticals, Inc.
                                                                Janssen Pharmaceuticals, Inc.
      Purdue Pharma
      Purdue  Pharma Inc.
                      Inc.
      Purdue Pharma
      Purdue  Pharma LP
                      LP
      Teva  Pharmaceutical Industries,
      Teva Pharmaceutical                 Ltd.33
                             Industries, Ltd.
      Tev Pharmaceuticals USA,
      Tev Pharmaceuticals    USA, Inc.
                                     Inc.
      The Purdue Frederick
      The Purdue   Frederick Company
                              Company Inc.Inc.
      Watson  Laboratories,   Inc.
      Watson Laboratories, Inc.




3
3
    Incorrectly named as
    Incorrectly named as "Teva
                         “Teva Pharmaceutical
                               Pharmaceutical Industries, LTD.”
                                              Industries, LTD."



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                                                        17
            APPENDIX C
            APPENDIX C

ORDER GRANTING MOTIONS TO TRANSFER
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued June 18, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


                                                                      224th District Court of
   The panel hereby appoints Judge David Peeples, senior judge of the 224th

Bexar County, previously approved by the Chief Justice pursuant to Administrative Rule 13.6, as

pretrial judge in the captioned proceeding and transfers all pending cases, together with any

                   him.
tagalong cases, to him
          APPENDIX D
          APPENDIX D

ORDER APPOINTING JUDGE PEEPLES
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued June 18, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


                                                                      224th District Court of
   The panel hereby appoints Judge David Peeples, senior judge of the 224th

Bexar County, previously approved by the Chief Justice pursuant to Administrative Rule 13.6, as

pretrial judge in the captioned proceeding and transfers all pending cases, together with any

                   him.
tagalong cases, to him
        APPENDIX E
        APPENDIX E

ORDER OF VOLUNTARY RECUSAL
                                    No. 2018-CI-12812
                                             *              IN THE DISTRICT COURT
                                             *
                                             *
 IN RE TEXAS OPIOID                          *              225TH JUDICIAL DISTRICT
      LITIGATION                             *
                                             *
                                             *                BEXAR COUNTY, TEXAS



                          ORDER OF VOUNTARY RECUSAL



       On August 3, while reading and preparing for the initial hearing in the captioned

litigation, the court noticed that one of the opioid drugs at issue had been used by the

court's wife in 2016. The court confirmed this recollection by discussing it with his wife

and by locating the bottle of remaining pills that were prescribed for her in May 2016.

       On the following day the court notified liaison counsel of this discovery and

summarized for them the circumstances of his wife's use of the opioid pills. The court

expressed concern that he was an eye witness to events involving the prescribing and use

of an opioid similar to some of the contested issues in the captioned litigation. The court

further stated that recusal might be required by Rule 18b (b), which says: "A judge must

recuse in any proceeding in which: . . . (3) the judge has personal knowledge of disputed

evidentiary facts concerning the proceeding."

      The court and liaison counsel agreed that the parties should be given the oppor-

tunity to waive this possible ground for recusal pursuant to Rule 18b (e) ("parties to a
proceeding may waive any ground for recusal after it is fully disclosed
                                                              disclosed on the record"),

but not all parties have agreed to waive the issue.

       The court has concluded that the prudent course of action is to recuse voluntarily.

The court therefore issues this order of voluntary recusal from the captioned litigation

and from MDL Cause No. 18-0358, In Re Texas Opioid Litigation. The
                                                               The MDL Panel Chair

has been notified of this recusal, and another judge will be assigned.

SIGNED: August 25, 2018



                                                       JUDGE DAVID PEEPLES




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          APPENDIX F
          APPENDIX F

ORDER APPOINTING JUDGE SCHAFFER
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued September 5, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


   The Manufacturer Defendants Purdue Pharma L.P., et al. and the Distributor Defendants

McKesson Corporation, et al.'s
                         al.’s Motions to Transfer were granted on June 13, 2018. Pursuant to

Rule 13 of the Texas Rules of Judicial Administration, the cases listed in the Appendices of the

Motions for Transfer and all tag-along cases are transferred to Judge Robert Schaffer of the 152nd
                                                                                                nd



District Court of Harris County.
